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                              No. 22-5252

              [ORAL ARGUMENT NOT YET SCHEDULED]

                UNITED STATES COURT OF APPEALS
                 DISTRICT OF COLUMBIA CIRCUIT
             __________________________________________

                         SHAWN MUSGRAVE,

                           Plaintiff-Appellant,

                                    v.

                         MARK WARNER, et al.,

                         Defendant-Appellees.
             __________________________________________

       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
                No. 1:21-cv-02198 (Beryl A. Howell, C.J.)
            __________________________________________

                          JOINT APPENDIX
             __________________________________________

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                   NOTE ON APPENDIX ORGANIZATION

      The Table of Contents includes references to briefs and similar arguments,

but those briefs are not actually included in this Appendix. The references to other

briefs in the Table of Contents are solely to provide organizational context for the

exhibits and related documents which are included in this Appendix.
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                                                                  APPEAL,CLOSED,JURY,TYPE-E

                                     U.S. District Court
                          District of Columbia (Washington, DC)
                     CIVIL DOCKET FOR CASE #: 1:21-cv-02198-BAH


MUSGRAVE v. WARNER et al                                 Date Filed: 08/18/2021
Assigned to: Chief Judge Beryl A. Howell                 Date Terminated: 09/15/2022
Case: 1:21-cv-02199-BAH                                  Jury Demand: Plaintiff
Case in other court: 22-05252                            Nature of Suit: 890 Other Statutory
Cause: 28:1331 Fed. Question                             Actions
                                                         Jurisdiction: U.S. Government Defendant
Plaintiff
SHAWN MUSGRAVE                              represented by Kelly Brian McClanahan
                                                           NATIONAL SECURITY COUNSELORS
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                                                           ATTORNEY TO BE NOTICED


V.
Defendant
MARK WARNER                                 represented by Morgan John Frankel
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                                            JA 1
    USCA Case #22-5252        Document #1988603             Filed: 03/04/2023 Page 6 of 192
                                                             ATTORNEY TO BE NOTICED

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                                                             ATTORNEY TO BE NOTICED

Defendant
U.S. SENATE SELECT COMMITTEE                  represented by Morgan John Frankel
ON INTELLIGENCE                                              (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Patricia M. Bryan
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Thomas Edward Caballero
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED


Date Filed    #      Docket Text
08/18/2021   1       COMPLAINT against SENATE SELECT COMMITTEE ON INTELLIGENCE,
                     MARK WARNER ( Filing fee $ 402 receipt number ADCDC-8675228) filed by
                     SHAWN MUSGRAVE. (Attachments: # 1       Civil Cover Sheet, # 2 Summons, # 3
                     Summons, # 4 Summons, # 5 Summons)(McClanahan, Kelly) (Entered: 08/18/2021)
08/18/2021           Case Assigned to Chief Judge Beryl A. Howell. (zsb) (Entered: 08/18/2021)
08/18/2021        2 SUMMONS (4) Issued Electronically as to U.S. SENATE SELECT COMMITTEE
                    ON INTELLIGENCE, MARK WARNER, U.S. Attorney and U.S. Attorney General
                    (Attachments: # 1 Notice and Consent)(adh, ) (Entered: 08/18/2021)
08/18/2021   3       STANDING ORDER. Signed by Chief Judge Beryl A. Howell on August 18, 2021.
                     (lcbah1) (Entered: 08/18/2021)
08/24/2021        4 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. U.S.
                    SENATE SELECT COMMITTEE ON INTELLIGENCE served on 8/23/2021;
                    MARK WARNER served on 8/23/2021, RETURN OF SERVICE/AFFIDAVIT of
                    Summons and Complaint Executed on United States Attorney General. Date of
                    Service Upon United States Attorney General 8/23/21., RETURN OF
                    SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the United
                    States Attorney. Date of Service Upon United States Attorney on 8/23/2021. (
                    Answer due for ALL FEDERAL DEFENDANTS by 10/22/2021.) (McClanahan,
                    Kelly) (Entered: 08/24/2021)

                                              JA 2
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10/19/2021     5 MOTION to Dismiss by U.S. SENATE SELECT COMMITTEE ON
                  INTELLIGENCE, MARK WARNER. (Attachments: # 1                 Memorandum in
                  Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Text of Proposed Order)
                  (Bryan, Patricia) (Entered: 10/19/2021)
10/19/2021         6 NOTICE of Appearance by Morgan John Frankel on behalf of U.S. SENATE
                     SELECT COMMITTEE ON INTELLIGENCE, MARK WARNER (Frankel,
                     Morgan) (Entered: 10/19/2021)
10/19/2021         7 NOTICE of Appearance by Thomas Edward Caballero on behalf of U.S. SENATE
                     SELECT COMMITTEE ON INTELLIGENCE, MARK WARNER (Caballero,
                     Thomas) (Entered: 10/19/2021)
10/29/2021         8 Unopposed MOTION for Scheduling Order by SHAWN MUSGRAVE.
                     (Attachments: # 1 Text of Proposed Order)(McClanahan, Kelly) (Entered:
                     10/29/2021)
11/01/2021            MINUTE ORDER (paperless) GRANTING plaintiff's 8 Unopposed Motion to Set
                      Briefing Schedule and ISSUING the following SCHEDULING ORDER to govern
                      the timing of further proceedings in this matter: (1) by November 16, 2021, plaintiff
                      shall file its cross-motion for summary judgment and its combined opposition to
                      defendants' motion for summary judgment and memorandum in support of its cross-
                      motion; (2) by December 7, 2021, defendants shall file their combined opposition to
                      plaintiff's cross-motion for summary judgment and reply in support of their own
                      motion for summary judgment; and (3) by December 21, 2021, plaintiff shall file its
                      reply in support of its cross-motion for summary judgment. Signed by Chief Judge
                      Beryl A. Howell on November 1, 2021. (lcbah1) (Entered: 11/01/2021)
11/02/2021            Set/Reset Deadlines: Cross-motion/opposition to motion for summary judgment due
                      by 11/16/2021; opposition to cross-motion/reply to opposition to motion for
                      summary judgment 12/7/2021; reply to opposition to cross-motion due by
                      12/21/2021. (ztg) (Entered: 11/02/2021)
11/16/2021         9 Consent MOTION for Scheduling Order (Modified) by SHAWN MUSGRAVE.
                     (Attachments: # 1 Text of Proposed Order)(McClanahan, Kelly) (Entered:
                     11/16/2021)
11/17/2021            MINUTE ORDER (paperless) GRANTING plaintiff's 9 Consent Motion to Modify
                      Scheduling Order and MODIFYING the SCHEDULING ORDER as follows: (1) by
                      November 22, 2021, plaintiff shall file its cross-motion for summary judgment and
                      its combined opposition to defendants' motion for summary judgment and
                      memorandum in support of its cross-motion; (2) by December 13, 2021, defendants
                      shall file their combined opposition to plaintiff's cross-motion for summary
                      judgment and reply in support of their own motion for summary judgment; and (3)
                      by December 28, 2021, plaintiff shall file its reply in support of its cross-motion for
                      summary judgment. Signed by Chief Judge Beryl A. Howell on November 17, 2021.
                      (lcbah1) (Entered: 11/17/2021)
11/18/2021            Set/Reset Deadlines: Cross-Motion and opposition to motion for summary judgment
                      due by 11/22/2021; opposition to cross-motion and reply to opposition to motion for
                      summary judgment due by 12/13/2021; reply to opposition to cross-motion for
                      summary judgment due by 12/28/2021. (ztg) (Entered: 11/18/2021)



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11/22/2021     10 Unopposed MOTION for Scheduling Order (Modified) by SHAWN MUSGRAVE.
                   (Attachments: # 1 Text of Proposed Order)(McClanahan, Kelly) (Entered:
                   11/22/2021)
11/23/2021            MINUTE ORDER (paperless) GRANTING plaintiff's 10 Unopposed Motion to
                      Modify Scheduling Order and MODIFYING the SCHEDULING ORDER as
                      follows: (1) by January 12, 2022, plaintiff shall file his cross-motion for summary
                      judgment and his combined opposition to defendants' motion for summary judgment
                      and memorandum in support of his cross-motion; (2) by February 16, 2022,
                      defendants shall file their combined opposition to plaintiff's cross-motion for
                      summary judgment and reply in support of their own motion for summary judgment;
                      and (3) by March 16, 2022, plaintiff shall file his reply in support of his cross-motion
                      for summary judgment. Signed by Chief Judge Beryl A. Howell on November 23,
                      2021. (lcbah1) (Entered: 11/23/2021)
11/23/2021            Set/Reset Deadlines: Cross-motion for summary judgment and opposition to motion
                      for summary judgment due by 1/12/2022; opposition to cross-motion and reply to
                      opposition to motion for summary judgment due by 2/16/2022; reply to opposition to
                      cross-motion for summary judgment due by 3/16/2022. (ztg) (Entered: 11/23/2021)
01/12/2022         11 Unopposed MOTION for Scheduling Order (Modified) by SHAWN MUSGRAVE.
                      (Attachments: # 1 Text of Proposed Order)(McClanahan, Kelly) (Entered:
                      01/12/2022)
01/13/2022            MINUTE ORDER (paperless) GRANTING plaintiff's 11 Unopposed Motion to
                      Modify Scheduling Order and MODIFYING the SCHEDULING ORDER as
                      follows: (1) by February 23, 2022, plaintiff shall file his cross-motion for summary
                      judgment and his consolidated combined opposition to defendants' motions to
                      dismiss and motion for summary judgment and memorandum in support of his cross-
                      motion; (2) by March 30, 2022, defendants shall file their combined opposition to
                      plaintiff's cross-motion for summary judgment and reply in support of their own
                      motions to dismiss and motion for summary judgment; and (3) by April 27, 2022,
                      plaintiff shall file his consolidated reply in support of his cross-motion for summary
                      judgment. Signed by Chief Judge Beryl A. Howell on January 13, 2022. (lcbah1)
                      (Entered: 01/13/2022)
01/14/2022            Set/Reset Deadlines: Cross-motion and opposition to motion for summary judgment
                      due by 2/23/2022; opposition to cross-motion and reply to opposition to motion for
                      summary judgment due by 3/30/2022; reply to opposition to cross-motion due by
                      4/27/2022. (ztg) (Entered: 01/14/2022)
02/23/2022    12      Unopposed MOTION for Scheduling Order (Modified) by SHAWN MUSGRAVE.
                      (Attachments: # 1 Text of Proposed Order)(McClanahan, Kelly) (Entered:
                      02/23/2022)
02/23/2022            MINUTE ORDER (paperless) GRANTING plaintiff's 12                 Unopposed Motion to
                      Modify Scheduling Order and MODIFYING the SCHEDULING ORDER as
                      follows: (1) by March 16, 2022, plaintiff shall file his cross-motion for summary
                      judgment and his consolidated combined opposition to defendants' motions to
                      dismiss and motion for summary judgment and memorandum in support of his cross-
                      motion; (2) by April 27, 2022, defendants shall file their combined opposition to
                      plaintiff's cross-motion for summary judgment and reply in support of their own
                      motions to dismiss and motion for summary judgment; and (3) by May 25, 2022,
                      plaintiff shall file his consolidated reply in support of his cross-motion for summary
                                                 JA 4
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                  judgment. Signed by Chief Judge Beryl A. Howell on February 23, 2022. (lcbah1)
                  (Entered: 02/23/2022)
02/24/2022           Set/Reset Deadlines: Cross-motion due by 3/16/2022; opposition to cross-motion
                     and reply to opposition to motion for summary judgment due by 4/27/2022; reply to
                     opposition to cross-motion due by 5/25/2022. (ztg) (Entered: 02/24/2022)
03/16/2022       13 Unopposed MOTION for Extension of Time to File Response/Reply as to 5
                    MOTION to Dismiss by SHAWN MUSGRAVE. (Attachments: # 1 Text of Proposed
                    Order)(McClanahan, Kelly) (Entered: 03/16/2022)
03/17/2022           MINUTE ORDER (paperless) GRANTING plaintiff's 13 Unopposed Motion for
                     Extension of Time to File Response/Reply and DIRECTING plaintiff to file, by
                     March 18, 2022, his cross-motion for summary judgment and his consolidated
                     combined opposition to defendants' motion to dismiss and memorandum in support
                     of his cross-motion. Signed by Chief Judge Beryl A. Howell on March 17, 2022.
                     (lcbah1) (Entered: 03/17/2022)
03/18/2022           Set/Reset Deadlines: Plaintiff's cross-motion/opposition to defendants' motion to
                     dismiss and memorandum in support of his cross-motion due by 3/18/2022. (ztg)
                     (Entered: 03/18/2022)
03/20/2022       14 Memorandum in opposition to re 5 MOTION to Dismiss filed by SHAWN
                    MUSGRAVE. (Attachments: # 1 Exhibit A - Schwartz briefs, # 2 Exhibit B -
                    Pentagen briefs, # 3 Exhibit C - Rockefeller amicus, # 4 Text of Proposed Order)
                    (McClanahan, Kelly) (Entered: 03/20/2022)
03/20/2022       15 Cross MOTION for Partial Summary Judgment by SHAWN MUSGRAVE.
                    (Attachments: # 1 Exhibit A - Schwartz briefs, # 2 Exhibit B - Pentagen briefs, # 3
                    Exhibit C - Rockefeller amicus, # 4 Text of Proposed Order)(McClanahan, Kelly)
                    (Entered: 03/20/2022)
03/21/2022       16 Unopposed MOTION for Extension of Time to File Response/Reply as to 5
                    MOTION to Dismiss (Nunc Pro Tunc) by SHAWN MUSGRAVE. (Attachments: # 1
                    Text of Proposed Order)(McClanahan, Kelly) (Entered: 03/21/2022)
03/21/2022           MINUTE ORDER (paperless) GRANTING plaintiff's 16 Unopposed Motion for
                     Extension of Time to File Response/Reply. Upon consideration of the motion, which
                     shall be construed as a motion for leave to file, plaintiff's 14 memorandum in
                     opposition to defendants' motion to dismiss and 15 cross-motion for summary
                     judgment shall be accepted for filing and not stricken from the docket as untimely
                     filed. Signed by Chief Judge Beryl A. Howell on March 21, 2022. (lcbah1) (Entered:
                     03/21/2022)
04/27/2022       17 REPLY to opposition to motion re 5 MOTION to Dismiss filed by U.S. SENATE
                    SELECT COMMITTEE ON INTELLIGENCE, MARK WARNER. (Bryan, Patricia)
                    (Entered: 04/27/2022)
04/27/2022       18 Memorandum in opposition to re 15 Cross MOTION for Partial Summary Judgment
                    filed by U.S. SENATE SELECT COMMITTEE ON INTELLIGENCE, MARK
                    WARNER. (Attachments: # 1 Defendants' Response to Plaintiff's Statement of
                    Material Facts, # 2 Text of Proposed Order)(Bryan, Patricia) (Entered: 04/27/2022)




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05/25/2022     19 Unopposed MOTION for Extension of Time to File Response/Reply as to 15 Cross
                   MOTION for Partial Summary Judgment by SHAWN MUSGRAVE. (Attachments:
                   # 1 Text of Proposed Order)(McClanahan, Kelly) (Entered: 05/25/2022)
05/26/2022             MINUTE ORDER (paperless) GRANTING plaintiff's 19 Unopposed Motion for
                       Enlargement of Time, and DIRECTING plaintiff to file, by May 27, 2022, any reply
                       in further support of his Cross-Motion for Partial Summary Judgment. Signed by
                       Chief Judge Beryl A. Howell on May 26, 2022. (lcbah2) (Entered: 05/26/2022)
05/27/2022             Set/Reset Deadlines: Plaintiff's reply in support of his Cross-Motion due by
                       5/27/2022. (ztg) (Entered: 05/27/2022)
05/27/2022         20 REPLY to opposition to motion re 15 Cross MOTION for Partial Summary
                      Judgment filed by SHAWN MUSGRAVE. (Attachments: # 1 Exhibit D - Cox
                      opinion)(McClanahan, Kelly) (Entered: 05/27/2022)
05/27/2022         21 SURREPLY to re 5 MOTION to Dismiss filed by SHAWN MUSGRAVE.
                      (Attachments: # 1 Exhibit D - Cox opinion)(McClanahan, Kelly) (Entered:
                      05/27/2022)
05/27/2022         22 Unopposed MOTION for Leave to File Sur-Reply by SHAWN MUSGRAVE.
                      (Attachments: # 1 Text of Proposed Order)(McClanahan, Kelly) (Entered:
                      05/28/2022)
05/31/2022             MINUTE ORDER (paperless) GRANTING plaintiff's 22 Unopposed Motion for
                       Leave to File Sur-Reply and DIRECTING plaintiff to file the brief referenced in his
                       motion as a sur-reply to defendant's motion to dismiss. Signed by Chief Judge Beryl
                       A. Howell on May 31, 2022. (lcbah2) (Entered: 05/31/2022)
09/15/2022    23       ORDER GRANTING defendants' 5 Motion to Dismiss and DENYING plaintiff's 15
                       Cross Motion for Partial Summary Judgment. The Clerk of the Court is directed to
                       close this case. Signed by Chief Judge Beryl A. Howell on September 15, 2022.
                       (lcbah2) (Entered: 09/15/2022)
09/15/2022    24       MEMORANDUM OPINION regarding defendants' 5 Motion to Dismiss and
                       plaintiff's 15 Cross Motion for Partial Summary Judgment. Signed by Chief Judge
                       Beryl A. Howell on September 15, 2022. (lcbah2) (Entered: 09/15/2022)
09/20/2022    25       NOTICE OF APPEAL TO DC CIRCUIT COURT as to 23                 Order on Motion to
                       Dismiss,, Order on Motion for Partial Summary Judgment, by SHAWN
                       MUSGRAVE. Filing fee $ 505, receipt number ADCDC-9537257. Fee Status: Fee
                       Paid. Parties have been notified. (McClanahan, Kelly) (Entered: 09/20/2022)
09/21/2022         26 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                      Docket Sheet to US Court of Appeals. The Court of Appeals fee was paid re 25
                      Notice of Appeal to DC Circuit Court,. (zed) (Entered: 09/21/2022)
09/28/2022             USCA Case Number 22-5252 for 25 Notice of Appeal to DC Circuit Court, filed
                       by SHAWN MUSGRAVE. (zed) (Entered: 09/30/2022)



                                       PACER Service Center
                                          Transaction Receipt
                                             03/03/2023 14:48:39

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 SHAWN MUSGRAVE                               *
 185 Forest Avenue                            *
 Unit 4A                                      *
 Palo Alto, CA 94301,                         *
                                              *
        Plaintiff,                            *
                                              *
        v.                                    *
                                              *
 MARK WARNER,                                 *
 Chairman                                     *
 U.S. Senate Select Committee on              *      Civil Action No. 1:21-cv-02198
 Intelligence                                 *
 211 Hart Senate Office Building              *
 Washington, DC 20510,                        *
                                              *
        and                                   *
                                              *
 U.S. SENATE SELECT COMMITTEE                 *
 ON INTELLIGENCE                              *
 211 Hart Senate Office Building              *
 Washington, DC 20510,                        *
                                              *
        Defendants.                           *
                                              *
 *      *       *      *       *      *       *       *      *       *      *       *      *

                                          COMPLAINT

        Plaintiff Shawn Musgrave brings this action against Defendants Mark Warner and the

 U.S. Senate Select Committee on Intelligence pursuant to the common law right of access to

 public records, the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, and the All Writs Act,

 28 U.S.C. § 1651.

                                          JURISDICTION

        1.      This Court has both subject matter jurisdiction over this action and personal

 jurisdiction over Defendants pursuant to 28 U.S.C. §§ 1331 and 1361.




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                                              VENUE

        2.      Venue is appropriate under 28 U.S.C. § 1391.

                                             PARTIES

        3.      Plaintiff Shawn Musgrave (“Musgrave”) is a citizen of the United States and a

 resident of the State of California. As a freelance reporter whose work has been featured in

 Politico, the Boston Globe, the Intercept, and elsewhere, Musgrave is a representative of the

 news media.

        4.      Defendant Mark Warner (“Warner”) is a United States Senator for the

 Commonwealth of Virginia. He currently serves as the Chairman of the U.S. Senate Select

 Committee on Intelligence (“SSCI”) and is being sued in that capacity.

        5.      Defendant SSCI is a committee of the U.S. Senate.

        6.      Defendants Warner and SSCI are in possession and/or control of the record

 requested by Musgrave which are the subject of this action.

                                         BACKGROUND

         PART I: THE COMMON LAW RIGHT OF ACCESS TO PUBLIC RECORDS

        7.      “In ‘the courts of this country’—including the federal courts—the common law

 bestows upon the public a right of access to public records and documents.” The Supreme Court

 “was unequivocal in stating that there is a federal common law right of access ‘to inspect and

 copy public records and documents.’”

        8.      All three branches of government are subject to this common law right, which

 “predates the Constitution itself” and is “fundamental to a democratic state.”

        9.      As Judge Karen LeCraft Henderson noted in her concurrence in Judicial Watch,

 Inc. v. Schiff, 998 F.3d 989 (D.C. Cir. 2021), this common law right of access to public records




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 exists in some theoretical tension with constitutional provisions including the Speech or Debate

 Clause. Although Judge Henderson agreed that the right did not apply in that case because the

 Speech or Debate Clause outweighed Judicial Watch’s right to access the records it sought, she

 noted that it is hardly clear that it would not apply to “the right case.” According to Judge

 Henderson, the application of the common law right to access public records has long required

 “careful balancing,” and Judicial Watch did not purport to preclude the right entirely.

        10.     Indeed, Judge Henderson noted that the D.C. Circuit has “never considered the

 Speech or Debate Clause’s application to a common law right of access claim and the parties [in

 Judicial Watch] simply cite a single district court case where the two doctrines were raised.”

 Moreover, as Judge Henderson explained, in that case—Pentagen Technologies International v.

 Committee on Appropriations of the United States House of Representatives, 20 F. Supp. 2d 41

 (D.D.C. 1998)—Judge Kessler decided that the investigative reports at issue were protected from

 disclosure by the Speech or Debate Clause “only after determining that the [reports] were ‘not

 ‘public records’” as that term was construed by this Circuit’s controlling precedent. The Speech

 or Debate Clause clearly did not provide “absolute protection from disclosure—including

 protection from a common law right of access claim”—because if it had, Judge Henderson

 argued, “the district court’s ‘public records’ analysis would have been unnecessary.”

        11.     Judge Henderson explained the proper framework for determining when this

 common law right of access applies. “First, a court must decide whether the document sought is

 a ‘public record.’” If so, only then should the court “proceed to balance the government’s interest

 in keeping the document secret against the public’s interest in disclosure.”

        12.     Judge Henderson then explained what constitutes a “public record” subject to this

 common law right of access: “a government document created and kept for the purpose of




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 memorializing or recording an official action, decision, statement, or other matter of legal

 significance, broadly conceived.” The subpoenas at issue in Judicial Watch were public records,

 Judge Henderson explained, but the Committee’s interest in keeping the documents secret

 outweighed Judicial Watch’s interest in public disclosure.

        13.     “Nevertheless, the fundamental importance of the common law right of access to

 a democratic state . . . cautions against the categorical extension of Speech or Debate Clause

 immunity to the right.” Judge Henderson explained that she only joined the judgment in that case

 because “Judicial Watch did not adequately present the argument resolving the Speech or Debate

 Clause and common law right of access doctrines inter se.”

        14.     If a document is a “public record” under this framework, then, the Government’s

 interest in keeping the document secret must be weighed against the public’s interest in

 disclosure, and the Speech or Debate Clause may not be categorically invoked to preclude any

 request for such a public record.

        15.     After Judicial Watch was decided on 4 June 2021, Musgrave sent a request to

 SSCI for a copy of the full SSCI Torture Report (“Torture Report” or “Report”). As the Torture

 Report is undoubtedly “a government document created and kept for the purpose of

 memorializing or recording an official action, decision, statement, or other matter of legal

 significance, broadly conceived,” and because the public interest in disclosure is high, Musgrave

 brings this action under the common law right of access to public records to compel the Report’s

 disclosure. The following sections provide further background on the Torture Report itself and

 the efforts to keep an unredacted copy hidden from the public—and even from the rest of the

 Government.




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                               PART II: THE TORTURE REPORT

        16.     The Torture Report is officially titled Senate Report 113-288, Report of the

 Senate Select Committee on Intelligence: Committee Study of the Central Intelligence Agency’s

 Detention and Interrogation Program, and it was ordered to be printed on 9 December 2014 by

 Senator Dianne Feinstein, then-Chairman of SSCI. The Report is 6,700 pages long with 38,000

 footnotes, although a redacted and heavily abridged version—containing a foreword, an

 Executive Summary, Findings and Conclusions, and Additional and Minority Views, and

 totaling about seven hundred pages—is available at

 https://www.govinfo.gov/content/pkg/CRPT-113srpt288/pdf/CRPT-113srpt288.pdf.

        17.     The Torture Report’s foreword—written by Sen. Feinstein—discusses the post-

 9/11 national security context within which the Central Intelligence Agency (“CIA”) ran its

 detention and interrogation program, with Sen. Feinstein writing that “it is against that backdrop

 [of 9/11]—the largest attack against the American homeland in our history—that the events

 described in this report were undertaken. Nearly 13 years later, the Executive Summary and

 Findings and Conclusions of this report are being released. They are highly critical of the CIA’s

 actions, and rightfully so. Reading them, it is easy to forget the context in which the program

 began—not that the context should serve as an excuse, but rather as a warning for the future.”

        18.     The foreword continues: “[SSCI] . . . often pushes intelligence agencies to act

 quickly in response to threats and world events. Nevertheless, such pressure, fear, and

 expectation of further terrorist plots do not justify, temper, or excuse improper actions taken by

 individuals or organizations in the name of national security. The major lesson of this report is

 that regardless of the pressures and the need to act, the Intelligence Community’s actions must

 always reflect who we are as a nation, and adhere to our laws and standards. It is precisely at




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 these times of national crisis that our government must be guided by the lessons of our history

 and subject decisions to internal and external review.”

        19.     The foreword then summarizes the full Report’s contents: “Instead, CIA

 personnel, aided by two outside contractors, decided to initiate a program of indefinite secret

 detention and the use of brutal interrogation techniques in violation of U.S. law, treaty

 obligations, and our values. This Committee Study documents the abuses and countless mistakes

 made between late 2001 and early 2009.” Sen. Feinstein notes that, although “[t]he Executive

 Summary of the Study provides a significant amount of new information . . . to what has already

 been made public by the Bush and Obama Administrations, as well as non-governmental

 organizations and the press,” the full Report is “more than ten times the length of the Executive

 Summary and includes comprehensive and excruciating detail.” The Report “describes the

 history of the CIA’s Detention and Interrogation program from its inception to its termination,

 including a review of each of the 119 known individuals who were held in CIA custody.”

        20.     The full Torture Report “also provides substantially more detail than what is

 included in the Executive Summary on the CIA’s justification and defense of its interrogation

 program on the basis that it was necessary and critical to the disruption of specific terrorist plots

 and the capture of specific terrorists.” Although the Executive Summary “provides sufficient

 detail to demonstrate the inaccuracies of each of [the CIA’s] claims, the information in the full

 Committee Study [i.e., the full Report] is far more extensive.”

        21.     Sen. Feinstein chose not to seek declassification of the full Torture Report when it

 was released in part because doing so for the “more than six thousand page report would have

 significantly delayed the release of the Executive Summary. Decisions will be made later on the

 declassification and release of the full 6,700 page Study.”




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        22.     Sen. Feinstein concluded that “under any common meaning of the term, CIA

 detainees were tortured. I also believe that the conditions of confinement and the use of

 authorized and unauthorized interrogation and conditioning techniques were cruel, inhuman, and

 degrading. I believe the evidence of this is overwhelming and incontrovertible.”

        23.     Sen. Feinstein wrote that the Torture Report should be used by “[t]his and future

 Administrations” to “guide future programs, correct past mistakes, increase oversight of CIA

 representations to policymakers, and ensure coercive interrogation practices are not used by our

 government again.” Further, she called the full document “the most significant and

 comprehensive oversight report in [SSCI’s] history, and perhaps in that of the U.S. Senate.”

        24.     The beginning of the Findings and Conclusions section lists twenty topline

 conclusions which help provide further background about the final product. The following

 examples are representative of the nature of the rest of the topline conclusions:

        •       “#1: The CIA’s use of its enhanced interrogation techniques was not an effective

                means of acquiring intelligence or gaining cooperation from detainees.”

        •       “#2: The CIA’s justifications for the use of its enhanced interrogation techniques

                rested on inaccurate claims of their effectiveness.”

        •       “#3: The interrogations of CIA detainees were brutal and far worse than the CIA

                represented to policymakers and others.”

        •       “#5: The CIA repeatedly provided inaccurate information to the Department of

                Justice, impeding a proper legal analysis of the CIA’s Detention and Interrogation

                Program.”

        •       “#6: The CIA has actively avoided or impeded congressional oversight of the

                program.”



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        •       “#7: The CIA impeded effective White House oversight and decision-making.”

        •       “#17: The CIA rarely reprimanded or held personnel accountable for serious and

                significant violations, inappropriate activities, and systemic and individual

                management failures.”

        •       “#20: The CIA’s Detention and Interrogation Program damaged the United

                States’ standing in the world, and resulted in other significant monetary and non-

                monetary costs.”

              PART III: LATER DEVELOPMENTS AND CONTINUED SECRECY

        25.     When Sen. Feinstein and SSCI published the Torture Report in December 2014, it

 was distributed to the White House, the Director of National Intelligence, the Director of the

 CIA, the Attorney General, the Secretary of Defense, the Secretary of State, the Director of the

 Federal Bureau of Intelligence, and the CIA Inspector General (“IG”).

        26.     In addition to copying those officials on the letter and transmission, Sen. Feinstein

 wrote to President Obama that to “ensure that such a program will not be contemplated by the

 United States ever again,” and to “strengthen our resolve against torture . . . the full report should

 be made available within the CIA and other components of the Executive Branch for use as

 broadly as appropriate to help make sure that this experience is never repeated.” “To achieve that

 result,” she added, “I hope you will encourage use of the full report in the future development of

 CIA training programs, as well as future guidelines and procedures for all Executive Branch

 employees.”

        27.     In January 2015, about a month after Sen. Feinstein and SSCI transmitted the

 Torture Report to the Senate and to the executive branch officials noted above, Senator Richard

 Burr became Chairman of SSCI. In one of his first moves as SSCI chair, on 14 January 2015, he




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 called for the White House and all agencies in the executive branch with copies of the full

 Torture Report to return them to SSCI. See, e.g., Jason Leopold, GOP Senator Wants to Make

 Sure the Full CIA Torture Report Never Sees the Light of Day, VICE News (Jan. 21, 2015), at

 https://www.vice.com/en/article/a38mba/gop-senator-wants-to-make-sure-the-full-cia-torture-

 report-never-sees-the-light-of-day.

        28.     Sen. Burr’s original request was not entirely successful for several reasons. First,

 the Obama Administration did not comply with Sen. Burr’s request—President Obama instead

 ordered that the Report be preserved under the Presidential Records Act as part of his official

 presidential records. See, e.g., Josh Gerstein, Obama Won’t Declassify Senate ‘Torture Report’

 Now, But Will Preserve It, POLITICO (Dec. 12, 2016), at https://www.politico.com/blogs/under-

 the-radar/2016/12/barack-obama-torture-report-declassify-preserve-232519. Second, and also in

 December 2016, Judge Royce Lamberth ordered that a full copy of the Report be both kept by

 the Department of Defense (“DOD”) and deposited with this Court for secure storage as part of

 several habeas corpus cases related to Guantanamo Bay detainees.

        29.     Sen. Burr’s request was largely successful, however. Several agency declarations

 were submitted to this Court on 21 January 2015 as part of a Freedom of Information Act lawsuit

 over the Report—ACLU v. CIA, No. 13-1870 (D.D.C.). In that case, the Government asserted

 that “[n]either [the Department of Justice] nor [the Department of State] . . . has even opened the

 package with the disc containing the full Report,” and “CIA and DOD have carefully limited

 access to and made only very limited use of the Report.” “Each agency has ensured that the

 envelope containing the disc is marked with the appropriate classification marking, stored in a

 secure location . . . and labeled as a ‘congressional record.’” This was despite Sen. Feinstein’s

 urging that the Report be read widely by cleared executive branch officials so the history of the




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 CIA’s torture program is not forgotten and so “appropriate lessons can be learned from it,” as she

 reiterated to President Obama in a second letter on 16 January 2015 when she was no longer

 Chairman.

        30.     In the summer of 2017, the Trump Administration returned the White House’s

 copies of the Torture Report to Sen. Burr and SSCI. See, e.g., Mark Mazzetti, Matthew

 Rosenberg, & Charlie Savage, Trump Administration Returns Copies of Report on C.I.A. Torture

 to Congress, N.Y. Times (June 2, 2017). The return of the Report “raise[d] the possibility that

 most of the copies could be locked in Senate vaults indefinitely or even destroyed—and

 increases the risk that future government officials, unable to read the report, will never learn its

 lessons.”

        31.     Government officials have already apparently failed to learn the lessons of the

 Report. When Christopher Sharpley, then-Acting CIA IG, faced SSCI in a confirmation hearing

 on 17 October 2017 to be the CIA Inspector General, the following exchange occurred after

 Sharpley stated that it was his decision alone to return the Report to SSCI at Sen. Burr’s demand:

        Sen. Ron Wyden (D-Ore.) was not impressed: “If your office and the committee
        are going to be erasing historical records because somebody down the road is
        unhappy with them,” he said, “our country is going to need a lot of erasers.” Wyden
        worried aloud about the precedent Sharpley’s decision set, and was so exasperated
        by the nominee’s refusal to acknowledge as much that he spontaneously announced
        his intention to vote “no” from the dais. Sen. Martin Heinrich (D-N.M.) followed
        up by pointing out that the report includes chapters dealing specifically with the
        IG’s office, then asked Sharpley if he at least “consider[ed] reading the report
        before returning [it]…so you could do your job more effectively?” “No, I did not,”
        Sharpley replied. He conceded that he could have done so, but “chose not to.”
        Ranking Member Dianne Feinstein (D-Calif.) took a moment to remind Sharpley
        of the obvious: “The point of distributing [the report] to the departments was in the
        hope they would read it, not look at it as some poison document, and learn from it.”




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 Scott Roehm, Congress is Facing Decisions on Torture, and Needs to Treat Them As

 Such, Just Security (Nov. 10, 2017) (alterations in original), at

 https://www.justsecurity.org/46924/congress-facing-decisions-torture-treat/.

        32.     As a result of Sen. Burr’s push to recall the Torture Report to SSCI, coupled with

 the Trump Administration’s cooperation with his demands, there are few entities with remaining

 copies of the Report. A federal district court and the Department of Defense only have their

 copies pursuant to Judge Lamberth’s order mentioned above, and the National Archives and

 Records Administration only has a copy as part of President Obama’s official presidential

 archive. Thus, unless it comes from SSCI, the earliest date at which the Report is likely to

 become subject to public declassification requests would be when President Obama’s records

 collection becomes subject to such requests in 2029, since President Obama has already stated

 that he would seek to keep the Report confidential for the maximum legal duration.

        33.     The damage of the Report’s continued secrecy is already being done as more and

 more high-level officials are not only not required to read the Report but could not read it even if

 they wanted to. Indeed, CIA officials clearly did not read the Report when it was released—or at

 least, they testified to that end to a federal court—and CIA officials cannot read it now because

 they no longer have a copy of the report about how their own agency illegally tortured detainees

 and then misled Congress, the White House, the Department of Justice, and the public about it.

        34.     Meanwhile, the American public has only ever had access to the redacted and

 heavily abridged Executive Summary version, despite Sen. Feinstein’s wishes when she and

 SSCI transmitted the Report that it would eventually be declassified. The “overwhelming and

 incontrovertible” evidence in the document Sen. Feinstein deemed “the most significant and

 comprehensive oversight report in [SSCI’s] history, and perhaps in that of the U.S. Senate” is




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 virtually memory-holed for at least another eight years if not longer. It is time that this critical

 piece of American history is made public.

                                       CAUSES OF ACTION

                                    FIRST CAUSE OF ACTION

                       (WARNER/SSCI – PUBLIC RECORDS DENIAL)

        35.     Musgrave repeats and realleges the allegations contained in all paragraphs set

 forth above.

        36.     On 4 June 2021, Musgrave submitted to SSCI a request for a copy of the full

 Torture Report.

        37.     SSCI has not provided the Torture Report as of the filing of this lawsuit.

        38.     Musgrave has a legal right under the common law right of access to public

 records to obtain the Torture Report because it is a “public record” within the relevant

 framework, it does not implicate the Speech or Debate Clause rights of any individual Member

 of Congress or Committee to a meaningful extent, and SSCI’s interest in keeping it secret is

 outweighed by the uniquely significant public interest in disclosure of the full Report.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Shawn Musgrave prays that this Court:

        (1)     Order Defendants Warner and SSCI to provide the Torture Report to him;

        (2)     Declare that the common law right of access applies to committees of the U.S.

 Senate, and direct the Secretary of the Senate to develop a standardized process for the handling

 of such requests;

        (3)     Order preliminary and permanent injunctive and/or declaratory relief as may be

 appropriate;




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        (4)    Award reasonable costs and attorneys’ fees as provided in 28 U.S.C. § 2412(d) or

 any other applicable law;

        (5)    Expedite this action in every way pursuant to 28 U.S.C. § 1657(a); and

        (6)    Grant such other relief as the Court may deem just and proper.

 Date: August 18, 2021

                                                Respectfully submitted,

                                                /s/ Kelly B. McClanahan
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                                                D.C. Bar #984704
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                                                Counsel for Plaintiff




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                         Exhibit A
                Memorandum of Points and Authorities in Support of
                        Defendants’ Motion to Dismiss

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                                                                                                 STANDING ORDERS OF THE SENATE                                       ø81¿


                                                                                           SELECT COMMITTEE ON INTELLIGENCE                                     81

                                                                              Resolved, That it is the purpose of this resolution to es-
                                                                           tablish a new select committee of the Senate, to be known
                                                                           as the Select Committee on Intelligence, to oversee and
                                                                           make continuing studies of the intelligence activities and
                                                                           programs of the United States Government, and to submit
                                                                           to the Senate appropriate proposals for legislation and re-
                                                                           port to the Senate concerning such intelligence activities
                                                                           and programs. In carrying out this purpose, the Select
                                                                           Committee on Intelligence shall make every effort to assure
                                                                           that the appropriate departments and agencies of the
                                                                           United States provide informed and timely intelligence nec-
                                                                           essary for the executive and legislative branches to make
                                                                           sound decisions affecting the security and vital interests
                                                                           of the Nation. It is further the purpose of this resolution
                                                                           to provide vigilant legislative oversight over the intel-
                                                                           ligence activities of the United States to assure that such
                                                                           activities are in conformity with the Constitution and laws
                                                                           of the United States.
                                                                              SEC. 2. (a)(1) There is hereby established a select com-
                                                                           mittee to be known as the Select Committee on Intelligence
                                                                           (hereinafter in this resolution referred to as the ‘‘select
                                                                           committee’’). The select committee shall be composed of not
                                                                           to exceed fifteen Members appointed as follows:
                                                                                   (A) two members from the Committee on Appropria-
                                                                                tions;
                                                                                   (B) two members from the Committee on Armed
                                                                                Services;
                                                                                   (C) two members from the Committee on Foreign
                                                                                Relations;
                                                                                   (D) two members from the Committee on the Judici-
                                                                                ary; and
                                                                                   (E) not to exceed seven members to be appointed
                                                                                from the Senate at large.
                                                                              (2) Members appointed from each committee named in
                                                                           clauses (A) through (D) of paragraph (1) shall be evenly
                                                                           divided between the two major political parties and shall
                                                                           be appointed by the President pro tempore of the Senate
                                                                           upon the recommendations of the majority and minority
                                                                           leaders of the Senate. Of any members appointed under
                                                                           paragraph (1)(E), the majority leader shall appoint the ma-
                                                                           jority members and the minority leader shall appoint the
                                                                           minority members, with the majority having a one vote
                                                                           margin.

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                                                             ø81¿                       COMMITTEES AND OTHER SENATE ENTITIES


                                                                             (3)(A) The majority leader of the Senate and the minority
                                                                           leader of the Senate shall be ex officio members of the se-
                                                                           lect committee but shall have no vote in the Committee
                                                                           and shall not be counted for purposes of determining a
                                                                           quorum.
                                                                             (B) The Chairman and Ranking Member of the Com-
                                                                           mittee on Armed Services (if not already a member of the
                                                                           select Committee) shall be ex officio members of the select
                                                                           Committee but shall have no vote in the Committee and
                                                                           shall not be counted for purposes of determining a quorum.
                                                                             (b) At the beginning of each Congress, the Majority Lead-
                                                                           er of the Senate shall select a chairman of the select Com-
                                                                           mittee and the Minority Leader shall select a vice chair-
                                                                           man for the select Committee. The vice chairman shall act
                                                                           in the place and stead of the chairman in the absence of
                                                                           the chairman. Neither the chairman nor the vice chairman
                                                                           of the select committee shall at the same time serve as
                                                                           chairman or ranking minority member of any other com-
                                                                           mittee referred to in paragraph 4(e)(1) of rule XXV of the
                                                                           Standing Rules of the Senate.
                                                                             (c) The select Committee may be organized into sub-
                                                                           committees. Each subcommittee shall have a chairman and
                                                                           a vice chairman who are selected by the Chairman and
                                                                           Vice Chairman of the select Committee, respectively.
                                                                             SEC. 3. (a) There shall be referred to the select committee
                                                                           all proposed legislation, messages, petitions, memorials,
                                                                           and other matters relating to the following:
                                                                                   (1) The Office of the Director of National Intel-
                                                                                ligence and the Director of National Intelligence.
                                                                                   (2) The Central Intelligence Agency and the Direc-
                                                                                tor of the Central Intelligence Agency.
                                                                                   (3) Intelligence activities of all other departments
                                                                                and agencies of the Government, including, but not
                                                                                limited to, the intelligence activities of the Defense
                                                                                Intelligence Agency, the National Security Agency,
                                                                                and other agencies of the Department of Defense; the
                                                                                Department of State; the Department of Justice; and
                                                                                the Department of the Treasury.
                                                                                   (4) The organization or reorganization of any de-
                                                                                partment or agency of the Government to the extent
                                                                                that the organization or reorganization relates to a
                                                                                function or activity involving intelligence activities.
                                                                                   (5) Authorizations for appropriations, both direct
                                                                                and indirect, for the following:

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                                                                                                 STANDING ORDERS OF THE SENATE                                      ø81¿


                                                                                        (A) The Office of the Director of National Intel-
                                                                                     ligence and the Director of National Intelligence.
                                                                                        (B) The Central Intelligence Agency and the
                                                                                     Director of the Central Intelligence Agency.
                                                                                        (C) The Defense Intelligence Agency.
                                                                                        (D) The National Security Agency.
                                                                                        (E) The intelligence activities of other agencies
                                                                                     and subdivisions of the Department of Defense.
                                                                                        (F) The intelligence activities of the Depart-
                                                                                     ment of State.
                                                                                        (G) The intelligence activities of the Federal
                                                                                     Bureau of Investigation.
                                                                                        (H) Any department, agency, or subdivision
                                                                                     which is the successor to any agency named in
                                                                                     clause (A), (B), (C) or (D); and the activities of
                                                                                     any department, agency, or subdivision which is
                                                                                     the successor to any department, agency, bureau,
                                                                                     or subdivision named in clause (E), (F), or (G)
                                                                                     to the extent that the activities of such successor
                                                                                     department, agency, or subdivision are activities
                                                                                     described in clause (E), (F), or (G).
                                                                              (b)(1) Any proposed legislation reported by the select
                                                                           Committee except any legislation involving matters speci-
                                                                           fied in clause (1), (2), (5)(A), or (5)(B) of subsection (a),
                                                                           containing any matter otherwise within the jurisdiction of
                                                                           any standing committee shall, at the request of the chair-
                                                                           man of such standing committee, be referred to such stand-
                                                                           ing committee for its consideration of such matter and be
                                                                           reported to the Senate by such standing committee within
                                                                           10 days after the day on which such proposed legislation,
                                                                           in its entirety and including annexes, is referred to such
                                                                           standing committee; and any proposed legislation reported
                                                                           by any committee, other than the select Committee, which
                                                                           contains any matter within the jurisdiction of the select
                                                                           Committee shall, at the request of the chairman of the se-
                                                                           lect Committee, be referred to the select Committee for its
                                                                           consideration of such matter and be reported to the Senate
                                                                           by the select Committee within 10 days after the day on
                                                                           which such proposed legislation, in its entirety and includ-
                                                                           ing annexes, is referred to such committee.
                                                                              (2) In any case in which a committee fails to report any
                                                                           proposed legislation referred to it within the time limit pre-
                                                                           scribed in this subsection, such Committee shall be auto-
                                                                           matically discharged from further consideration of such

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                                                             ø81¿                       COMMITTEES AND OTHER SENATE ENTITIES


                                                                           proposed legislation on the 10th day following the day on
                                                                           which such proposed legislation is referred to such com-
                                                                           mittee unless the Senate provides otherwise, or the Major-
                                                                           ity Leader or Minority Leader request, prior to that date,
                                                                           an additional 5 days on behalf of the Committee to which
                                                                           the proposed legislation was sequentially referred. At the
                                                                           end of that additional 5 day period, if the Committee fails
                                                                           to report the proposed legislation within that 5 day period,
                                                                           the Committee shall be automatically discharged from fur-
                                                                           ther consideration of such proposed legislation unless the
                                                                           Senate provides otherwise.
                                                                              (3) In computing any 10 or 5 day period under this sub-
                                                                           section there shall be excluded from such computation any
                                                                           days on which the Senate is not in session.
                                                                              (4) The reporting and referral processes outlined in this
                                                                           subsection shall be conducted in strict accordance with the
                                                                           Standing Rules of the Senate. In accordance with such
                                                                           rules, committees to which legislation is referred are not
                                                                           permitted to make changes or alterations to the text of
                                                                           the referred bill and its annexes, but may propose changes
                                                                           or alterations to the same in the form of amendments.
                                                                              (c) Nothing in this resolution shall be construed as pro-
                                                                           hibiting or otherwise restricting the authority of any other
                                                                           committee to study and review any intelligence activity to
                                                                           the extent that such activity directly affects a matter other-
                                                                           wise within the jurisdiction of such committee.
                                                                              (d) Nothing in this resolution shall be construed as
                                                                           amending, limiting, or otherwise changing the authority
                                                                           of any standing committee of the Senate to obtain full and
                                                                           prompt access to the product of the intelligence activities
                                                                           of any department or agency of the Government relevant
                                                                           to a matter otherwise within the jurisdiction of such com-
                                                                           mittee.
                                                                              SEC. 4. (a) The select committee, for the purposes of ac-
                                                                           countability to the Senate, shall make regular and periodic,
                                                                           but not less than quarterly, reports to the Senate on the
                                                                           nature and extent of the intelligence activities of the var-
                                                                           ious departments and agencies of the United States. Such
                                                                           committee shall promptly call to the attention of the Senate
                                                                           or to any other appropriate committee or committees of
                                                                           the Senate any matters requiring the attention of the Sen-
                                                                           ate or such other committee or committees. In making such
                                                                           report, the select committee shall proceed in a manner con-
                                                                           sistent with section 8(c)(2) to protect national security.

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                                                                              (b) The select committee shall obtain an annual report
                                                                           from the Director of National Intelligence, the Director of
                                                                           the Central Intelligence Agency, the Secretary of Defense,
                                                                           the Secretary of State, and the Director of the Federal Bu-
                                                                           reau of Investigation. Such reports shall review the intel-
                                                                           ligence activities of the agency or department concerned
                                                                           and the intelligence activities of foreign countries directed
                                                                           at the United States or its interest. An unclassified version
                                                                           of each report may be made available to the public at the
                                                                           discretion of the select committee. Nothing herein shall be
                                                                           construed as requiring the public disclosure in such reports
                                                                           of the names of individuals engaged in intelligence activi-
                                                                           ties for the United States or the divulging of intelligence
                                                                           methods employed or the sources of information on which
                                                                           such reports are based or the amount of funds authorized
                                                                           to be appropriated for intelligence activities.
                                                                              (c) On or before March 15 of each year, the select com-
                                                                           mittee shall submit to the Committee on the Budget of
                                                                           the Senate the views and estimates described in section
                                                                           301(c) of the Congressional Budget Act of 1974 regarding
                                                                           matters within the jurisdiction of the select committee.
                                                                              SEC. 5. (a) For the purposes of this resolution, the select
                                                                           committee is authorized in its discretion (1) to make inves-
                                                                           tigations into any matter within its jurisdiction, (2) to
                                                                           make expenditures from the contingent fund of the Senate,
                                                                           (3) to employ personnel, (4) to hold hearings, (5) to sit and
                                                                           act at any time or place during the sessions, recesses, and
                                                                           adjourned periods of the Senate, (6) to require, by subpoena
                                                                           or otherwise, the attendance of witnesses and the produc-
                                                                           tion of correspondence, books, papers, and documents, (7)
                                                                           to take depositions and other testimony, (8) to procure the
                                                                           service of individual consultants or organizations thereof,
                                                                           in accordance with the provisions of section 202(i) of the
                                                                           Legislative Reorganization Act of 1946, and (9) with the
                                                                           prior consent of the government department or agency con-
                                                                           cerned and the Committee on Rules and Administration,
                                                                           to use on a reimbursable basis the services of personnel
                                                                           of any such department or agency.
                                                                              (b) The chairman of the select committee or any member
                                                                           thereof may administer oaths to witnesses.
                                                                              (c) Subpoenas authorized by the select committee may
                                                                           be issued over the signature of the chairman, the vice
                                                                           chairman or any member of the select committee des-
                                                                           ignated by the chairman, and may be served by any person

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                                                                           designated by the chairman or any member signing the
                                                                           subpoenas.
                                                                              SEC. 6. No employee of the select committee or any per-
                                                                           son engaged by contract or otherwise to perform services
                                                                           for or at the request of such committee shall be given access
                                                                           to any classified information by such committee unless
                                                                           such employee or person has (1) agreed in writing and
                                                                           under oath to be bound by the rules of the Senate (includ-
                                                                           ing the jurisdiction of the Select Committee on Ethics) and
                                                                           of such committee as to the security of such information
                                                                           during and after the period of his employment or contrac-
                                                                           tual agreement with such committee; and (2) received an
                                                                           appropriate security clearance as determined by such com-
                                                                           mittee in consultation with the Director of National Intel-
                                                                           ligence. The type of security clearance to be required in
                                                                           the case of any such employee or person shall, within the
                                                                           determination of such committee in consultation with the
                                                                           Director of National Intelligence, be commensurate with
                                                                           the sensitivity of the classified information to which such
                                                                           employee or person will be given access by such committee.
                                                                              SEC. 7. The select committee shall formulate and carry
                                                                           out such rules and procedures as it deems necessary to
                                                                           prevent the disclosure, without the consent of the person
                                                                           or persons concerned, of information in the possession of
                                                                           such committee which unduly infringes upon the privacy
                                                                           or which violates the constitutional rights of such person
                                                                           or persons. Nothing herein shall be construed to prevent
                                                                           such committee from publicly disclosing any such informa-
                                                                           tion in any case in which such committee determines the
                                                                           national interest in the disclosure of such information
                                                                           clearly outweighs any infringement on the privacy of any
                                                                           person or persons.
                                                                              SEC. 8. (a) The select committee may, subject to the pro-
                                                                           visions of this section, disclose publicly any information in
                                                                           the possession of such committee after a determination by
                                                                           such committee that the public interest would be served
                                                                           by such disclosure. Whenever committee action is required
                                                                           to disclose any information under this section, the com-
                                                                           mittee shall meet to vote on the matter within five days
                                                                           after any member of the committee requests such a vote.
                                                                           No member of the select committee shall disclose any infor-
                                                                           mation, the disclosure of which requires a committee vote,
                                                                           prior to a vote by the committee on the question of the

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                                                                           disclosure of such information or after such vote except
                                                                           in accordance with this section.
                                                                              (b)(1) In any case in which the select committee votes
                                                                           to disclose publicly any information which has been classi-
                                                                           fied under established security procedures, which has been
                                                                           submitted to it by the Executive branch, and which the
                                                                           Executive branch requests be kept secret, such committee
                                                                           shall—
                                                                                   (A) first, notify the Majority Leader and Minority
                                                                                Leader of the Senate of such vote; and
                                                                                   (B) second, consult with the Majority Leader and
                                                                                Minority Leader before notifying the President of such
                                                                                vote.
                                                                              (2) The select committee may disclose publicly such infor-
                                                                           mation after the expiration of a five-day period following
                                                                           the day on which notice of such vote is transmitted to the
                                                                           Majority Leader and the Minority Leader and the Presi-
                                                                           dent, unless, prior to the expiration of such five-day period,
                                                                           the President, personally in writing, notifies the committee
                                                                           that he objects to the disclosure of such information, pro-
                                                                           vides his reasons therefore, and certifies that the threat
                                                                           to the national interest of the United States posed by such
                                                                           disclosure is of such gravity that it outweighs any public
                                                                           interest in the disclosure.
                                                                              (3) If the President, personally, in writing, notifies the
                                                                           Majority Leader and Minority Leader of the Senate and
                                                                           the select Committee of his objections to the disclosure of
                                                                           such information as provided in paragraph (2), the Majority
                                                                           Leader and Minority Leader jointly or the select Com-
                                                                           mittee, by majority vote, may refer the question of the dis-
                                                                           closure of such information to the Senate for consideration.
                                                                              (4) Whenever the select committee votes to refer the
                                                                           question of disclosure of any information to the Senate
                                                                           under paragraph (3), the Chairman shall not later than
                                                                           the first day on which the Senate is in session following
                                                                           the day on which the vote occurs, report the matter to the
                                                                           Senate for its consideration.
                                                                              (5) One hour after the Senate convenes on the fourth
                                                                           day on which the Senate is in session following the day
                                                                           on which any such matter is reported to the Senate, or
                                                                           at such earlier time as the majority leader and the minority
                                                                           leader of the Senate jointly agree upon in accordance with
                                                                           paragraph 5 of rule XVII of the Standing Rules of the Sen-
                                                                           ate, the Senate shall go into closed session and the matter

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                                                                           shall be the pending business. In considering the matter
                                                                           in closed session the Senate may—
                                                                                    (A) approve the public disclosure of all or any por-
                                                                                 tion of the information in question, in which case
                                                                                 the committee shall publicly disclose the information
                                                                                 ordered to be disclosed,
                                                                                    (B) disapprove the public disclosure of all or any
                                                                                 portion of the information in question, in which case
                                                                                 the committee shall not publicly disclose the informa-
                                                                                 tion ordered not to be disclosed, or
                                                                                    (C) refer all or any portion of the matter back to
                                                                                 the committee, in which case the committee shall
                                                                                 make the final determination with respect to the pub-
                                                                                 lic disclosure of the information in question.
                                                                           Upon conclusion of the consideration of such matter in
                                                                           closed session, which may not extend beyond the close
                                                                           of the ninth day on which the Senate is in session fol-
                                                                           lowing the day on which such matter was reported to
                                                                           the Senate, or the close of the fifth day following the
                                                                           day agreed upon jointly by the majority and minority lead-
                                                                           ers in accordance with paragraph 5 of rule XVII of the
                                                                           Standing Rules of the Senate (whichever the case may
                                                                           be), the Senate shall immediately vote on the disposition
                                                                           of such matter in open session, without debate, and with-
                                                                           out divulging the information with respect to which the
                                                                           vote is being taken. The Senate shall vote to dispose of
                                                                           such matter by one or more of the means specified in
                                                                           clauses (A), (B), and (C) of the second sentence of this
                                                                           paragraph. Any vote of the Senate to disclose any informa-
                                                                           tion pursuant to this paragraph shall be subject to the
                                                                           right of a Member of the Senate to move for reconsider-
                                                                           ation of the vote within the time and pursuant to the
                                                                           procedures specified in rule XIII of the Standing Rules
                                                                           of the Senate, and the disclosure of such information shall
                                                                           be made consistent with that right.
                                                                              (c)(1) No information in the possession of the select com-
                                                                           mittee relating to the lawful intelligence activities of any
                                                                           department or agency of the United States which has been
                                                                           classified under established security procedures and which
                                                                           the select committee, pursuant to subsection (a) or (b) of
                                                                           this section, has determined should not be disclosed shall
                                                                           be made available to any person by a Member, officer, or
                                                                           employee of the Senate except in a closed session of the
                                                                           Senate or as provided in paragraph (2).

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                                                                              (2) The select committee may, under such regulations
                                                                           as the committee shall prescribe to protect the confiden-
                                                                           tiality of such information, make any information described
                                                                           in paragraph (1) available to any other committee or any
                                                                           other Member of the Senate. Whenever the select com-
                                                                           mittee makes such information available, the committee
                                                                           shall keep a written record showing, in the case of any
                                                                           particular information, which committee or which Mem-
                                                                           bers of the Senate received such information. No Member
                                                                           of the Senate who, and no committee which, receives any
                                                                           information under this subsection, shall disclose such infor-
                                                                           mation except in a closed session of the Senate.
                                                                              (d) It shall be the duty of the Select Committee on Ethics
                                                                           to investigate any unauthorized disclosure of intelligence
                                                                           information by a Member, officer or employee of the Senate
                                                                           in violation of subsection (c) and to report to the Senate
                                                                           concerning any allegation which it finds to be substan-
                                                                           tiated.
                                                                              (e) Upon the request of any person who is subject to any
                                                                           such investigation, the Select Committee on Ethics shall
                                                                           release to such individual at the conclusion of its investiga-
                                                                           tion a summary of its investigation together with its find-
                                                                           ings. If, at the conclusion of its investigation, the Select
                                                                           Committee on Ethics determines that there has been a sig-
                                                                           nificant breach of confidentiality or unauthorized disclo-
                                                                           sure by a Member, officer, or employee of the Senate, it
                                                                           shall report its findings to the Senate and recommend ap-
                                                                           propriate action such as censure, removal from committee
                                                                           membership, or expulsion from the Senate, in the case of
                                                                           a Member, or removal from office or employment or punish-
                                                                           ment for contempt, in the case of an officer or employee.
                                                                              SEC. 9. The select committee is authorized to permit any
                                                                           personal representative of the President, designated by the
                                                                           President to serve as a liaison to such committee, to attend
                                                                           any closed meeting of such committee.
                                                                              SEC. 10. Upon expiration of the Select Committee on
                                                                           Governmental Operations With Respect to Intelligence Ac-
                                                                           tivities, established by Senate Resolution 21, Ninety-fourth
                                                                           Congress, all records, files, documents, and other materials
                                                                           in the possession, custody, or control of such committee,
                                                                           under appropriate conditions established by it, shall be
                                                                           transferred to the select committee.
                                                                              SEC. 11. (a) It is the sense of the Senate that the head
                                                                           of each department and agency of the United States should

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                                                                           keep the select committee fully and currently informed
                                                                           with respect to intelligence activities, including any signifi-
                                                                           cant anticipated activities, which are the responsibility of
                                                                           or engaged in by such department or agency: Provided,
                                                                           That this does not constitute a condition precedent to the
                                                                           implementation of any such anticipated intelligence activ-
                                                                           ity.
                                                                              (b) It is the sense of the Senate that the head of any
                                                                           department or agency of the United States involved in any
                                                                           intelligence activities should furnish any information or
                                                                           document in the possession, custody, or control of the de-
                                                                           partment or agency, or person paid by such department
                                                                           or agency, whenever requested by the select committee
                                                                           with respect to any matter within such committee’s juris-
                                                                           diction.
                                                                              (c) It is the sense of the Senate that each department
                                                                           and agency of the United States should report immediately
                                                                           upon discovery to the select committee any and all intel-
                                                                           ligence activities which constitute violations of the con-
                                                                           stitutional rights of any person, violations of law, or viola-
                                                                           tions of Executive orders, Presidential directives, or depart-
                                                                           mental or agency rules or regulations; each department
                                                                           and agency should further report to such committee what
                                                                           actions have been taken or are expected to be taken by
                                                                           the departments or agencies with respect to such viola-
                                                                           tions.
                                                                              SEC. 12. Subject to the Standing Rules of the Senate,
                                                                           no funds shall be appropriated for any fiscal year beginning
                                                                           after September 30, 1976, with the exception of a con-
                                                                           tinuing bill or resolution, or amendment thereto, or con-
                                                                           ference report thereon, to, or for use of, any department
                                                                           or agency of the United States to carry out any of the fol-
                                                                           lowing activities, unless such funds shall have been pre-
                                                                           viously authorized by a bill or joint resolution passed by
                                                                           the Senate during the same or preceding fiscal year to
                                                                           carry out such activity for such fiscal year:
                                                                                   (1) The activities of the Office of the Director of
                                                                                 National Intelligence and the Director of National In-
                                                                                 telligence.
                                                                                   (2) The activities of the Central Intelligence Agency
                                                                                 and the Director of the Central Intelligence Agency.
                                                                                   (3) The activities of the Defense Intelligence Agen-
                                                                                 cy.
                                                                                   (4) The activities of the National Security Agency.

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                                                                                  (5) The intelligence activities of other agencies and
                                                                               subdivisions of the Department of Defense.
                                                                                  (6) The intelligence activities of the Department of
                                                                               State.
                                                                                  (7) The intelligence activities of the Federal Bureau
                                                                               of Investigation.
                                                                             SEC. 13. (a) The select committee shall make a study
                                                                           with respect to the following matters, taking into consider-
                                                                           ation with respect to each such matter, all relevant aspects
                                                                           of the effectiveness of planning, gathering, use, security,
                                                                           and dissemination of intelligence:
                                                                                  (1) the quality of the analytical capabilities of
                                                                               United States foreign intelligence agencies and means
                                                                               for integrating more closely analytical intelligence and
                                                                               policy formulation;
                                                                                  (2) the extent and nature of the authority of the
                                                                               departments and agencies of the Executive branch
                                                                               to engage in intelligence activities and the desirability
                                                                               of developing charters for each intelligence agency or
                                                                               department;
                                                                                  (3) the organization of intelligence activities in the
                                                                               Executive branch to maximize the effectiveness of the
                                                                               conduct, oversight, and accountability of intelligence
                                                                               activities; to reduce duplication or overlap; and to im-
                                                                               prove the morale of the personnel of the foreign intel-
                                                                               ligence agencies;
                                                                                  (4) the conduct of covert and clandestine activities
                                                                               and the procedures by which Congress is informed
                                                                               of such activities;
                                                                                  (5) the desirability of changing any law, Senate rule
                                                                               or procedure, or any Executive order, rule, or regula-
                                                                               tion to improve the protection of intelligence secrets
                                                                               and provide for disclosure of information for which
                                                                               there is no compelling reason for secrecy;
                                                                                  (6) the desirability of establishing a standing com-
                                                                               mittee of the Senate on intelligence activities;
                                                                                  (7) the desirability of establishing a joint committee
                                                                               of the Senate and the House of Representatives on
                                                                               intelligence activities in lieu of having separate com-
                                                                               mittees in each House of Congress, or of establishing
                                                                               procedures under which separate committees on intel-
                                                                               ligence activities of the two Houses of Congress would
                                                                               receive joint briefings from the intelligence agencies
                                                                               and coordinate their policies with respect to the safe-
                                                                               guarding of sensitive intelligence information;

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                                                                                   (8) the authorization of funds for the intelligence
                                                                                 activities of the Government and whether disclosure
                                                                                 of any of the amounts of such funds is in the public
                                                                                 interest; and
                                                                                   (9) the development of a uniform set of definitions
                                                                                 for terms to be used in policies or guidelines which
                                                                                 may be adopted by the executive or legislative
                                                                                 branches to govern, clarify, and strengthen the oper-
                                                                                 ation of intelligence activities.
                                                                              (b) The select committee may, in its discretion, omit from
                                                                           the special study required by this section any matter it
                                                                           determines has been adequately studied by the Select Com-
                                                                           mittee To Study Governmental Operations With Respect
                                                                           to Intelligence Activities, established by Senate Resolution
                                                                           21, Ninety-fourth Congress.
                                                                              (c) The select committee shall report the results of the
                                                                           study provided for by this section to the Senate, together
                                                                           with any recommendations for legislative or other actions
                                                                           it deems appropriate, no later than July 1, 1977, and from
                                                                           time to time thereafter as it deems appropriate.
                                                                              SEC. 14. (a) As used in this resolution, the term ‘‘intel-
                                                                           ligence activities’’ includes (1) the collection, analysis, pro-
                                                                           duction, dissemination, or use of information which relates
                                                                           to any foreign country, or any government, political group,
                                                                           party, military force, movement, or other association in
                                                                           such foreign country, and which relates to the defense, for-
                                                                           eign policy, national security, or related policies of the
                                                                           United States, and other activity which is in support of
                                                                           such activities; (2) activities taken to counter similar activi-
                                                                           ties directed against the United States; (3) covert or clan-
                                                                           destine activities affecting the relations of the United
                                                                           States with any foreign government, political group, party,
                                                                           military force, movement or other association; (4) the col-
                                                                           lection, analysis, production, dissemination, or use of infor-
                                                                           mation about activities of persons within the United States,
                                                                           its territories and possessions, or nationals of the United
                                                                           States abroad whose political and related activities pose,
                                                                           or may be considered by any department, agency, bureau,
                                                                           office, division, instrumentality, or employee of the United
                                                                           States to pose, a threat to the internal security of the
                                                                           United States, and covert or clandestine activities directed
                                                                           against such persons. Such term does not include tactical
                                                                           foreign military intelligence serving no national policy-
                                                                           making function.

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                                                                              (b) As used in this resolution, the term ‘‘department or
                                                                           agency’’ includes any organization, committee, council, es-
                                                                           tablishment, or office within the Federal Government.
                                                                              (c) For purposes of this resolution, reference to any de-
                                                                           partment, agency, bureau, or subdivision shall include a
                                                                           reference to any successor department, agency, bureau, or
                                                                           subdivision to the extent that such successor engages in
                                                                           intelligence activities now conducted by the department,
                                                                           agency, bureau, or subdivision referred to in this resolu-
                                                                           tion.
                                                                              SEC. 15. (a) In addition to other committee staff selected
                                                                           by the select Committee, the select Committee shall hire
                                                                           or appoint one employee for each member of the select
                                                                           Committee to serve as such Member’s designated rep-
                                                                           resentative on the select Committee. The select Committee
                                                                           shall only hire or appoint an employee chosen by the re-
                                                                           spective Member of the select Committee for whom the em-
                                                                           ployee will serve as the designated representative on the
                                                                           select Committee.
                                                                              (b) The select Committee shall be afforded a supplement
                                                                           to its budget, to be determined by the Committee on Rules
                                                                           and Administration, to allow for the hire of each employee
                                                                           who fills the position of designated representative to the
                                                                           select Committee. The designated representative shall
                                                                           have office space and appropriate office equipment in the
                                                                           select Committee spaces. Designated personal representa-
                                                                           tives shall have the same access to Committee staff, infor-
                                                                           mation, records, and databases as select Committee staff,
                                                                           as determined by the Chairman and Vice Chairman.
                                                                              (c) The designated employee shall meet all the require-
                                                                           ments of relevant statutes, Senate rules, and committee
                                                                           security clearance requirements for employment by the se-
                                                                           lect Committee.
                                                                              (d) Of the funds made available to the select Committee
                                                                           for personnel—
                                                                                   (1) not more than 60 percent shall be under the
                                                                                 control of the Chairman; and
                                                                                  (2) not less than 40 percent shall be under the
                                                                                control of the Vice Chairman.
                                                                             SEC. 16. Nothing in this resolution shall be construed
                                                                           as constituting acquiescence by the Senate in any practice,
                                                                           or in the conduct of any activity, not otherwise authorized
                                                                           by law.

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                                                             ø81¿                       COMMITTEES AND OTHER SENATE ENTITIES


                                                                              SEC. 17. (a)(1) Except as provided in subsections (b) and
                                                                           (c), the Select Committee shall have jurisdiction to review,
                                                                           hold hearings, and report the nominations of civilian indi-
                                                                           viduals for positions in the intelligence community for
                                                                           which appointments are made by the President, by and
                                                                           with the advice and consent of the Senate.
                                                                              ‘‘(2) Except as provided in subsections (b) and (c), other
                                                                           committees with jurisdiction over the department or agency
                                                                           of the Executive Branch which contain a position referred
                                                                           to in paragraph (1) may hold hearings and interviews with
                                                                           individuals nominated for such position, but only the Select
                                                                           Committee shall report such nomination.
                                                                              ‘‘(3) In this subsection, the term ‘intelligence community’
                                                                           means an element of the intelligence community specified
                                                                           in or designated under section 3(4) of the National Security
                                                                           Act of 1947 (50 U.S.C. 3003(4)).
                                                                              ‘‘(b)(1) With respect to the confirmation of the Assistant
                                                                           Attorney General for National Security, or any successor
                                                                           position, the nomination of any individual by the President
                                                                           to serve in such position shall be referred to the Committee
                                                                           on the Judiciary and, if and when reported, to the Select
                                                                           Committee for not to exceed 20 calendar days, except that
                                                                           in cases when the 20-day period expires while the Senate
                                                                           is in recess, the Select Committee shall have 5 additional
                                                                           calendar days after the Senate reconvenes to report the
                                                                           nomination.
                                                                              ‘‘(2) If, upon the expiration of the period described in
                                                                           paragraph (1), the Select Committee has not reported the
                                                                           nomination, such nomination shall be automatically dis-
                                                                           charged from the Select Committee and placed on the Exec-
                                                                           utive Calendar.
                                                                              ‘‘(c)(1) With respect to the confirmation of appointment
                                                                           to the position of Director of the National Security Agency,
                                                                           Inspector General of the National Security Agency, Direc-
                                                                           tor of the National Reconnaissance Office, or Inspector
                                                                           General of the National Reconnaissance Office, orany suc-
                                                                           cessor position to such a position, the nomination of any
                                                                           individual by the President to serve in such position, who
                                                                           at the time of the nomination is a member of the Armed
                                                                           Forces on active duty, shall be referred to the Committee
                                                                           on Armed Services and, if and when reported, to the Select
                                                                           Committee for not to exceed 30 calendar days, except that
                                                                           in cases when the 30-day period expires while the Senate
                                                                           is in recess, the Select Committee shallhave 5 additional

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                                                                                                 STANDING ORDERS OF THE SENATE                                                         ø82.1¿


                                                                           calendar days after the Senate reconvenes to report the
                                                                           nomination.
                                                                             ‘‘(2) With respect to the confirmation of appointment to
                                                                           the position of Director of the National Security Agency,
                                                                           Inspector General of the National Security Agency, Direc-
                                                                           tor of the National Reconnaissance Office, or Inspector
                                                                           General or the National Reconnaissance Office, or any suc-
                                                                           cessor position to such a position, the nomination of any
                                                                           individual by the President to serve in such position, who
                                                                           at the time of the nomination is not a member of the Armed
                                                                           Forces on active duty, shall be referred to the Select Com-
                                                                           mittee and, if and when reported, to the Committee on
                                                                           Armed Services for not to exceed 30 calendar days, except
                                                                           that in cases when the 30-day period expires while the
                                                                           Senate is in recess, the Committee on Armed Services shall
                                                                           have an additional 5 calendar days after the Senate recon-
                                                                           venes to report the nomination.
                                                                             ‘‘(3) If, upon the expiration of the period of sequential
                                                                           referral described in paragraphs (1) and (2), the committee
                                                                           to which the nomination was sequentially referred has not
                                                                           reported the nomination, the nomination shall be automati-
                                                                           cally discharged from that committee and placed on the
                                                                           Executive Calendar.’’.
                                                                                      [S. Res. 400, 94–2, May 19, 1976, as amended S. Res. 470, 113–2, July 7, 2014; S. Res.
                                                                                       4, Feb. 4, 1977; S. Res. 445, 108–2, Oct. 9, 2004, Pub. L. 109–77, § 506. 120 Stat. 247.
                                                                                                                            247 (2005), and S. Res. 50, 110–1, Feb. 14, 2007.]


                                                                                 HOMELAND SECURITY AND INTELLIGENCE OVERSIGHT                                                     82

                                                                             To eliminate certain restrictions on service of a Senator
                                                                           on the Senate Select Committee on Intelligence.
                                                                              Resolved,
                                                                              SEC. 100. Purpose.
                                                                             It is the purpose of titles I through V of this resolution
                                                                           to improve the effectiveness of the Senate Select Com-
                                                                           mittee on Intelligence, especially with regard to its over-
                                                                           sight of the Intelligence Community of the United States
                                                                           Government, and to improve the Senate’s oversight of
                                                                           homeland security.

                                                                                  TITLE I—HOMELAND SECURITY OVERSIGHT REFORM                                                      82.1

                                                                              SEC. 101. Homeland Security.
                                                                                      (a) COMMITTEE ON HOMELAND SECURITY AND GOV-
                                                                                 ERNMENT AFFAIRS.—The Committee on Governmental

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                         Exhibit B
                Memorandum of Points and Authorities in Support of
                        Defendants’ Motion to Dismiss

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                COMMITrEE ON THE JUDICIARY
                  HOUSE OF REPRESENTATIVES
                         NINE'l'Y-SEVEN'fH CONGRESS



             COURT PROCEEDINGS AND AC'l'IONS OF VITAL
                    IN'fEUES'l' TO THE CONGRESS



                                     CURRENT TO
                                SEPTEMBER 1, 1979




                    Printed for the use of the Committee on the Judiciary


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                                    WASHINOTON : 1980




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                              COMMI'ITEE ON THE JUDICIARY
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        BARNEY FRANK, M8888chusetts
                                  ALAN A. PARKER, General Counsel
                                   GARNER J. CuNE, Staff Director
                               FRANKIJN G. POLK, Associate C.ounsel

                                               (II)




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                                    FOREWORD
            In 1971, the Joint Committee on Congressional Operations began
         publishing this series of reports on legal proceedings of importance
         to the Congress as a constitutionally established institut10n. The
         reports have contained descriptions of such proceedings, the texts
         of court decisions, and related documents.
            During the 95th Congress, the Select Committee on Congression·
         al Operations published these reports in conjunction with the
         Senate Committee ou Rules and Administration. Since 1971, 23
         reg_ular and speciaJ reports have been published in this series.
           The Select Committee was not reconstituted in the 96th Con·
        gress. The Committee on House Administration conducted a study
        of the functions of the Select Committee and recommended to the
        Speaker that this reporting responsibility be assigned to the Com·
        mittee on the Judiciary. The Speaker concurred.
           This particular report is the second to be published by the Com-
        mittee on the Judiciary. The first report was prepared by the
        Select Committee and was ready for publication prior to the expira·
        tion of the Select Committee's authority.
           Due to the change in Committee assignment and personnel this
        report will reflect onlf those matters current to September 1, 1979.
        It is the intention o the House CommittE'e on the Judiciary to
       adhere to a biannual publishing date henceforth. Twice a year on a
       regular basis, the Committee will publish and issue an updated
       report on all court proceedings and actions of vital interest to the
       Congress.
           Manv of the cases included in this report focus upon crucial,
       complex, and fundamental questions concerning the scope of Con-
       gressional power and the boundaries of permissible legislative ac-
       tivity. It is my hope that these reports will provide a valuable tool
       to which Members and non-Members alike may turn for guidance
       or information in their efforts to more fully understand the powers
       and limitations of Congress and its Members within the American
       system of government.
                                     PETER W. RODINO, Jr., Chairman,
                                               Committee on the Judiciary.
                                       (III)




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             sional action having the effect of law, but, since the one-House veto
             is not subject to Presidential veto, it is unconstitutional.
                Finally, Mr. Chadha asserts that the one-House veto provision
            violates the requirement of a bicameral legislature. According to
            Mr. Chadha, the Framers of the Constitution intended that every
            ~wer of the legislative branch not expressly !!'anted to a single
            House must be exercised by both concurrently. Therefore, since the
            one-House veto provision allows a single House to make law with·
            out the concurrence of the other, it is unconstitutional.
               On October 27, 1977, respondent INS filed a suggestion to invite
            the submission of amici curiae briefs by the U.S. Senate and House
            of Representatives.
               Clerk's letters were sent on November 17, 1977, inviting the
            President of the Senate and the Speaker of the House to file briefs
            amicus curiae within 30 days.
               On February 27, 1978, an amicus curiae brief on behalf of the
            Senate, pursuant to Senate Resolution 338 of the 95th Congress,
           and a separate amicus curiae brief on behalf of Representative
           Frank Thompson, Jr., Chairman of the Committee on House Ad-
           ministration of the U.S. House of Representatives, were filed. Each
           of the briefs opposed Mr. Chadha's petition and contended, inter
           alia, that the one-House veto is constitutional and that Chadha
           lacked standing to challenge the constitutionality of the one-House
           veto.
              The petition was argued on April 10, 1978.
              Status.-The petition is pending before the U.S. Court of Appeals
           for the Ninth Circuit. No further action has been taken.
          Schwartz v. United States Department of Justice
              No. 78-1334 <D.C. Cir.)
              This suit was filed on November 4, 1976, under the Freedom of
          Information Act, 5 U.S.C. § 3552 (hereinafter "FOIA"), by Robert
          Bennett Schwartz, to compel the release of materials relating to
          the investigation of the conduct of Peter R. Schlam, an Assistant
          United States Attorney for the Eastern District of New York,
          during the unsuccessful exto~tion and conspiracy prosecution of
          then-Representative An~elo Roncallo. Named as defendants in the
          complaint were the United States Department of Justice; Edward
          H. Levi, at that time Attorney General of the United States; and
          Peter A. Rodino, Jr., Chairman of the Judiciary Committee of the
          U.S. House of Representatives. Mr. Levi and Congressman Rodino
          were sued in their official capacities.
              Mr. Schwartz alleged in the complaint that pursuant to the
         FOIA he was entitled to inspect and copy the documents in the
         possession of the Justice Department and the Judiciary Committee,
         and that he had exhausted all available administrative remedies in
         an attempt to secure such access. The complaint sought declaratory
         and injunctive relief providing for an order directing the defend-
         ants to produce the requested documents immediately, and expedit-
         ing the complaint as provided in the FOIA.
             Along with the complaint, Mr. Schwartz filed an application for
         leave to proceed in forma pauperis. On November 3, 1976, District
         Judge George L. Hart, Jr., granted the application and also dis-
         missed the action under 28 U.S.C. § 1915(d), which provides for the



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         dismissal of an action in forma pauperis if the allegation of poverty
         is untrue, or if the court is satisfied that the action is frivolous or
         malicious.
            On November 17, 1976, Mr. Schwartz filed a notice of appeal
         from the order dismissing the action. Leave to appeal without
         prepayment of costs was denied as frivolous and not taken in good
         faith by District Judge Hart on November 17, 1976.
           The United States Court of Appeals for the District of Columbia
        Circuit granted the motion of Mr. Schwartz to proceed on appeal in
        forma pauperis on January rn, 1977.
           On March 4, 1977, a per curiam order was issued, sua sponte,
        vacating the order of the District Court and remanding the case to
        the District Court with instructions to serve the defendants with
        summonses in accordance with Rule 4(a) of the Federal Rules of
        Civil Procedure.
           On July 11, 1977, Defendants, Department of Justice and Griffin
        B. Bell, Attorney General, who was. automatically substituted iu
        place of Mr. Levi, filed an answer to the complaint. The answer
        claimed, inter alia, that: the complaint failed to state a claim upon
        which relief could be granted; the court lacked subject matter
       jurisdiction; and Griffin B. Bell was not a proper party to the
       action.
           On July 11, 1977, Representative Rodino filed a motion to dismiss
       and a supporting memorandum of points and authorities, in which
       he asserted that as Chairman of the House Judiciary Committee,
       he was not a proper party to the action, that the court lacked
       subject matter jurisdiction and that the complaint failed to state a
       claim upon which relief could be granted.
          Chairman Rodino argued in particular that neither he nor the
       House Judiciary Committee were within the perview of the FOIA.
       He noted that the act applied to "agencies" of the executive branch
       of the Federal Gov~rnment and that the FOIA svecifically excluded
       the Congress from :its disclosure requirements.
          Mr. Schwartz fiJed an affidavit in opposition to Congressman
       Rodino's motion to dismiss. In the affidavit, he requested that
       Representative Rodino be directed to appear and answer the com-
       plaint. The affidavit further stated that Congressman Rodino was
      sued under an nsserted general common law right of plaintiff to
      inspect public records.
          On August 30, 1977, District Judge Pratt issued a memorandum
      opinion denying the motion to dismiss. The memorandum opinion
      held that the historic common law right to inspect and copy public
      records has been recognized in the District of Columbia Circuit,
      that the general rule is that all three branches of Government are
      subject to the common law, and that Congressman Rodino had set
      forth no persuasive reason why Congress should be exempt from
      the common law rule. Judge Pratt stated that, absent a showing
      that the matters sought by plaintiff are not "public records" within
      the meaning of the common law rule or that Mr. Schwartz does not
      possess any "interest" required for application of the rule, the
      motion to dismiss could not be granted. He also noted that Con-
      gress could exempt itself from the common law rule if it so desired,
      but had not done so.



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               On September 30, 1977, Representative Rodino filed a motion to
            dismiss or, in the alternative, for summary judgment. The grounds
             put forth for the motion were that the court lacked subject matter
            jurisdiction and that there was no dispute as to any issue of mate-
            rial fact. In an affidavit attached to the motion, Congressman
            Rodino stated that no investigation or inquiry of any kind relating
            to the matters alluded to in the complaint had ever been undertak-
            en by the committee or any staff person employed by the commit-
            tee. An affidavit of Edmund L. Henshaw, Clerk of the United
            States House of Representatives was also attached to the motion.
            Mr. Henshaw stated that a search failed to turn up any documents
            or papers relating to any investigaton of Peter Schlam by the
            committee.
              A supplement to the motion to dismiss or, in the alternative, for
           summary judgment and a second affidavit of Congressman Rodino
           were filed on December 7, 1977. Attached to the affidavit were a
           number of documents related to statements made by former Repre-
           sentative Roncallo on the floor of the House of Representatives and
           in a letter to Representative Rodino. The supplement to the motion
           reiterated that there were no House records within the scope of
           Mr. Schwartz' request.
              A Memorandum Order was issued by District Judge Pratt on
           December 12, 1977, granting the motion of Congressman Rodino for
           summary judgment, denying the motion of the Department of Jus-
           tice for a protective order and directing the Department of Justice
           to answer plaintifrs first set of interrogatories on or before Janu-
           ary 6, 1978. The memorandum order noted that Congressman
           Rodino had indicated by sworn affidavit that he had directed a
          thorough records search and filed and delivered copies of all mate-
          rial compiled by his committee. Judge Pratt stated that a review-
          ing court must grant summary judgment in defendant's behalf
          when the defendant, in candor and good faith, has indicated that
          all available records have been turned over to the plaintiff. In
          denying the motion of the Department of Justice for a protective
          order, the memorandum order noted that plaintiff, proceeding pro
          se, had filed the action in November of 1976 and had been delayed
          over 1 year in his efforts to secure the information at issue. The
         court also noted that the interrogatories did not strike the court as
          unduly burdensome and they might assist plaintiff in his attempt
         to locate additional relevant documents.
             On January 6, 1978, the Department of Justice filed a response
         to Mr. Schwartz' interrogatories. The Department released some of
         the documents requested by Mr. Schwartz and refused to release
         other documents, asserting that they were exempt from disclosure
         under the Freedom of Information Act. Also filed by the Justice
         Department on Janua~·y 6, 1978, was a motion for summary judg-
         ment on the grounds that there existed no gilluine issue as to any
         material fact. In a "statement of material facts pursuant to local
         rule 19(h) as to which there is no genuine issue" and a memoran-
         dum of points and authorities in support of its motion, the Depart-
         ment of Justice argued that the withholding of those documents
         denied to Mr. Schwartz was proper under FOIA exemptions 5, 6,
         7(c) and 7(d) 5 U.S.C. § 552(b).



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             On February 9, 1978, District Judge Pratt issued a memorandum
          order granting the Department's motion to dismiss. The liability of
          the Attorney General in his official capacity was treated as incor-
          porated into that of the Department of Justice. The memorandum
          order stated that the documents were variously protected by FOIA
         exemption 7(c), which exempts from mandatory disclosure investi-
         gatory records compiled for law enforcement purposes to the extent
         that the production of such records would constitute an unwarrant-
         ed invasion of privacy; by FOIA exemption 7(d), which exempts
         from mandatory disclosure investigatory records compiled for law
         enforcement purposes to the extent the production of such records
         would disclose the identity of a confidential source; and by FOIA
         exemption 6, which protects from disclosure personnel and medical
         files the disclosure of which would constitute a clearly unwarrant-
         ed invasion of personal privacy. Since the District Court held all of
         the documents in question to be protected by FOIA exemption 6,
         7Cc) or 7<d), the applicability of exemption 5, which protects inter-
         agency or intraagency communications which would not be availa-
         ble by law to a party other than an agency in litigation with the
         agency, was not reached in the opinion.
            On March 3, 1978, Mr. Schwartz filed a notice of appeal from the
         memorandum order of February 9, 1978.
            On April 5, 1979 the Court of Appeals issued its decision. The
        judgment of the District Court was affirmed on the basis of Judge
        Pratt's Memorandum Order of February 9, 1978. No opinion accom-
        panied the Circuit Court's decision.
           Stat1 s. -The case has been closed.
           The District Court's memorandum opinion of August 30, 1977 is
        printed in the "Decisions" section of the report Court Proceedings
        and Actions of Vital Interest to the Congress, current to December
        31, 1978.
           The District Court's memorandum order of December 12, 1977 is
        printed in the "Decisions" 8ection of the report Court Proceedings
        and Actions of Vital Interest to the Congress, current to December
        31, 1978.
           The District Court's memorandum order of February 9, 1978 is
        printed in the "Decisions" section of the report Court Proceedings
       and Actions of Vital Interest to the Congress, current to December
       31, 1978.
       Go/and v. Central Intelligence Ageneg
           No. 76-1800 (D.C. Cir.)
           Plaintiffs, Susan D. Goland and Patricia B. Skidmore, filed suit
       on January 26, 1976, pursuant to the Freedom of Information Act,
       as amended, 5 U.S.C. § 552 (hereinafter "FOIA"). Named as defend-
       ants in the suit were the Central Intelligence Agency (hereinafter
       "CIA") and the Information Coordinator of the CIA.
           This action was the result of a request of documents which was
       first made by Sara Holtz. On May 2, 1975, Sara Holtz, who is not a
       party to the suit, filed an FOIA request with the CIA seeking
       access to "all records concerning the legislative history" of the
       National Security Act of 1947, 50 U.S.C. § 403 (1970), the CIA Act of
       1949, 50 U.S.C. §§ 403a-403j (1970), and two bills introduced into
       Congress in 1948 providing for the administration of the Agency.



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                         Exhibit C
                Memorandum of Points and Authorities in Support of
                        Defendants’ Motion to Dismiss

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             2d Session       J                                                               l




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                  SELECT CO.M.MITIEE ON CONGRESSIONAL OFERATIONS
                             U.S. HOUSE OF REPRESENTATI\ ES
                                 JACK BROOKS. Texas. Chamna11
       ROBERT S GIAIMO. Connecticut              JAM.ES C CLEVELA~D. :-;ew Hampt1h1re
       JAMES L OBERSTAR. Mmnt*)ta                JOH~ M   ASHBROOK. Oh10
       JOHS L. Bt;RTO.S. California
       ADAM BE:-;JAMIS. Ja. Ind1-tna

                       CO.MMITIEE ON RULES A~D AD.MI:-.;ISTRATION
                                         U.S. SENATE
                            CLAIBOR:-;E PELL. Rhode l.sland, Chairman
       HOWARD W CA~.SOS. :-;e ..·ada             MARK 0 HAU"IELD. 0rt.1'on
       ROBERT C. BYRD. West \'1rgima             ROBERT P GRJFFJ!'-4. Mich~an
       HARRl.S0!'-4 A. WILLIAMS. Ja.             HOWARD H B.\KER. Ja. Tenr.~
        !'4ew Jersey
       DICK CLARK. Iowa




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                                                                                        '




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                HOl"SE RESOLl'TIOS -120 ( 95TH (,OSG., 1ST SESS.)
                   SELECT COMMITIEE ON CONGRF.SSIOS AL OPERATIONS

                   •        •         •       •       •         •       •
                                FUNCTIONS OF SELECT COMMITTEE

 •               SEC. 3. ta) The select committee shall continue the func-
              tions of the Joint Committee on Congressional Operations
              for the House, as follows:
 •                 •        •         •       •       •         •       •
                 12) Identifying any court proceeding or action which, in
              the opinion of the select committee, is of vital interest to the
              Congress, or to the House of Reoresentatives as a constitu-
              tionally established institution of the Federal Government,
              and calling such proceeding or action to the attention of the
              House-:-

                   •        •         •       •       •         •       •

                                 SESATE Rl'LE XXV. (nH2>

                        CoMMI'M'EE os Rt:u.s AND ADMINISTRATION

                   •        •         •       •       •         •       •
                       Such committee shall also-
                   •        •         •       •       •         •       •
                 (8) Identify any court proceeding or action which in the

 •             opinion of the comrn1ttee, is of vital interest to the Congress
               as a constitutionally established institution of the Federal
               Government and call such proceeding or action to the

 ..            atrention of the Senate .
                                             \"II




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                                      l~TRODl'( llOS

            In accordance with the provisions of House Resolution -t20 of the
          !~5th Congress and Senate Rule XXV, the Select Committee on
          Congressional Operations and the Senate Committtee on Ruks and
          Administration are continuing the practice of reporting on. court
          cases and actions of importance to the Congress as a con~titutionally
          established institution of the Federal Government.
            This report. the sixth report for the 95th C-0ngre~. provides ca:;e
 •        briefs, accounts of the status of court proceedings and the full text of
          decisions in cases which the committees have identified as being of
          vital inttrest to the Congress. :\Iajor change~ in the briefs of previ-
          ously reported cases appear in bold type. Those filed before the
 •        publiration of the most recent preceding report but appearing in the
          reporting series for the fi?""st time are dtscribed as .. , ~ewly Reported
          Cases).·· Cfu:;es filed after the publication of the most recent preced-
          ing report are designated as "( ~ew Cases I."
            The committees intend to continue the practice of publishing
          reports of court proceedings and actions periodically throughout the
          9tjth Congress. In addition, the committ~s also intend to publish a
          complete collection of the c~es which have appeared in this series.
             We encourage commen~ from all :\1embers of Congress and others
          who use this report as an information source and research document.
          We also would welcome and appreciate any information or sugges-
          tions as to pending court proceedings and actions which do not
          appear in this report.
                                             JACK BROOKS, Chairman,
                                               House Select CommLttee on
                                                    Congressional Operations.
                                            CLAIBORSE PELL, Chairman,
                                                 Senate Committee on Rules
                                                            and Administration.
                                              iX




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             Bush. 553 F.2d at 212-13. Once a bill becomes law, a
             Congre~man's interest in its enforcement is shared by,
             and indistinguishable from, that of any other member of
             the public. Harrington v. Schlesinger, 528 F.2d 455, 459
             (4th Cir. 1975); accord, Harrington v. Bush, 553 F.2d at 213.
             Thus, in this case, the injury suffered by the congressional
             appellants is in no way unique to their status as legisla-
             tors. [Slip Opinion at 14.)
           As to the interest of all the appellants, as citizens, in the proper
        administration of the law, specifically the enforcement of the Im-
        migration and Nationality Act by the Attorney General, the Court
        of Appeals held an injury to this interest to be an abstract, general-
        ized interest insufficent to confer standing.
          Status.-No further action has been taken. The time for fJrther
        appeal has expired.
          The July :!5, 1978 decision of the Court of Appeals is printed in
        the "Decisions" section of Court Proceedings and Actions of Vital
        Interest to the Corzgress, Part 5, September 15, 1978.
        Schicartz v. l_'nited States Department of Justice <Newly Reported
             Case)
           No. 78-1334 <D.C. Cir.i
          Brief-This suit was filed on November 4, 19i6, under the Free-
        dom of Information Act, 5 U.S.C. § 3552 <hereinafter "FOIA"), by
        Robert Bennett Schwartz, to compel the release of materials relat-
        ing to the investigation of the conduct of Peter R. Schlam, an
        Assistant United States Attornej for the Eastern District of New
        York, during the unsuccessful exwrtion and conspiracy prosecution
        of then-Representative Angelo Roncallo. Named as defendants in
        the complaint were th~ United States Department of Justice;
        Edward H. Levi, at that time Attorney General of the United
        States; and Peter A. Rodino, Jr., Chairman of the Judiciary Com-
        mittee of the U.S. House of Representatives. Mr. Levi and Con-
        gressman Rodino were sued in their official capacities.
           Mr. Schwartz alleged in the complaint that pursuant to the
        FOIA he was entitled to inspect and copy the documents in the
        possession of the Justice Department and the Judiciary Committee,
        and that he had exhausted al! available administrative remedies in
        an attempt to secure such ac,~ess. The complaint sought declaratory
        and injunctive relief providing for an order directing the defend-
        ants to produce the requested documents immediately, and expedit-
        ing the complaint as prov1derl in the FOIA.
           Along with the complaint, Mr. Schwartz filed an application for
        leave to proceed in forma pauperis. On November 3, 1976, District
        Judge George L. Hart, Jr., granted the application and also dis-
        missed the action under 28 U.S.C. § 1915(d), which provides for the
        dismissal of an action in forma pauperis if the allegation of poverty
        is untrue, or if tre court is ~atisfied that the action is frivolous or
        malicious.
           On November 17, 1976, Mr. Schwartz filed a notice of appeal
        from the order dismissing the action. Leave to appeal without
        prepayment of costs was denied as frivolous and not taken in good
        fa1th by District Judge Hart on November 17, 1976.



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          The United States Court of Appeals for the District of Columbia
        Circuit granted the motion of Mr. Schwartz to proceed on appeal in
        forma p<:zt:peris on January 19, 1977.
          On March 4, 1977, a per curiam order was issued, sua sponte,
        vacating the order of the District Court and remanding the case to
        the District Court with instructions to serve the defendants with
        summonses in accordance with Rule 4(a) of the Federal Rules {)f
        Civil Procedure.
          On July 11, 1977. Defendants, Department of Justice and Griffin
        B. Bell, Attorney General, who was automatically substituted in
        place of Mr. Levi, filed an answer to the complaint. The answer
        claimed, inter alia, that: the complaint failed to state a claim upon
        which relief could be granted; the court lacked subject matter
 •      jurisdiction; and Griffin B. Bell was not a proper party to the
        action.
          On July 11, 1977, Representative Rodino filed a motion to dismiss
        and a supporting memorandum of points and authorities, in which
 •      he asserted that as Chairman of the House Judiciary Committee,
        he was not a proper party to the action, that the court lacked
        subject matter jurisdiction and that the complaint failed to state a
        claim upon which relief could be granted.
          Chairman Rodino argued in particular that neither he nor the
        House Judiciary Committee were within the per -;ew of the FOIA.
        He noted that the act applied to "agencies" of the executive branch
        of the Federal Government and that the FOIA specifically excluded
        the Congress from its disclosure requirements.
          Mr. Schwartz filed an affidavit in opposition to Congressman
        Rodina's motion to dismiss. In the affidavit, he requested that
        Representetive Rodino be directed to appear and answer the com-
        plaint. The affidavit further stated that Congressman Rodino was
        sued under an asserted general common law right of plaintiff to
        inspect public records.
          On August 30, 1977, District Judge Pratt issued a memorandum
        opinion denying the motion to dismiss. The memorandum opinion
        held that the historic common law right to inspect and copy public
        records has been recognized in the District of Columbia Circuit,
        that the general rule is that all three branches of Government are
        subject to the common law, and that Congressman Rodino had set
        forth no persuasive reason why Congress should be exempt from
        the common law rule. Judge Pratt stated that, absent a showing
 •      that the matters sought by plaintiff are not "public records" within
        the meaning of the common law rule or that Mr. Schwartz does not
        possess any "interest" required for application of the rule, the
        motion to dismiss could not be granted. He also noted that Con-
        gress could exempt itself from the common law rule if it so desired,
        but had not done so.
          On September 30, 1977, Representative Rodino filed a motion to
        dismiss or, in the alternative, for summary judgment. The grounds
        put forth for the motion were that the court lacked subject matter
        jurisdiction and that there was no dispute as to any issue of mate-
        rial fact. In an affidavit attached to the motion, Congressman
        Rodino stated that no investigation or inquiry of any kind relating
        to the matters alluded to in the complaint had ever been undertak-
        en by the committee or any staff person employed by the commit-



                                      JA 55
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         tee. An affidavit of Edmund L. Henshaw, Clerk of the United
         States House of Representatives was also attached to the motion.
         Mr. Henshaw stated that a search failed to turn up any documents
         or papers relating to any investigaton of Peter Schlam by the
         committee.
            A supplement to the motion to dismiss or, in the alternative, for
         summary judgment and a second affidavit of Congressman Rodino
         were filed on December 7, 1977. Attached to the affidavit were a
         number of documents r~lated to statements made by former Repre-
         sentative Roncallo on the floor of the House of Representatives and
         in a letter to Representative Rodino. The supplement to the motion
         reiterated that there were no House records within the scope of
         Mr. Schwartz' request.
            A memorandum order was issued by District Judge Pratt on
         December 12, 1977, granting the motion of Congressman Rodino for
         summary judgment, denying the motion of the Department of Jus-
         tice for a protective order and directing the Department of Justice
         to answer plaintiffs first set of interrogatories on or before Janu-
         ary 6, 1978. The memorandum order noted that Congressman
         Rodino had indicated by sworn affidavit that 1e had directed a
         thorough records search and filed and delivered copies of all mate-
         rial compiled by his committee. Judge Pratt stated that a r~view­
         ing court must grant summary judgment in defendant's behalf
         when the defendant, in candor and good faith, has indicated that
         all available records have been turned over to the plaintiff. In
         denying the motion of the Department of Justice for a protective
         order, the memorandum order noted that plaintiff, proceeding pro
         se, had filed the action in November of 1976 and had been delayed
         over 1 year in his efforts to secure the information at issue. The
         court also noted that the interrogatories did not ~trike the court as
         unduly burdensome and they might assist plaintiff in his attempt
         to locate additional relevant documents.
            On January 6, 1978, the Department of Justice filed a response
         to Mr. Schwartz' interrogatories. The Department released some of
         the documents requested by Mr. Schwartz and refused to release
         other documents, asserting that they were exempt from disclosure
         under the Freedom of Information Act. Also filed by the Justice
         Department on January 6, 1978, was a motion for summary judg-
         ment on the grounds that there existed no genuine issue as to any
         material fact. In a ''statement of material facts pursuant to local
         rule 19(h> as to which there is no genuine issue" and a memoran-
         dum of points and authorities in support of its motion, the Depart-
         ment of Justice argued that the withholding of those documents
         denied to Mr. Schwartz was proper under FOIA exemptions 5, 6,
         7(c) and 7(d) 5 U.S.C. § 552(b).
            On February 9, 1978, District Judge Pratt issued a memorandum
         order granting the Department's motion to dismiss. The liability of
         the Attorney General in his official capacity was treated as incor-
         porated into that of the Department of Justice. The memorandum
         order stated that the documents were variously protected by FOIA
         exemption 7(c), which exempts from mandatory disclosure investi-
         gatory records compiled for law enforcement purposes to the extent
         that the production of such records would constitute an unwarrant-
         ed invasion of privacy; by FOIA exemption 7(d), which exempts



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         from mandatory disclosure investigatory records compiled for law
         enforcement purposes to the extent the production of such records
         would disclose the identity of a confidential source; and by FOIA
         exemption 6, which protects from disclosure personnel and mtdical
         files the disclosure of which would constitute a clearly unwarrant-
         ed invasion of personal privacy. Since the District Court held all of
         the documents in question to be protected by FOIA exemption 6,
         7(c) or 7td>, the applicability of exemption 5, which protects inter-
         agency or intraagency communications which would not be availa-
         ble by law to a party other than an agency in litigation with the
         agency, was not reached in the opinion.
            On March 3, 1978, Mr. Schwartz filed a notice of appeal from the
         memorandum order of February 9, 1978.
            Status. -The appeal is pending before the United States Court of
         Appeals for the District of Columbia Circuit.
            The District Court's memorandum opinion of August :30, 1977 is
 •       printed in the "Decisions" section of this report at 273.
            The District Court's memorandum order of December 12, 1977 is
         printed in the "Decisions" section of this report at 27 ,=).
            The District Court's memorandum order to Februarv 9, 197~ is
         printed in the "Decisions" section of this re~'<>rt at 277. ·
         Gold1&ater v. Carter tNew Case>
            Civil Action No. 78-2412 <D.D.C.>
             Brief.-Plaintiffs, Members of the Senate and House of Repre-
         sentatives, filed suit on December :!2, 1978, in the United States
         District Court for the District of Columbia, against President
         Carter and Secretary of State Cyrus Vance. Plaintiffs include Sena-
         tor Barry Goldwater, Senator Strom Thurmond, Senator Carl
         Curtis, Senator Jake Garn, Senator Jesse A. Helms, Senator-elect
         Gordon Humphrey, Congressman Robert Bauman, Congressman
         Steve Symms, Congressman Larry McDonald, Congressman Robert
         Daniel, Jr., Congressman Bob Stump, Congressman Eldon Rudd,
         Congre&Sman John Ashbrook and Cong-ressman George Hansen.
            The plaintiffs seek to have the court declare unconstitutional
         and illegal, and to enjoin, set aside, annul, suspend, or otherwise
         declare invalid and of no effect, the purported notice by President
         Carter to the Republic of China of the termination of the 1954
         Mutual Defense Treaty <hereinafter "Defense Treaty"), TIAS 3178,
         6 UST 433 (1955), between the United States and the Republic of
         China. Plaintiffs further seek to have the court declare that the
         termination of the 1954 Treaty cannot be legally accomplished, nor
         can notice be given of the intended termination of such treaty,
         without the advise and consent of the United States Senate, or the
         approval of both Houses of Congress.
            The Congressional plaintiffs first assert that the Defense Treaty
         itself stipulates the only method for its abrogation. Article X of the
         Defense T!"eaty states in its entirety:
                 This Treaty shall remain in force indefinitely. Either
              Party may terminate it one year after notice has been
              given to the other Party.
            They then assert that Article 2 of the Vienna convention on the
         Law of Treaties defines the term "party" as "a State which has



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               United States District Court for the District of
                                 Columbia



                           Civil Action NCt. 76-2039
 •
                   ROBERT BENNETT SCHWARTZ, PLAINTIFF,

                                       v.
                DEPARTMENT OF JLTSTICE ET AL., DEFENDANTS.




                                MEMORANDUM

             This is an action in which plaintiff seeks certain rec-
          ords from the Department of Justice and Peter A.
          Rodino, Jr., Chairman of the Committee on the Judici-
          ary of the United States House of Representatives, on
          the investigation of one Peter R. Schlam. The Depart-
          ment of Justice is sued under the Freedom of Informa-
          tion Act. Mr. Rodino is sued under the common law
          right of access to public records. The matter is now
          before the Court on Mr. Rodino's motion to dismiss. l\1r.
          Rodino claims that Congress is not subject to the
          common law rule which gives citizens a right of access
          to public records.
             The historic common law right to inspect and copy
          public records is n~cognized in this jurisdiction. United
••        States v. Mitchell, 551 F.2d 1252, 1257 (D.C. Cir. 1976).
          The general rule is that all three branches of govern-
          ment, legislative, executive, and judicial, are subject to
          the common law right. Courier-Journal & Louisi ille     1


          Times Co. v. Curtis, 335 S.W.2d 934, 936 (Ky. 1959), cert.
          denied, 364 U.S. 9i0 '1960)~ partially overruled on other
          grounds, St. Matthews v. Voice of St. Mattheu·s Inc., 519



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         S.W.2d 811 (Ky. 1974): 66 Am. Jur. 2d Records and
         Recording Laws § 15 (1973).
           Defendant Rodino has set forth no persuasive reason
         why Congress should be exempted from the common
         law rule. It is true that Congress has exempted itself
         from the requirements of the Freedom of Information
         Act, 5 U.S.C. § 552, by 5 U.S.C. § 551(1)(A). That Act,
         however, is not coextensive with the common law rule
         under discussion. It applies to all matters in Govern-
         ment files; the common law rule applies only to "public
         records" Moreover, we can find no inconsistency or
         conflict between the Freedom of Information Act and
         the common law ruie. Even if there were an inconsis-
         tency or conflict, the Act would have to be construed
         narrowly, favoring application of the common law, be-
         cause the Freedom of Information Act is in derogation
         of the common law.
           Accordingly, we hold that Congress is subject to the
         common law rule which guarantees the public a right to
         inspect and copy public records. Absent a showing that
         the matters sought by plaintiff are not "public records"
         within the meaning of the common law rule or that
         plaintiff does not possess any "interest" required by the
         rule, we can11ot grant defendant Rodino's motion for
         dismissal.
           If Congress wishes to exempt itself from the common
II       law rule or to impose standards for its application, it
         has the means to do so readily at its disposal. It has,
         however, not done so and therefore remains subject to
         the common law rule.
           An order will issue accordingly.
            Dated: August 24, 1977.
                                            JOHN H. PRATT,
                                    United States District ,.Judge.




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                United States District Court for the District of
                                  Columbia



                            Civil Action No. 76-2039
                       ROBERT B. SCHWARTZ, PLAINTIFF,

                                        v.
                 DEPARTMENT OF JUSTICE ET AL., DEFENDANTS.




                             MEMORANDUM ORDER

              Three matters regarding this Freedom of Information
           Act suit are currently before this Court. The motion of
           defendant Peter Rodino to dismiss the action as to him,
           or in the alternative for summary judgment, must be
           evaluated. In addition, plaintiffs motion to compel dis-
           covery and defendant Department of Justice's motion
           for a protective order merit this Court's attention.
              A. Motion of defendant Peter Rodino, On September
JI
           30, 1977, defendant Rodino filed a motion to dismiss or,
J          in the alternative, for summary judgment. That motion
           was opposed on Or~ober 11 and thereafter supported by
           a second affidavit and various documents on December
           7, 1977.
              It is the opinion of this Court that defendant Rodino's
           motion for summary judgment must be granted. Mr.
           Rodino has, by sworn affidavit, indicated that he has
           directed a thorough records search and that "no stone
 ti
      •    wac; left untl4rned in this matter." He has filed and
           delivered copies of all materials compiled by this Com-
           mittee. When the defendant, in candor and good faith,
           indicates that all available records have been turned
           over to the plaintiff, a reviewing court must grant sum-
           mary judgment in defendant's behalf. See Nolen v.
           Rumsfeld, 535 F.2d 890, 891 (5th Cir. 1976), cert. denied,

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       429 U.S. 1104 (1977); Weisberg v. U.S. Depariment of
       Justice, Civil Action No. 75-226 (D.D.C. Oct. 5, 1977).
          B. & C. Motion of Plaintiff to Compel Discovery and
       Motion of Defendant Department of Justice for Protec-
       tive Order. On August l, 1977, plaintiff filed interroga-
       tories in connection with this action. After being served
       with a motion to compel discovery on September 19,
       defendant Department of Justice indicated that it had
       not received the interrogatories via plaintiffs alleged
       service of process but that it would "initiate the prepa-
       ration of appropriate responses." Plaintiff was not satis-
       fied with this representation, ~nd by reply of October 5
       and letter to this Court on October 30 renewed his
       motion to compel.
          On November 22 defendant Department of Justice
       filed a motion for protective order asserting that a dis-
       positive motion was to be "imminently filed" and that
       discovery would be superfluous in the Freedom of Infor-
       mation Act context. Plaintiff opposed this motion on
       December 2. On December 9 this Court was advised that
       the Department of Justice would prepare a dispositive
       motion and a catalogue of relevant documents by Janu-
       ary 23, 1978.
          We cannot endorse defendant's request for a protec-
       tive order. Plaintiff, proceeding pro se, filed this action
       in November 1976 and has been delayed over one year
       in his efforts to secure the information at issue. The
       interrogatories do not strike this Court as unduly bur-
       densome, and they may assist plaintiff in hi.s attempts
       to locate additional relevant documents.
          For these reasons, it is by this Court this 12th day of
       December, 1977,
          ORDERED, that the motion of defendant Peter
       Rodino for summary judgment be, and the same hereby
       is, granted; and it is further
          ORDERED, that the motion of defendant Department
       of Justice for a protective order be, and the same
       hereby is, denied; and it is further
          ORDERED, that defendant Department of Justice
       shall answer plaintiffs first set of interrogatories on or


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          before January 6, 1978. No further extensions will be
          granted.
                                                  J. H. PRATT,
                                      United States District Judge.


                United States District Court for the District of
                                  Columbia



                           Civil Action No. 76-2039
                       ROBERT B. ScHWARTZ, PLAINTIFF,

                                        v.
                 DEPARTMENT OF JUSTICE ET AL., DEFENDANTS.




                             MEMORANDUM ORDER

            Defendant Department of Justice has moved for sum-
          mary judgment in this Freedom of Information Act
          (FOIA) action, producing nun1erous documents 9.nd
          withholding others pursuant to FOIA exemptions 5, 6,
          7(C) and 7(D). 5 U.S.C, § 552(b). In support of its motion,
          defendant has submitted Vaughn v. Rosen affidavits
          analyzing in detail the documents themselves, and
          where pertinent, citing the provisions of the statute
          relied upon. We previously!' by Order of December 13,
          1977, granted summary judgment for the remaining de-
          fendant Peter Rodino, who was sued in his official ca-
          pacity as Chairman of the House Judiciary Committee:
          defendant Rodino by sworn affidavit informed this
          Court that no records existed in his files responsive to
          plaintiff's request and that relevant background materi-



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         al voluntarily was being supplied to plaintiff by defend-
         ant Rodino. 1
            At issue in this action are documents pertaining to an
         investigation regarding the conduct of Peter Schlam, an
         Assistant United States Attorney for the Eastern Dis-
         trict of New York, in the unsuccessful extortion and
         conspiracy prosecution of United States Representative
         Angelo Roncallo. Schlam fell ill during the final days of
         that trial as a result of the ingestion of a quantity of
         drugs, possibly self induced, and !::.is illness attracted
         substantial public attention. Plaintiff seeks documeZlts
         relating to the investigation of that drugging incident
         by the Department of Justice. Because we find that the
         documents are protected from disclosure by exemptions
         6, 7(C) and 7(0), we do not find it necessary to analyze
         the applicability of exemption 5 as advanced by defend-
         ant.~
            A. Exemption 7(CJ. The FOIA exempts from manda-
         tory disclosure "investigatory records compiled for law
         enforcement purposes, but only to the extent that the
         production of such records would • • • (C) constitute an

l        unwarranted invasion of personal privacy." Our review
         of the itemizations of documents convinces us that the
         withheld documents were compiled for law enforcement
         purposes. It is not necessary that further enforcement
         proceedings be imminent in order to qualify under ex-
         emption 7. Rural Housing Alliance v. U.S. Department
         of Agriculture, 498 F.2d 73 <D.C. Cir. 197 4) (compilation
         of records for adjudicatory purposes sufficient to
         achieve protection of exemption 7 >; see Koch v. Depart-
         ment of Justice, 376 F. Supp. 313, 315 (D.D.C. 1974)
         (records compiled for enforcement of regulatory provi-
         sions protected); Green v. Kleindienst, 378 F. Supp. 1397,
         1400 (D.D.C. 197 4) (business review letters protected).
         We find that these recorcs were compiled for law en-
           1
              The Attorney General of the United States also was joined as
         defendant, in his 01'ticial capacity, and his liability will be treated
         as incorporated into that of the Department of Justice.
            2
              We have reviewed the itemizations of the withheld documents
_.       carefully, but do not in this memorandum discuss the individual
         documents. Notably, exemptions 6 and 7(C) are a5serted for each
         and every document v1ithheld.



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           forcement purposes relating to alleged improprieties in
           the prosecution of Congressman Roncallo, particularly
           noting that a letter of reprimand was placed in
           Schlam' s file as a result of the investigation. See De-
           fendant's Motion for Summary Judgment, Exhibit I
           Oetter of V. Rakestraw, at 4).
              It is also our opinion that release of intimate details
           regarding the drugging incident would constitute "an
           unwarranted inva5ion of personal privacy." Since we
           also hoJd that the release would constitute a clearly
           unwarranted invasion meriting exemption from disclo-
           sure pursuant to exemption 6 (see discussion, infra), we
           are satisfied that the less demanding burden on the
           Government in meeting the privacy invasion aspects of
           exemption 7 has been satisfied. See Department of the
           Air Force v. Rose, 425, U.S. 352, 378-79 n.16 (1976).
              We therefore conclude that these documents are pro-
           tected from disclosure by exemption 7(C),
              B. Exemption 7f D). Exemption 7(0) protects "investi-
           gatory records compiled for law enforcement purposes,
           but only to the extent that the production of such rec-
           ords would * * * (0) disclose the identity of a confiden-
           tial source * * *." Defendant asserts that disclosure of
           the requested information would jeopardize the confi-
           dential relationships which enabled the Government to
           secure the information at issue, since a person familiar
           with this incident would be able to ascertain the identi-
           ty of the source by an analysis of information involved.
           See Defendant's Motion for Summary Judgment, Exhib-
           it III (Affidavit of G. R. Schweickhardt at 7-10). We
           accept this sworn testimony, and determine that these
           records are protected by exemption 7(0). See Harbolt v.
           Alldredge, 464 F.2d 1243, 1244 (10th Cir.), cert. denied.
           409 U.S. 1025 (1972) (FBI interrogation reports not sub-
           ject to disclosure).
              C. Exemption 6·. Exemption 6 ~rotects from disclosure
 .;11      ~'personnel and medical files the disclosure of which
           would constitute a clearly unwarranted invasion of per-
           sonal privacy." To determine the Clpplicability of this
           exemption, it is necessary to balance the privacy inter-
           est of Peter Schlam against the public interest purpose


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         which would be satisfied by the production of the docu-
         ments at issue, 3 recognizing that we should tilt the bal-
        ance in favor of disclosure. Getman v. NL.R.B., 450 F.2d
        670, 674-75 <D.C. Cir. 1971). In reaching our corclusion,
        we endorse the reasoning employed by the court in Hiss
        v. Department of Justice, C.A. No. 76Civ4672 (S.D. N.Y.
       Oct. 18, 1977) in upholding the applicability of exemp-
       tion 6 to protect from disclosure records relating to the
       conduct of a private investigator engaged in the defense
       of Alger Hiss before the House Un-American Activities
       Committee. The Court there determined that disclosure
       of information relating to the investigator's relationship
       with government intelligence agencies would be embar-
       rassing a11d clearly unwarranted. Plaintiff in this action
       protests the nondisclosure of unverified opinions and
       reports regarding Schlam's personal, social, professional
       and medical status, and it is this Court's conclusion that
       disclosure would constitute a serious privacy invasion.
       See Columbia Packing Co., Inc.- v. Department of Agri-
       culture, 417 F. Supp. 651, 654 (D. Mass. 1976).
          In balancing the interests at issue in this litigation,
       we have evaluated plaintiff Schwartz's assertions that
       the public interest would be advan~ed by release of this
       information. Plaintiff asserts that such release would
       enable him "to judge the quality and fairness of [the
       Roncallo] judicial proceedings and the conduct of AUSA
       Peter R. Schlam." Memorandum of Points and Authori-
       ties in Opposition to Defendant's Motion for Summary
       Judgment at 2. While we find that this proffered inter-
       est may be a legitimate one, we do not find that it is
       sufficient to tip the balance in favor of disclosure. Fur-
       thermore, in the context of this case, we are prone to
       believe that plaintiffs real motivation rr1ay lie else-
       where.
          3
           We must evaluate the public inte:est with reference to the
       advantages to be secured by release to this plaintiff See Rural
       Ho~ing Alliance v. Department uf Agriculture, supra, at 77;
       Getman v. NL.R.B., 450 F.2d 670, 677 n.24 (D.C. Cir. 197 4). But see
       Dictlow v. Schultz, 517 F.2d 166, 171 <D.C. Cir. 1975) (dictum) (eval-
       uation should be with r~ference to the advantages to be secured by
       release to the general public). Our decision in this action would not
       be altered by application of the standard suggested in Ditlow.



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           In Hiss v. Department of Justice, supra, slip op. at 7,
         the Court in rejecting plaintiffs assertions that release
         of the information would be in furtherance of the public
         interest in the conduct of government prosecutions,
         characterized them as being invoked "only to satisfy the
         requjrements of the FOIA," whereas the plaintiffs per-
         sonal interests were paramount. We find plaintiff
         Schwartz's attempt to distinquish the Hiss case to be
         unpersuasive, and like the Hiss court determine that
         plaintiff here has not met his burden of demonstrating
         that the public interest in the disclosure outweighs the
         clear invasion of privacy which disclosure of these docu-
         ments would constitute.
           For these reasons, it is by the Court this 9th day of
         February, 1978,
           ORDERED, that defendant's motion for sunimary
         judgment be granted; and it is further
           ORDERED, that this action is dismissed.
                                              JOHN H. PRATT,
                                     United States District Judge.




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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA

ROBERT B. SCHWARTZ,
          Plaintiff,
     v.                                Civil Action No.   76 - 203~

DEPARTMENT OF JUSTICE, ET AL.,
          Defendants.



                       MOTION TO DISMISS
                DEFENDANT PETER A. RODINO, JR.          J '1ES F. DWi::Y, Cit:r'<


     Defendant Peter A. Rodino, Jr., by his undersigend
attorneys, pursuant to Rule 12(b)(l) and (6), Federal Rules
of Civil Procedure, hereby moves the Court to be dismissed
from this action.     The grounds for this motion are that
defendant Rodino is not a proper party to this action, the
Court lacks jurisdiction over the subject matter of this
action against him, and the Complaint fails to state a claim
against him upon which relief may be granted.       In support of
this motion, the Court is respectfully referred to defendant's
memorandum of points and authorities in support of his
motion to dismiss filed herewith.
                                 Respectfully submitted,


                                 EARL J. SILBERT
                                 United States Attorney

                                                        tes Attorney

                                                             Attorney

                                 Attorneys, Department of Justice
                                 Rm. 3600-E, U.S. Courthouse
                                 3rd & Constitution Ave., N.W.
                                 Washington, D.C.   20001
                                 Tel: 472-4726
                                 Attorneys for Defendants




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                                    JA 67                                   Ex. A
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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

ROBERT B. SCHWARTZ,
          Plaintiff,
     v.                                Civil Action No. 76-2039
DEPARTMENT OF JUSTICE, ET AL . ,                           v
                                                        FI LED
          Defendants.
                                                        -
                                                            jl!:    : ! ·977
                                                              - • • .l  I

                                                     JA\1ES F. DA\ -:-y c·,., '
            MEMORANDUM OF POINTS AND AUTHORITIES                      L   '    ._r,,
      IN SUPPORT OF MOTION TO DISMISS DEFENDANT RODINO

                       PRELIMINARY STATEMENT
     This action was instituted by plaintiff Robert Bennett
Schwartz, pro se, against defendants, United States Department
of Justice, Edward H. Levi and Peter A. Rodino, Jr .           Plaintiff
has alleged the Freedom of Information Act, 5 U.S.C. §552
(1970 & Supp. V 1975), as amended by Act of September 13,
1976, Pub. L. No. 94-409; 28 U. S . C. §§1361, 139l(e) (1970)
and the U.S. Constitution as the jurisdictional basis for
this proceeding.
     Defendants, the Department of Justice and Attorney General
             1/
Griffin Bell,- have filed an Answer. Defendant Rodino now
moves the Court for the entry of an order dismissing him from
the action.
                        STATEMENT OF FACTS
     Plaintiff, by letters dated August 11, 1976, and Sep-
tember 9, 1976, requested the Executive Office for United
States Attorneys to furnish plaintiff with "a copy of the

17   Since Griffin B. Bell has succeeded the official named
as defendant in the complaint, Edward H. Levi, as Attorney
General of the United States, Mr. Bell is automatically sub-
stituted as defendant in the stead of Mr . Levi. (Rule 25(d),
F.R. Civ. P . )




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final opinion and the underlying documents and findings in
an investigation conducted by your agency regarding the con-
duct of Peter R. Schlam, an Assistant U.S. Attorney from the
Eastern District of New York. 11    The request was denied by the
Executive Office by letter dated l~ovember 2, 1976.

     Plaintiff alleges that by Certified Mail No. 593361
dated August 13, 1976, and by letter dated September 9,
1976, he requested defendant Rodino, as Chairman of the
House Judiciary Committee, to furnish plaintiff with findings
of fact and conclusions of law made by the Committee con-

cerning its investigation of the conduct of Assistant United

States Attorney Peter R. Schlarn.       He alleges that he received
no response to these requests.      (Complaint, paras. 11, 12, 13)

                        STATUTES INVOLVED
     5 U.S.C. §551 (1970) provides, in pertinent part, that'
          For the purpose of this subchapter
     [Subchapter II, Administrative Procedure,
     5 u.s.c. §§551-559]
               (1) "agency" means each authority
          of the Government of the United States
           ... , but does not include--
                      (A) the Congress;
                      (B) the courts of the United
                           States

     5 U.S.C. §552(e) provides that,
               For the purposes of this section
          [§552, the Freedom of Information Act],
          the term 'agency' as defined in section
          551(1) of this title includes any execu-
          tive department, military department,
          Government corporation, Government con-
          trolled corporation, or other establish-
          ment in the executive branch of the
          Government (including the Executive Office
          of the President), or any independent regu-
          latory agency.
                             ARGUMENT
     Defendant Rodino now moves the Court to dismiss him
from this action.    He asserts that as Chairman of the !louse
Judiciary Committee, he is not a proper party to this action,




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that the Court lacks jurisdiction over the subject matter of
this action 1 and that the Complaint fails to state a claim

upon which relief may be granted.
     The documents sought from defendant Rodino in this action

are those findings of fact and conclusions of law made by the
House Judiciary Committee of the United States Congress con-

cerning an alleged investigation by that Corrnnittee of the
conduct of Assistant United States Attorney Peter R. Schlam.
     Any documents within the custody of defendant Rodino or
the House Judiciary Committee belong to an entity which is

not an agency within the meaning of the Freedom of Infor-

mation Act.   Therefore, the Court must dismiss the action

against defendant Rodino for want of personal and subject
matter jurisdiction under the Act.      The action should also
be dismissed because plaintiff has consequently failed to
state a claim upon which relief may be granted.
         I.   Peter A. Rodino, Jr. is not an "Agency 11
              Subject to the Requirements of the
              Freedom of Information Act.
     The Freedom of Information Act, 5 U.S.C. §552 (1970 and
Supp. V 1975), as amended £z Act of September 13, 1976, Pub.
L. No. 94-409 [hereinafter referred to as FOIA or §552],
grants jurisdiction to the federal district courts "to
enjoin [an] agency from withholding agency records and to
order the production of any agency records improperly with-
held from [a] complainant."     §552(a)(4)(B).    The definition
of an 11 agency 11 for purposes of the FOIA may be found in two
sections of Title 5 of the United States Code.        5 U.S.C.
§551 (1970) provides that for purposes of the subchapter on
Administrative Procedure, which includes the FOIA,
                (1)  "agency" means each authority
          of the Government of the United States,
          ... , but does not include--
                      (A) the Congress;

                      (B) the courts of the United
                          States ....


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5 U.S.C. §552(e), added to the FOIA in 1974 by Public Law
No. 93-502, further provides that
                For purposes of this section [the
           FOIA], the term 'agency' as defined in
           section 551(1) of this title include$"'"
           any executive department, military de-
           partment, Government corporation, Govern-
           ment controlled corporation, or other estab-
           lishment in the executive branch of the
           Governmen~(fiiCluding the Executive OIIice
           of the President), or any independent regu-
           latory agency.  [Emphasis added.]
     Defendant Rodino, an individual, is not an "agency" within
the meaning of the FOIA.     Cox v. Levi, Civil No. 76CV470-W-3
(W.D. Mo. November 12, 1976); Russo v. Department of Justice,
Civil No. 76-131-C3 (D. Kan. November 11, 1976); Burke v.
Kelly, Civil Action No. 75-336-C3 (D. Kan. February 11, 1976).
(Copies are attached hereto as Appendices A, B and C, respec-
tively).   Thus, this Court clearly lacks personal and subject
matter jurisdiction under the Act, §552(a)(4)(B), and should
dismiss the action against defendant Rodino.        Furthermore, the
entity of which Mr. Rodino is chairman, and which would have
custody of any documents within the ambit of plaintiff's re-
quest, the House Judiciary Committee, is likewise not an 11 agency 11
within the meaning of the FOIA.        It is clear from the wording
of both §55l(l)(A) and §552(e) that the term "agency", as
used in the FOIA, does not include Congressional committees.
Section 55l(l)(A) specifically excludes Congress from the
scope of §§551 through 559 of Title 5, and therefore from
the scope of §552.     An expanded definition of "agency" was
added by the 1974 Amendments to the FOIA for purposes of
that section, but the applicability of the §551(1) definition
to the FOIA was not altered.     Rather, Congress reiterated
the continued relevance of §551(1) by specifying in §552(e)
that the term agency is in fact "defined in section 551(1)
of this title. 11   The FOIA definition of agency simply expands
and clarifies the meaning of an 11 authority of the Government



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of the United States," §551(1), for purposes of the FOIA
"to include ...    [all] establishment[s] in the executive

branch of the Government" and independent regulatory agencies.
§552(e).     This expanded FOIA definition thus extends applica-
bility of the FOIA only to those agencies of the executive
branch 'lvhich may not be included in the first sentence of

the §551(1) definition.     It does not extend the applicability
of the FOIA to those entities specifically excluded from the
§551(1) definition.     See §55l(l)(A)-(H).
        The legislative history of the 1974 Amendments to the
FOIA reflect the Congressional intent that the definition of
agency in §551(1) remain applicable to the FOIA and that the
expanded FOIA definition include only establishments within
the executive branch of the Government.       A House Conference
Report concerning the amendments refers to the continued
significance of §551(1). See Conference Report No. 93-1200,
reprinted in [1974] U.S. Code Cong. & Ad. News 6285, 6293.
Furthermore, relevant House and Senate Reports use the terms
"federal," "government" and 11 executive branch" interchangeably
in referring to agencies and agency records subject to the
FOIA.     See H. Rep. No. 93-876, 93d Cong., 2d Sess., reprinted
in [1974] U.S. Code Cong. & Ad. News 6267, 6274; S. Rep. No.
93-854, 93d Cong. 2d Sess. 35 (1974).       Also, the House
Report clearly states that the intended effect of the FOIA
definition is "to insure inclusion under the Act of Government
corporations, Government controlled corporations, or other
establishments within the executive branch ... "       [1974] U.S.
Code Cong. & Ad. News 6274.     [Emphasis added.]     Nowhere in
any of the reports is reference made to the legislative or
judicial branches of government. Both are expressly excluded
from the definition of agency in §551(1).       Clearly, Congress
did not intend that §552(e) effect such a major change in
the scope of the FOIA.



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        Since passage of the 1974 Amendments to the FOIA, two
federal district courts have held that the courts of the
United States are not subject to the requirements of the
FOIA.     See Santoro v. Attorney General of the United States,

76 Civ. 1803 (S.D. N.Y. October 8, 1976).         Blue v. Bureau of
Prisons, Civil No. C75-2092 (N.D. Ga. August 10, 1976).           (Copies
are attached hereto as Appendices D and E, respectively.)          Both
courts based their decisions on the exclusion of the judiciary
from the definition of agency in §55l(l)(B).         Thus, the courts
have recognized that §551(1) does indeed continue to apply to
the FOIA in conjunction with §552(e).         See also Cox v. Levi,

supra at 2 (term "agency" not intended to include individuals,

but intended to refer to    11
                                 department[s] of the executive
branch which [have] custody of ... agency records) (Emphasis
added).
        Any documents which plaintiff seeks from defendant Rodino,
or which plaintiff may seek from the House Judiciary Committee,
are thus not "agency records" within the meaning of the FOIA.
Defendant Rodino, an individual, is not an agency and is there-
fore not subject to the disclosure requirements of the Act.           The
House Judiciary Committee is also not an agency within the meaning
of the FOIA.     Congress is expressly excluded from the definition
of "agency" in §551(1) (A) and does not fall within the definition
in §552(e).     Furthermore, the legislative history of the 1974
Amendments to the FOIA, as well as recent case law, indicate
that only agencies within the executive branch of the Government
are subject to the Act's disclosure requirements.




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                            CONCLUSION
     For the foregoing reasons, defendant Rodina's Motion
to Be Dismissed from This Action should be granted.




                                   Attorneys, Department of Justice
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                                   Tel' 472-4726
                                   Attorneys for Defendants




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                                                                                 I




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


ROBERT B. SCHWARTZ,
              Plaintiff,
     v.                                        Civil Action No .        76~
DEPARTMENI' OF JUSTICE , ET AL . ,                      FILED
              Defendants .
                                                         AUG l i 1977

                                                      JAMES F. DAVEY, Clerk

             DEFENDANTS' SUPPLEMENTARY MEMORANDUM
            OF POINTS AND AUTHORITIES IN SUPPORT OF
                 DEFENDANTS' MOTION TO DISMISS

                      Prel iminary Statement

     Plaintiff brings this action against Peter A. Rodino, Jr.,
                                               ·k/
Chairman of the House Judiciary Committee:           requesting that he
be provided with the findings of fact and conclusions of law
made in the House Judiciary Committee's investigation into the
cond uct of Assistant United States Attorney Peter R. Schlam.
On July 11, 1977, counsel for defendants filed a Motion to Dismiss
plaintif f's action against Mr . Rodino asserting that Mr. Rodino
is not an "Agency" subject to the requirements of the Freedom of
Information Act, 5 U.S.C . §552,     et~       On July 26, 1977, plain-
tiff mailed a plead i ng styled as an "Affidavit In Opposition"
t o counsel for defendants in which plaintiff acknowledges that
he is not entitled to bring an action for the documents requested
from Mr . Rod i no under the Freedom of Information Act .          However,
plaintiff asserts that he is entitled to bring an action for
these documents under the "general common law right of plaint iff
to inspect public records"; 28 U. S.C . §1361; 44 U.S.C . §903,               et~;

and Article 6, clauses 2 and 3 of the United States Constitution .
     Defendants contend that plaintiff continues to lack juris-
diction to bring an action against Mr. Rodino .


~/   Plaintiff has also requested records from the Department of
Justice in his action which are not addressed in defendants '
Motion to Dismiss.



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      Clause 3 of Article 6 of the Constitutio~ cited by plaintiff
as a jurisdictional basis for his action, does not exist.           Clause       2
of Article 6 of the Constitution states that the Constitution, laws
and treaties of the United States are the supreme law of the land
and bind judges of the States regardless of the provisions of
State Constitutions and laws"       Clearly this section of the
                                                                             1
Constitution does not provide a jurisdictional basis for plaintiff s

act ion.
      The statutes cited by plaintiff also provide no basis for
this action.    The statutes cited by plaintiff dealing with the
Congressional Record, 44 U.S.C. §903, &..!;;, ~' do not create
 jurisdiction for any action against a member of Congress, much
 less of the nature alleged by plaintiff.        Additionally, 28 U.S.C.
 §1361 does not create a jurisdictional basis for an action against
 a member of Congress of the nature asserted by plaintiff.
       Finally, tvhile United States of America v. John Mitchell,
 et al., No. 75-1409 (D.C. Cir., filed October 26, 1976), may
 recognize a common law right to request some public records
 maintained by the Judicial Branch of the United States government,
 its clear that the opinion cannot be read to recognize a right to
 receive records maintained by the Congressional Branch of the
 United States government.      Clearly, a court should be extremely
 relucta11t to extend the princip:le of law apparently established
 by this opinion to the Congressional Branch of the United States

 governmento
                              Conclusion
       For the foregoing reasons, defendant Rodino respectfully
 requests that plaintiff's action be dismissed.




                                  /'Assistant United States Attorney


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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                              )
PENTAGEN TECHNOLOGIES                         )
 INTERNATIONAL LTD., et al.,                  )
                                              )
                       Plaintiffs,            )
                                              )
        v.                                    ) Case No. 1:98cv00047 (GK)
                                              )
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COMMITTEE ON APPROPRIATIONS                   )                                    - i<" >
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 OF THE U.S. HOUSE OF                         )                                    C':>~

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 REPRESENTATIVES, et al.,                     )                                       -j
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                       Defendants.            )                                   - ..
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                           DEFENDANTS' MOTION TO DISMISS

       Pursuant to Rule 12(b)(l) and (6) of the Federal Rules of Civil Procedure, defendants

Committee on Appropriations of the U.S. House of Representatives ("Committee"), and the

Honorable Bob Livingston, the Representative of Louisiana's 11th congressional district and

Chairman of the Committee, through counsel, respectfully move for an order dismissing the

Complaint in this matter with prejudice. A proposed order is attached and oral argument is not

requested.

                     MEMORANDUM OF POINTS AND AUT ORTTIES

                                           Introduction

       Pursuant to a supposed "common law right of access to public records," plaintiffs

Pentagen Technologies and Russell Varnado seek in this action to obtain access ~o certain non-

public, confidential reports prepared for internal Committee use by the Committee's investigative

staff (the Surveys and Investigations Staff). Specifically, plaintiffs seek to review and copy all




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investigative staff reports prepared after June 1993 that relate to the Department of Defense's

Sustaining Base Information Services ("SBIS") program. Complaint at 7 (Jan. 9, 1998).1 The

investigative staff prepared the reports in question to aid the Committee in carrying out its

legislative responsibility to recommend appropriate funding levels for the program.

        It is unclear for what precise purpose plaintiffs seek the investigative staff reports,

although the Complaint suggests that plaintiff Pentagen Technologies, an English software

company, intends to use the documents in connection with U.S. ex rel. Pentagen T elm logies

International. et al. v. CACI International. et al., No. 96 Civ 7827 (S.D.N.Y.), a False Claims Act

case against several defense contractors. See Complaint at if 16. In this respect, plaintiffs'

lawsuit is the functional equivalent of a subpoena duces tecum. Plaintiff Varnado is not

identified in the Complaint other than as a resident of Fort Washington, Maryland. Id. at if 3. 2

                                        Factual Background

        The House Appropriations Committee is charged, among other things, with

" [a]ppropriati [ng] ... revenue for the support of the Government." Rule X.1 (b )( 1), Rules of the




                 SBIS is a U.S. Army program designed to create a "comprehensive national
automated information system." H.R. Conf. Rep. 104-863, at 913 (1996). See also U.S. v. CACI
International. Inc., 953 F. Supp. 74, 75 (S.D.N.Y. 1995) (SBIS intended "to modernize [U.S. Army]
installation information management systems"). For the convenience of the Court, copies of the
pertinent pages of H.R. Conf. Rep. 104-863 and other House reports and documents referred to in
this memorandum are attached collectively as Exhibit A.
        2
               According to press reports, Mr. Varnado "managed information technology
acquisition for the Army Material Command until 1992." W. Wayt Gibbs, B attling the Enemy
Within, Scientific American, April 1996, at 35. He is also, apparently, a plaintiff in the False Claims
Act case.

                                                  2




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   House of Representatives (105th Cong.) (referred to hereafter as "House Rules"). 3 "[T]o assist it

   in the determination of matters within its jurisdiction," the Committee is vested with authority to

   "conduct such studies and examinations of the organization and operation of executive

   departments and other executive agencies ... as it may deem necessary." House Rule X.2(b)(3).4

   See also 2 U.S.C. § 72a(b) (authorizing House and Senate Appropriations Committees to retain

   professional staff to conduct studies and examinations of matters within their jurisdictions). The

   Surveys and Investigations Staff is the professional investigative staff that performs this function

   for the House Appropriations Committee.

          Section 8 of the Committee's rules addresses the procedure applicable to studies and

   examinations conducted pursuant to House Rule X.2(b)(3) and 2 U.S.C. § 72a(b). A request for

   such a study or examination is initiated by a majority vote of a subcommittee, with the approval

   of the Chairman and Ranking Minority Member of the full Committee or, alternatively, by a

   majority vote of the full Committee. Section 8(b), Rules of the House Committee on

   Appropriations (105th Cong.). 5 Section 8 goes on to provide, in pertinent part, that

                  [a]ny information obtained by such staff [appointed to conduct the
                  study or examination] shall be reported to the chairman of the
                  subcommittee requesting such study and examination and to the
                  Chairman and Ranking Minority Member, shall be made available



                For the convenience of the Court, copies of the pertinent parts of Rule X and other
   House and Committee rules referred to in this memorandum are attached collectively as Exhibit B.
          4
                 The authority set forth in Rule X.2(b)(3) was first given to the Committee in 1943,
   and incorporated into the rules of the House in 1953. See Constitution, Jefferson's Manual and
   Rules of the House of Representatives, H.R. Doc. 104-272, 1041h Cong., 2d Sess. 428 (1997).

                   In practice, the Chairman and Ranking Member of the full Committee, as well as the
   Chairman and Ranking Member of the pertinent Subcommittee, must sign off on a directive to the
   investigative staff to initiate a study or examination.

                                                    3



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                    to the members of the subcommittee concerned, and shall not be
                    released/or publication until the subcommittee so determines.

   Section 8(d), Rules of the House Committee on Appropriations (105 1h Cong.) (emphasis added).

           Investigative staff reports are rarely, if ever, disseminated publicly, either in whole or in

   part. Many of the reports contain classified or proprietary information, and they are specifically

   intended for internal use, that is "to assist [the Committee] in reaching decisions on specific

   funding levels" for the projects and activities studied. H.R. Rep. 104-870, at 12 (1996).

   Sometimes, although not often, information from investigative staff reports may be extracted and

   used in other Committee-prepared reports in accordance with Committee Rules. See id. at 14

   (" [I]nformation may be released for publication only when the Subcommittee so determines as

   provided by Section 8 of the Committee's rules.").

           In this case, pursuant to Section 8, the Committee's Subcommittee on Defense (now the

   Subcommittee on National Security) ("Subcommittee") first asked the investigative staff in or

   about 1994 to study the SBIS program. Between 1994 and 1996, the investigative staff compiled

   several reports that addressed the SBIS program (among other things). As noted above, none of

   these investigative staff reports have been made public. On several occasions and in connection

   with various appropriations bills, the Committee issued public reports -     to which plaintiffs have

   full access -   that discuss the SBIS program.6 Plaintiffs' attorney requested that the Committee

   provide him with copies of the investigative staff reports, but the Committee declined.




                 See,~' H.R. Rep. No. 105-206, at 155 (1997); H.R. Rep. No. 104-863, at 913-14
           6

   (1996); H.R. Rep. No. 104-617, at 143 (1996); H.R. Rep. No. 103-562, at 57-58 (1994). See also
   H.R. Rep. 105-132, at 51 (1997) (report of House Committee on National Security).

                                                     4



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                                             Argument

I.      Plaintiffs' Claim Is Ba1Ted by the Speech or Debate Clause of the Constitution.

        As an initial matter, plaintiffs' claim against the Committee and Chairman Livingston for

access to investigative staff reports is barred by the Speech or Debate Clause of the Constitution.

U.S. Const., art. I, § 6, cl. 1 ("for any Speech or Debate in either House, they [the Representatives

and Senators] shall not be questioned in any other place.").

        The protections of the Speech or Debate Clause apply to all activities

               within the "legislative sphere" ... even though the[] conduct, if
               performed in other than legislative contexts, would in itself be
               unconstitutional or otherwise contrary to criminal or civil statutes.

Doe v. McMillan, 412 U.S. 306, 312-13 (1973) (quoting Gravel v. U.S., 408 U.S. 606, 624-25

(1972)). The "legislative sphere" includes all activities that are

               "an integral part of the deliberative and communicative processes
               by which Members participate in committee and House
               proceedings with respect to the consideration and passage or
               rejection of proposed legislation or with respect to other matters
               which the Constitution places within the jurisdiction of either
               House."

Eastland v. Un ited States Servicemen's Fu.nd, 421 U.S. 491, 504 (1975) (quoting Gravel, 408

U.S. at 625). 7 Moreover, the Speech or Debate Clause "applies not only to a Member but also to

his aides insofar as the conduct of the latter would be a protected legislative act if performed by

the Member himself." Gravel, 408 U.S. at 618.

       Below, we first describe the history, purpose and scope of the Speech or Debate Clause,



       7
                See also Kilbourn v. Thompson, 103 U.S. 168, 204 (1881) (Speech or Debate
immunity extends to any act "generally done in a session of the House by one of its members in
relation to the business before it.").

                                                  5



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   and then discuss its specific application to this case.

          A.      History. Purpose and Scope of the Speech or Debate Clause.

          The Speech or Debate Clause privilege is rooted in the epic struggle for parliamentary

   supremacy in 16th and 17th century England:

                  Behind these simple phrases lies a history of conflict between the •
                  Commons and the Tudor and Stuart monarchs during which
                  successive monarchs utilized the criminal and civil law to suppress
                  and intimidate critical legislators.

   U.S. v. Johnson, 383 U.S. 169, 178 (1966).

                  As Parliament achieved increasing independence from the Crown,
                  its statement of the privilege grew stronger. In 1523, Sir Thomas
                  More could make only a tentative claim .... In 1668, after a long
                  and bitter struggle, Parliament finally laid the ghost of Charles I,
                  who had prosecuted Sir John Elliot and others for "seditious"
                  speeches in Parliament. ... In 1689, the Bill of Rights declared in
                  unequivocal language: "That the Freedom of Speech, and Debates
                  or Proceedings in Parliament, ought not to be impeached or
                  questioned in any Court or Place out of Parliament."

   Tennev v. Brandhov , 341 U.S. 367, 372 (1951).

          As a result of the English experience, "[f]reedom of speech and action in the legislature

   was taken as a matter of course" by the Founders, and reflected in the Speech or Debate Clause

   of the Constitution. Id. The Speech or Debate Clause was intended by the Founders

                  to insure that the legislative function the Constitution allocates to
                  Congress may be performed independentlv.

                  [T]he "central role" of the Clause is to "prevent intimidation of
                  legislators by the Executive and accountability before a possibly
                  hostile judiciary .... "




                                                     6



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Eastland, 421 U.S. at 502 (emphasis added) (guoting Gravel, 408 U.S. at 617). 8 "In the

American governmental structure the clause serves the additional function of reinforcing the

separation of powers so deliberately established by the Founders." Johnson, 383 U.S. at 178.

       "[T]he guarantees ofth[e Speech or Debate] Clause are vitally important to our system of

government and therefore are entitled to be treated by the courts with the sensitivity that such

important values require." Bel toski . Meanor, 442 U.S. 500, 506 (1979). Accordingly, the

Supreme Court has "[w]ithout exception ... read the Speech or Debate Clause broadly to

effectuate its purposes." Eastland, 421 U.S. at 501. 9

       The Speech or Debate privilege, as it has been construed by the Supreme Court and the

lower courts, has two broad aspects. First, the clause provides immunity from lawsuits for all

actions "within the 'legislative sphere,' ... even though the[] conduct, if performed in other than

legislative contexts, would in itself be unconstitutional or otherwise contrary to criminal or civil

statutes." McMillan, 412 U.S. at 312-13 (guoting Gravel, 408 U.S. at 624-25). This legislative

immunity extends to civil suits as well as criminal prosecutions. Jo



              See also Eastland, 421 U.S. at 510 n.16 ("The speech or debate protection provides
an absolute immunity from judicial interference."); U.S. v. Brewster, 408 U.S. 501, 507 (1972);
Johnson, 383 U.S. at 178-82; Tenney, 341 U.S. at 373.
       9
               See also McMillan, 412 U.S. at 311; Gravel, 408 U.S. at 618; Johnson, 383 U.S. at
179; Kilbourn, 103 U.S. at 204.

        Jo      Civil Suits: Eastland, 421 U.S. 491 (dismissing suit to enjoin Senate committee
investigation); McMillan, 412 U.S. 306 (dismissing as against House committee Members suit to
enjoin preparation and publication of committee report); Dombrowski v. Eastland, 387 U.S. 82
( 1967) (dismissing as against Senate committee Members civil conspiracy claim relating to their
receipt of documents); Kilbourn, 103 U.S. 168 (dismissing trespass action against House Members).

       Criminal Prosecutions: Johnson, 383 U.S. 169 (reversing conspiracy conviction based in part
                                                                                   (continued ... )

                                                  7



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        Second, the Speech or Debate Clause provides a testimonial privilege. Gravel, 408 U.S.

606. This aspect of the privilege operates to protect those to whom it applies from being

compelled to give testimony as to privileged matters, 11 and from being compelled to produce

privileged documents. 12

       The Supreme Court has drawn no distinctions between the immunity from suit and the

testimonial aspects of the privilege. Rather, it has stated unequivocally that when the Speech or

Debate privilege applies, it is "absolute."

                     The question to be resolved is whether the actions of the petitioners
                     fall within the "sphere of legitimate legislative activity." If they do,
                     the petitioners "shall not be questioned in any other Place" about
                     those activities since th prohibitions of the Speecbor Debate
                     Clause are absolute.




        10
             continued)
             ( ...

on Speech or Debate evidence); U.S. v. Helstoski, 442 U.S. 477 (1979) (excluding evidence of
legislative acts in criminal prosecution of House Member); Brewster, 408 U.S. at 512 ("[A] Member
of Congress may be prosecuted under a criminal statute provided that the Government's case does
not rely on legislative acts or the motivation for legislative acts.").
        11
               See, u,, Dennis v. Sparks, 449 U.S. 24, 30 (1980) (dicta); Gravel, 408 U.S. at 615-
16; Miller v. Transamerican Press. Inc., 709 F.2d 524, 528-29 (9th Cir. 1983) (denying motion to
compel testimony from former congressman).
        12
               See, u,, Maddo, v. Williams, 855 F. Supp. 406, 413 (D.D.C. 1994), affd sub nom.
Brown & Williamson Tobacco orp. v. Williams, 62 F.3d 408 (D.C. Cir. 1995); Minpeco. S.A. v.
C nticommodity Services, 844 F.2d 856, 859-61 (D.C. Cir. 1988) (quashing document subpoena to
congressional subcommittee); McSurely v. McClellan, 553 F.2d 1277, 1296-97 (D.C. Cir. 1976) (en
bane); Dombrowski v. Burbank, 358 F.2d 821, 823-24 (D.C. Cir. 1966) (dicta), aff'd in part and r· v'd
in part, 387 U.S. 82 (1967); Hearst v. Black, 87 F.2d 68, 71-72 (D.C. Cir. 1936); United
Transportation Union v. pringfield Tenninal Ry. o., 132 F.R.D. 4, 5-7 (D. Maine 1990) (quashing
document subpoena to Senator); U.S. · otbaJJ League v. Nati nal otbalJ League, 1986-1 Trade
Cas. (CCH) if 67,123 (S.D.N.Y. 1986); U.S. v. Peoples T mpJe of the Disciples of Christ, 515 F.
Supp. 246, 248-49 (D.D.C. 1981) (quashing document subpoena to congressional committee).

                                                        8



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Eastland, 421 U.S. at 501 (emphasis added). 13

        B.

        As noted above, the Speech or Debate privilege applies to all activities of a Member of

Congress that are within the "legislative sphere." Activities within the legislative sphere include

more than words spoken in debate. The cases "have plainly not taken a literalistic approach in

applying the privilege .... Committee reports, resolutions and the act of voting are equally

covered." Gravel, 408 U.S. at 617. Similarly, committee investigations and hearings have also

long been held to be activities within the legislative sphere. See,~' Eastland, 421 U.S. 491.

        The investigative staff reports addressing the SBIS program are clearly legislative in

nature. They were prepared by Committee staffers at the request of the Subcommittee to assist

the Committee in carrying out its principal legislative responsibility, namely "reaching decisions

on specific funding levels" with respect to the SBIS program. H.R. Rep. 104-870, at 12 (1996).

Accordingly, whether this case is viewed as the functional equivalent of a subpoena duces tecum,

or an attempt by plaintiffs to obtain the testimony of the investigative staff (in the form of the

written advice the staff provided to the Committee), it must fall under the testimonial privilege

prong of the Speech or Debate Clause. See,~' Gravel, 408 U.S. at 618 (congressional aide

cannot be compelled to testify about legislative matters); Maddox v. Williams, 855 F. Supp. at


        13
                Eastland repeatedly reaffirmed the absoluteness of the privilege. See 421 U.S. at 503
("The applicability of the Clause to private civil actions is supported by the absoluteness of the term
'shall not be questioned,' and the sweep of the term 'in any other Place."'); id. at 507 ("[T]he Speech
or Debate Clause provides complete immunity for the Members .... "); id. at 509-10 ("[Respondents'
argument] ignores the absolute nature of the speech or debate protection and our cases which have
broadly construed that protection"); id. at 510 n.16 (" [B]alancing plays no part. The speech or debate
protection provides an absolute immunity from judicial interference."). See also Barr v. Matteo, 360
U.S. 564, 569 (1959) ("[T]he Constitution itself gives an absolute privilege to members of both
Houses of Congress in respect to any speech, debate, vote, report, or action done in session.").

                                                  9



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413 (" [T]he Speech or Debate Clause stands as an insuperable obstacle to [a party's] attempt to

acquire by compulsion documents or copies of documents in the possession of the Congress."),

aff d sub nom. Brown & Williams

cited supra at note 12.

       Just as clearly, the Subcommittee's decision not to make the investigative staff reports

public constitutes a "legislative activity." Accordingly, ifthe case is viewed as a challenge to the

Subcommittee's decision not to release the documents, it also fails because the Committee and

Chairman Livingston are immune from suit under the Speech or Debate Clause. See cases cited

supra at note 10.

       For all these reasons, plaintiffs' claim against the Committee and Chairman Livingston is

barred by the Speech or Debate Clause of the Constitution.

II.    Plaintiffs' Claim Is Barred by the Rulemaking and Journal Clauses of the
       Constitution Because the Documents Sought Are Deemed Confidential by House
       Rules.

       The Rules of the House provide an independent basis for protecting from disclosure the

records sought by plaintiffs here.

       The House is authorized under the Rulemaking Clause of the Constitution to "determine

the Rules of its Proceedings." U.S. Const., art, I,§ 5, cl. 2. The Rulemaking Clause is "a broad



Ass'n, 515 F.2d 1341, 1343 (D.C. Cir. 1975), cert. denied, 423 U.S. 1051 (1976), that sits "[a]t

the very core of our constitutional separation of powers." Walker v. Jones, 733 F.2d 923, 938

(D.C. Cir.) (MacKinnon, J., concurring in part and dissenting in part), cert. denied, 469 U.S.

1036 (1984).


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        The Rulemaking Clause, coupled with the Journal Clause -       U.S. Const., art. I,§ 5, cl. 3

("[e]ach House shall keep a Journal of its Proceedings, and from time to time publish the same,

excepting such Parts as may in their Judgment require Secrecy.") - clearly provides the House

with the constitutional authority to keep its records confidential when it chooses. As the Court of

Appeals for this Circuit has held, "Congress has undoubted authority to keep its records secret,

authority rooted in the Constitution, longstanding practice, and current Congressional rules."

Goland v. CIA, 607 F.2d 339, 346 (D.C. Cir. 1978), cert. denied, 445 U.S. 927 (1980).

        Here, the House exercised its constitutional authority to protect the confidentiality of

information provided to the Committee by its investigative staff. The House delegated to the

Committee authority to adopt rules not inconsistent with the Rules of the House. House Rule

XI.2(a). The Committee, in turn, adopted Section 8 which, as noted above, provides that "[a]ny

information obtained by such [investigative] staff ... shall not be released for publication until

the subcommittee so determines." The confidential nature of investigative staff reports is

highlighted by the fact that -   absent an affirmative decision of the subcommittee -   they are not

even available to Members of the Committee, other than the Chairman, the Ranking Minority

Member, and the Members of the subcommittee for whom the information was prepared. 14

       In short, pursuant to an unquestionably valid exercise of its rulemaking powers, the



        14
                 Section 8 is not, however, unique. The House has, by rule, determined to keep other
records confidential. See, ~' House Rule X.4( e)(2)(F) (requiring that information received by, and
activities, reports and proceedings of, House Committee on Standards of Official Conduct be kept
confidential); House Rule XXXVI (requiring that certain archived records be kept confidential for
certain periods of time); Rule 22, Rules of the Committee on National Security (105th Cong.) (all
classified information deemed to have been received in executive session); Rule 20, Rules of the
Committee on International Relations (105 1h Cong.) (prohibiting divulgence to unauthorized persons
of classified information).

                                                 11



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House has given confidential treatment to the Committee documents at issue here. Accordingly,

granting plaintiffs' claims would unconstitutionally intrude upon the rulemaking powers of the

House and, for this additional reason, the complaint must be dismissed. U.S. v. Ballin, 144 U.S.

1, 5 (1892) (House Rules may not ignore constitutional restraints or violate fundamental rights,

but are otherwise "absolute and beyond the challenge of any other body or tribunal. "). 15




        The sole articulated basis for plaintiffs' claim is a supposed common law right of access

to public records. Complaint at~ 23 (citing Schwartz v. U.. Dept. of Justice, 435 F. Supp. 1203

(D.D.C. 1977)). In a very brief opinion, the District Court in Schwartz -     relying on U.S. v.

Mitchell, 551F.2d1252 (D.C. Cir. 1976), for the proposition that such a common law right was

generally recognized in this circuit -   held that "Congress is subject to the common law rule

which guarantees the public a right to inspect and copy public records." 435 F. Supp. at 1204.

        However, contrary to the suggestion in plaintiffs' Complaint, Schwartz was not affirmed

by the D.C. Circuit. Moreover, Schwartz is a complete anomaly which this Court can and should

disregard. To assist the Court in understanding why it should disregard Schwartz, we describe

what happened in that case in some detail. The following discussion is based on pleadings filed


        15
                 In In re Grand Juzy, 821 F.2d 946, 958-59 (3rd Cir. 1987), cert. denied, 484 U.S. 1025
(1988), the Third Circuit held that "confidential deliberative communications" of state legislators
might be protected by a common law privilege analogous to the "deliberative process privilege"
applicable to executive branch officials. The Third Circuit said this privilege would apply "to
confidential deliberations of law or policymaking, reflecting opinions, recommendations or advice."
Id. at 959. Were this Court to accede to plaintiffs' claim here, the effect would be to provide less
protection to confidential communications of Members of Congress (to whom the Speech or Debate,
Rulemaking and Journal Clauses of the Constitution apply) than to confidential communications of
state legislators (to whom none of those constitutional precepts apply). We do not believe the Court
would intend, or should countenance, this result.

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in the Schwartz case which we obtained from the National Records Center in Suitland, Maryland,

and copies of which are attached collectively as Exhibit C.

       Mr. Schwartz was a federal prison inmate, acting prose, when he commenced a FOIA

action in the District Court against the Department of Justice and Peter Rodino, then Chairman of

the House Judiciary Committee. Mr. Schwartz sought copies of documents related to alleged

Justice Department and Judiciary Committee investigations of a federal prosecutor named Peter

Schlam. Action for Declaratory and Injunctive Relief (June 15, 1977).

       Chairman Rodino, represented by the U.S. Attorney, initially moved to dismiss the

complaint against him solely on the ground that Congress is exempt from FOIA. Motion to

Dismiss Defendant Peter A. Rodino, Jr. (July 11, 1977). In response, Mr. Schwartz filed an

affidavit in which he referred to U.S. v. Mitchell and asserted that he was suing Chairman

Rodino under a common law right of access to public records. Affidavit in Opposition (July 29,

1997). Mr. Schwartz did not amend his complaint. On behalf of Chairman Rodino, the U.S.

Attorney then filed a short supplemental memorandum which argued only that the common law

right of access was limited under Mitchell to certain judicial records. Defendants' Supplemental

Memorandum ... in Support of Defendants' Motion to Dismiss (Aug. 11, 1977). The U.S.

Attorney did not assert any constitutional defenses to Mr. Schwartz's "new" claim, and did not

note that the Supreme Court had already granted certiorari in Mitchell. 16 In this procedural

context, the District Court denied Chairman Rodino's motion to dismiss in the opinion reported

at 435 F. Supp. 1203. See Order (Aug. 30, 1977).



       16
            As discussed below, Mitchell was reversed by the Supreme Court in Nixon v. Warner
Communi ations. [nc., 435 U.S. 589 (1978).

                                                13



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        Subsequently, Chairman Rodino moved for summary judgment on the ground that the

Judiciary Committee had not investigated Peter Schlam and neither he nor the Judiciary

Committee had any responsive documents. Motion to Dismiss or, in the Alternative, for

Summary Judgment (Sept.30, 1977). Mr. Schwartz responded by questioning the absence of any

records. Plaintiffs Opposition (Oct. 6, 1977). Shortly thereafter, Chairman Rodino discovered

certain arguably responsive records, some of which he produced to Mr. Schwartz (including

copies of newspaper clippings, Congressional Record excerpts, a federal criminal indictment, and

other "public domain" documents), and others of which he withheld (including staff notes and

internal memoranda). Supplement to Motion to Dismiss or, in the Alternative, for Summary

Judgment (Dec. 7, 1977). The District Court then granted Chairman Rodina's motion for

summary judgment on the ground that "all available records have been turned over to the

plaintiff." Memorandum Order at 1 (Dec. 13, 1997).

       After the claim against Chairman Rodino had been dismissed, the District Court also

granted the Justice Department's motion for summary judgment on the remaining FOIA claim

against the Department. Memorandum Order (Feb. 9, 1978). Mr. Schwartz then appealed this

ruling - and only this ruling- and the D.C. Circuit affirmed on May 9, 1979. See Notice of

Appeal (March 3, 1978); Appellant's Brief (July 18, 1978); Judgment (May 9, 1979) (affirming

"on the basis of the Memorandum Order, filed February 9, 1978"). There was no appeal/ram the

District Court's August 30, 1977 published decision. 17



       17
                The Federal Reporter incorrectly reports that the Court of Appeals affirmed the
District Court's August 30, 1977 decision which, as noted above, was published at 435 F. Supp.
1203. See Schwartz v. U.S., 595 F.2d 888 (D.C. Cir. 1979) (unpublished table decision). We are
taking steps to notify West Publishing and Lexis/Nexis of this error.

                                                14



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        Against this backdrop, the Court should disregard the District Court's Schwartz opinion

for the following reasons.

        First, this Court need not follow Schwartz because that decision was not affirmed by the

D.C. Circuit, contrary to the suggestion in plaintiffs' Complaint. Complaint at~ 23. As noted

above, Mr. Schwartz only appealed, and the D.C. Circuit only affirmed, the District Court's

February 7, 1979 ruling on the Justice Department's summary judgment motion.

        Second, Schwartz was wrongly decided to the extent it purported to extend a common

law right of access to Congressional documents that are protected from production by the Speech

or Debate Clause and/or the Rulemaking and Journal Clauses of the Constitution. As noted

above, those constitutional defenses were not advanced, and therefore the Schwartz Court did not

consider them, at the time it ruled that the common law rule applies to Congress. 18

        Third, in the more than 20 years since Schwartz was decided, no other court -      within or

without this circuit -   has recognized a common law right of access to federal legislative records,

has compelled the production of federal legislative records in reliance on such a common law

right, or has cited or relied upon Schwartz in a case involving legislative records.

        Finally, and perhaps most importantly, Schwartz is undercut by the Supreme Court's later

decision in Nixon v. Warner Communications which reversed the D.C. Circuit's decision in U.S.

v. Mitchell. The documents at issue in that case were White House audiotapes that had been

admitted as evidence in the Watergate trials and played in open court, and portions of which had



        18
                Although it is not entirely clear, the District Court's December 13, 1977 order can be
read as accepting Chairman Rodino's argument that internal Judiciary Committee documents and
files did not need to be produced.

                                                 15



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been transcribed and published in the press. Broadcasters requested court permission to copy

and rebroadcast the tapes. The D.C. Circuit held that broadcasters' common law right to the

tapes outweighed any hypothetical risks to the Watergate defendants. 551 F .2d at 1261. During

the time this issue was before the courts, Congress passed the Presidential Recordings Act

governing disclosure of Presidential audiotapes, but the D.C. Circuit did not examine in depth the

application of the Act to the tapes or the Act's relationship to the common law right of access.

       The Supreme Court assumed, without expressly so holding, that there is a common law

right of access to public documents. 435 U.S. at 597-99. However, it held that the existence of

the Presidential Recordings Act made that common law right inapplicable to the White House

audiotapes. Id. at 607. More broadly, the Court held that where "Congress has created an

administrative procedure for processing and releasing [documents] to the public," that statutory

scheme controls and the common law right of access does not apply. Id. at 603.

       This holding is directly applicable here because the House has established by rule a

scheme for disclosing records and information to the public. See, u.,, House Rules XI.2(e)

(delineating type of information committees shall make public); XI.2(1) (requiring committees to

file reports and other matters with House); XIII.2 (requiring committee reports to be delivered to,

and printed by, Clerk); XXXVI (preservation and availability of non-current House records).

This rule-based scheme is the legal equivalent of other statutes that govern access to government

records, such as the Presidential Recording Act and FOIA. 19 And like the Presidential Recording



       19
               House Rules are judicially cognizable and have the force of law. See, u_,, Yellin v.
U.S., 374 U.S. 109, 114 (1963); hape fThings t Com · v. aunty of Kane, 588 F. Supp. 1192,
1993 (N.D. Ill. 1984);Randolph v. Willis, 220 F. Supp. 355, 358 (S.D. Cal. 1963).

                                                16



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Act in Nixon, the existence of these House rules renders the common law right of access

inapplicable here.

        For all these reasons, plaintiffs have failed to state a claim.

IV.     Plaintiffs Are Not Entitled to the Investigative Staff Reports Because Those
        Documents Are Not "Public Records" and the Committee's Interest in Keeping the
        Documents Confidential Outweighs the Public Interest in Disclosure.

        Finally, even if plaintiffs were correct that the common law doctrine applies to House

records, and even if the Court were to reject the constitutional defenses articulated above,

plaintiffs are still not entitled to the investigative staff reports.

        The Court of Appeals for this circuit has recognized a general common law right of

access to public records in other contexts grounded in "the public's interest in keeping a

'watchful eye on the workings of public agencies."' U.S. v. El-Sayegh, 131F.3d158, 161 (D.C.




Commission, 17 F.3d 1446, 1451-52 (D.C. Cir. 1994) (executive agency records). This common

law right, however, is not absolute. First, the right applies only to "public records." Id. Second,

if the document sought is a "public record," then the court must "balance the government's

interest in keeping the document secret against the public's interest in disclosure." Id. at 1451-52.

Plaintiffs can surmount neither of these hurdles.

        1. "[A]s a matter of federal common law," this Circuit has defined "public record" as a

"government document created and kept for the purpose of memorializing or recording an

official action, decision, statement, or other matter of legal significance, broadly conceived."

Washington Legal Foundation v. 0.S. Sentencing Commiss.ion, 89 F.3d 897, 905 (D.C. Cir.

1996). A "public record," however, does "not encompass the preliminary materials upon which

                                                    17



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an official relied in making a decision or other writings incidental to the decision itself." Id. In

Washington Legal foundation, for example, the plaintiff sought access to "internal documents

and memoranda" of the Advisory Working Group of the Sentencing Commission, which had

been established to "develop and recommend" sentencing guidelines to the Commission. Id. at

899. The Court found that the documents sought were not public records because they were

either "preliminary" or "merely incidental" to the official report written and made public by the

Advisory Group. 20

        And so it is here. Plaintiffs' claim fails because the investigative staff reports are not

"public records." As discussed above, the responsibility of the Committee's investigative staff is

to conduct studies and examinations of matters within the Committee's jurisdiction in order to

assist the Committee in making legislative decisions about such matters. Obviously, the

Committee can consider, rely on, ignore, or reject information provided to it by the investigative

staff to whatever extent the Committee chooses. As such, the investigative staff reports are

clearly "preliminary or merely incidental to" the final decisions made by the Committee. The

investigative staff reports are not final decisions themselves, nor do they represent any official

action of the Committee. 21



        20
                See also El-Sayegh, 131 F.3d at 162 (hallmark of a public record is that it
memorializes an official decision or final action of the governmental body; in holding that press had
no common law right to access to a rejected plea agreement, Court stated that common law right of
access "assumes a judicial decision. If none occurs, documents are just documents; with nothing
judicial to record, there are no judicial records.").
       21
               Indeed, the Complaint itself appears to acknowledge as much in asserting that the
reports sought were "delivered to" Members of the Committee "for their consideration," Complaint
at 7, and were "relied" upon by the Committee in making decisions regarding the SBIS program.
Id. at~ 20.

                                                 18



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            2. Even if the documents sought were deemed to be "public records," plaintiffs would

     still be unable to demonstrate that the public interest in disclosure outweighs the Committee's

     interest in non-disclosure. Given the nature of the investigative staffs role in assisting the

     Committee, the type of information contained in the investigative staff reports, Section 8 of the

     Committee's Rules mandating confidentiality for such reports, and the lack of any clear benefit

     that would accrue to the public (or to plaintiffs for that matter) from the release of the reports,

     plaintiffs' "public interest" argument must fail as a matter of law.

            For these reasons, plaintiffs have failed to state a claim upon which relief may be granted.

                                                 Conclusion

            For all the reasons given, defendants' Motion to Dismiss should be granted.


                                                    Respectfully submitted,

                                                    GERALDINE R. GENNET
                                                    General Counsel

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                                                    Counsel for Defendants Committee on
                                                    Appropriations and the Honorable Bob Livingston

     March 16, 1998



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                                        CERTIFICATE OF SERVICE


             I certify that on March 16, 1998, I served one copy of the foregoing Defendants' Motion

      to Dismiss by first-class mail, postage prepaid, on:


                     Joel Z. Robinson, Esq.
                     Law Offices of Joel Z. Robinson & Co.
                     67 Wall Street
                     New York, NY 10005-3101




                                                             I   I
                                                    Kerry W. Kircher




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


                                               )
 PENTAGEN TECHNOLOGIES                         )
  INTERNATIONAL, et al.,                       )
                                               )
                        Plaintiffs,            )
                                               ) Case No. 1:98CV00047 (GK)
        v.                                     )
                                               )              FILE
 COMMITTEE ON APPROPRIATIONS                   )
  OF THE U.S. HOUSE OF                         )           MAR 1 71998                a               :..;:::   :s
  REPRESENTATIVES, et al.,                     )                                      (ii~                      !;
                                               )     NANCY MAYER·WHITIINGTON, CLERK   ;; ~            ~         -
                                                           U.S. DISTRICT COURT                ~        rn       -..I
                        Defendants.            )                                      0
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        On page 15 of the Motion to Dismiss filed on March 16, 1998, by defendants Committee

 on Appropriations of the U.S. House of Representatives and Chairman Bob Livingston, the third

 sentence (lines 5-6) incorrectly reads" ... the District Court's February 7, 1979 ruling ... ." That

 sentence should read" ... the District Court's February 9, 1978 ruling ... ."


                                               Respectfully submitted,

                                               GERALDINE R. GENNET
                                               General Counsel

                                              KERRY W. KIR HER
                                               eputy eneral otmsel

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                                    Washington, D.C. 20515
                                    202/225-9700

                                   Counsel for Defendants Committee on
                                   Appropriations and Chairman Bob Livingston

 March 17, 1998




                                      2




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                                  CERTIFI ATE OF SERVI E


        I certify that on March 17, 1998, I served one copy of the foregoing Errata by first-class

 mail, postage prepaid, on:


                Joel Z. Robinson, Esq.
                Law Offices of Joel Z. Robinson & Co.
                67 Wall Street
                New York, NY 10005-3101




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


                                                )
 PENTAGEN TECHNOLOGIES                          )
  INTERNATIONAL LTD., et al.,                   )
                                                )
                        Plaintiffs,             )
                                                )
         v.                                     ) Case No. 1:98cv00047 (GK)
                                                )
 COMMITTEE ON APPROPRIATIONS                    )
  OF THE U.S. HOUSE OF                          )
                                                                                                  I l E i:>
  REPRESENTATIVES, et al. ,                     )                                           APR     m   6 1998
                                                )
                                                                                        CLERK Us Ois ,._
                        Defendants.             )                                         DJSTRICT OF COIJJMrliA
                                                                                                      :_tHC'": : ''' '
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                       DEFENDANTS' REPLY TO PLAINTIFFS'
                  OPPOSITION TO DEFENDANTS' MOTION TO DISMISS

        This case asks whether the House Committee on Appropriations ("Committee") can be

 forced to release internal reports that are confidential under Committee rules and were prepared

 by the Committee's investigative staff to assist it in carrying out its core legislative function of

 deciding on appropriate funding levels for government programs. The answer is clearly no

 because (i) plaintiffs' claim is constitutionally barred by the Speech or Debate and the

 Rulemaking and Journal Clauses of the Constitution; (ii) Schwartz v. U.S. Department of Justice,

 435 F. Supp. 1203 (D.D.C. 1977), the sole basis for plaintiffs' supposed common law right of

 access to congressional records is not good law; and (iii) in any event, the reports sought are not

 "public records." See Defendants' Motion to Dismiss (March 16, 1998).

        Plaintiffs have filed an opposition to our motion which demonstrates convincingly that

 their claim is baseless and should be dismissed immediately. See Plaintiffs' Memo in Opposition




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 to Defendants' Motion to Dismiss (March 27, 1998) ("Opposition"). We now reply briefly to

 plaintiffs' arguments.

                                               Discussion

 I.      The Speech or Debate lause Most Assuredly Does Bar Plaintiffs' laim.

         We have already described the history, purpose and scope of the Speech or Debate

 Clause, and have explained why it bars plaintiffs' claim here. Motion to Dismiss at 5-10. Given

 the "absoluteness" of the Speech or Debate Clause privilege, Eastland v.        nited States

 Servicemen's F1.:md, 421 U.S. 491, 501, 503, 507, 509-10, 510 n.16 (1975), and its self-evident

 applicability to plaintiffs' suit against the Committee and Chairman Livingston, it is not

 surprising that plaintiffs' efforts to refute that constitutional defense fall woefully short of the

 mark.

         Plaintiffs argue first that they are "not seek[ing] direct 'legislative' material." Opposition

 at 3. Whatever this means, it does not alter the fact that what they are seeking -     internal staff

 reports designed to assist the Committee in carrying out its legislative responsibility to decide on

 funding levels for a Department of Defense program -        is unquestionably "an integral part of the

 deliberative and communicative processes by which Members participate in committee and

 House proceedings with respect to the consideration and passage or rejection of proposed

 legislation." Eastland, 421 U.S. at 504. As such, the reports are clearly legislative in nature and,

 therefore, protected from production by the Speech or Debate Clause privilege. Motion to

 Dismiss at 9-10.

         Plaintiffs also quote out of context language from U.S. v. American Tel phone &

 Telegraph Co., 567 F.2d 121, 129 (D.C. Cir. 1977)- "the [Speech or Debate] Clause does not


                                                    2




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 and was not intended to immunize congressional investigatory actions from judicial review" -

 for the proposition that the Speech or Debate Clause does not apply here. Opposition at 4.

 However, AT&T is not on point and only stands, at most, for the proposition that Congress may

 not use the Speech or Debate Clause offensively to force compliance with a congressional

 subpoena.

        In that case, a congressional committee issued a subpoena to AT&T for phone records,

 and the Justice Department sued AT&T (not the committee) to enjoin the company from

 responding on the ground that compliance with the subpoena might harm the national security.

 The committee, through its chairman, intervened to assert its interest in having AT&T comply

 with the subpoena. Each branch of the government claimed that its determination of the

 propriety of its acts was conclusive on the Court. In particular, the committee argued that

 judicial interference with its subpoena was barred by the Speech or Debate Clause. Id. at 128.

        The Court rejected the committee's argument noting that the Speech or Debate Clause

 was intended to protect legislators from executive and judicial interference, but did not prevent a

 court from adjudicating a "challenge to congressional investigatory activity ... raised as a

 defense" (by, for example, the recipient of a congressional subpoena). Id. at 129 (emphasis

 added). In the AT&T case, no one sought to question a member of Congress or compel the

 production of documents from Congress, and the Court emphasized that

                no member of the Subcommittee ... has been made a defendant in
                a judicial proceeding .... What the cases establish is that the
                immunity from judicial inquiry afforded by the Speech or Debate
                Clause is personal to members of Congress. Where they are not
                harassed by personal suit against them, the clause cannot be
                invoked to immunize the congressional subpoena from judicial
                scrutiny.


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 Id. at 130. 1

         Here, obviously, the Committee and its chairman are not attempting to use the Speech or

 Debate Clause to force compliance with a congressional subpoena. Moreover, unlike in AT&T,

 the Committee and its chairman have been named as defendants and are asserting the

 constitutional privilege as a defensive bar to the claims asserted against them, exactly as it was

 intended to be used. Motion to Dismiss at 7-8.

 II.     The Rulemaking and Journal Clauses Also Bar Plaintiffs'      laim.

         We argued secondly that the Committee had chosen, by validly adopted rules, to keep

 confidential its investigative staff reports (such as those sought here), and that the Committee had

 the constitutional authority under the Rulemaking and Journal Clauses of the Constitution to do

 precisely that. Motion to Dismiss at 10-12.

         Plaintiffs do not, because they cannot, dispute that the Committee's own rules permit it to

 decline to produce the records sought here. Instead, plaintiffs argue that the Rulemaking Clause

 "does not alter [sic] judicial responsibility to say what rules Congress cannot adopt because of

 constitutional infirmity." Opposition at 5. However, even if that statement is true, it is

 irrelevant. Plaintiffs have not asserted that the Committee has acted unconstitutionally or that its

 rules are unconstitutional. 2 Plaintiffs claim only that they have a common law right to inspect




                 Thus, for example, if a congressional committee sought enforcement of a
 congressional subpoena by means of a prosecution for contempt of Congress, the witness would be
 entitled to contest the validity of the subpoena and challenge the committee's jurisdiction, and the
 Speech or Debate Clause would not prevent the witness from defending himself by raising these
 issues. See,~. Barenblatt v. U.S., 360 U.S. 109 (1959); Watkins v. U.S., 354 U.S. 178 (1957).

                 We note that no Court in this nation's history has ever struck down a House rule of
 proceeding.

                                                  4




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 and copy Committee records, a right that, even if it did exist, would have to yield to the House's

 constitutional authority to keep its records secret. Cf. Goland v. CIA, 607 F.2d 339, 346 (D.C.

 Cir. 1978), cert. denied, 445 U.S. 927 (1980) ("Congress has undoubted authority to keep its

 records secret, authority rooted in the Constitution, longstanding practice, and current

 Congressional rules.").

        Plaintiffs also suggest that Section 8 of the Committee's rules -   which says that

 investigative reports "shall not be released for publication until the subcommittee so determines"

 - only prevents the Committee from "publishing" the reports, and does not speak to the issue of

 "inspection and copying." Opposition at 5-7. This is silly. The intent of Section 8 is plain: to

 prohibit investigative staff reports from being made public unless the Committee itself

 affirmatively decides to make them public (as it has not so decided here). That certainly is how

 the Committee construes the rule. In any event, even ifthe meaning of Section 8 were unclear,

 that would not help plaintiffs because ambiguous congressional rules are non-justiciable:

                [T]he Rulemaking Clause of Article I clearly reserves to each
                House of the Congress the authority to make its own rules, and
                judicial interpretation of an ambiguous House Rule runs the risk of
                the court intruding into the sphere of influence reserved to the
                legislative branch under the Constitution .... Where ... a court
                cannot be confident that its interpretation is correct, there is too
                great a chance that it will interpret the Rule differently than would
                the Congress itself; in that circumstance, the court would
                effectively be making the Rules--a power that the Rulemaking
                Clause reserves to each house alone.

  U.S. v. Rostenkowski, 59 F.3d 1291, 1306-07 (D.C. Cir. 1995).




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 III.    Schwartz v. U.S. D pt. of Justice Is Not a Sound Basis for Plaintiffs' Common Law
         Claim.

         We explained at some length in our motion that Schwartz v. U.S. Dept of Justice, 435 F.

 Supp. 1203 (D.D.C. 1977), the sole articulated basis for plaintiffs' claim, is not good law and

 should not be followed by this Court. Motion to Dismiss at 12-1 7. Plaintiffs are unable to

 acknowledge any of the flaws in that decision.

         Plaintiffs first assert, remarkably, that Schwartz was "affirmed by the Court of Appeals."

 Opposition at 7. This is patently untrue, Motion to Dismiss at 12-14, regardless of what sorts of

 intellectual contortions plaintiffs are prepared to engage in on this point. The fact remains that

 no party appealed the Schwartz Court's August 30, 1977 published decision, and the Court of

 Appeals neither considered nor ruled on that decision. Schwartz, therefore, is not binding on this

 Court. 3 See Brookens v. White, 795 F.2d 178 (D.C. Cir. 1986) (appellant's failure to specify in

 his notice of appeal a particular order "by name ... or otherwise to evidence his intent to pursue

 an appeal from that order, renders the notice [of appeal] inapplicable to th[ at] order"). 4

         Plaintiffs say secondly, citing the two Washington Legal Foundation cases, that the D.C.

 Circuit subsequently approved the District Court's published opinion in Schwartz. Opposition at

 9-10. This is also wrong. The Washington LegaJ Foundati n cases involved the applicability of


        3
                 West Publishing has already corrected its electronic database to reflect (i) that the
 Court of Appeals' decision in the Schwartz case, 595 F.2d 888 (D.C. Cir. 1979) (unpublished table
 decision), only affirmed the District Court's unpublished February 9, 1978 order, and (ii) that there
 was no appeal from the District Court's August 30, 1977 published decision. See Attachment.
 Lexis/Nexis has not yet corrected its database, but we expect that it will do so soon.
        4
                 In the Schwartz case, not only did the plaintiff, Mr. Schwartz, not evidence an intent
 to appeal from the District Court's August 30, 1977 published decision, he would have had no reason
 to appeal that order since he had prevailed in that ruling. Only Chairman Rodino would have had
 reason to appeal the August 30, 1977 published decision, and he obviously did not do so.

                                                    6




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 the common law right of access to the U.S. Sentencing Commission (an executive branch

 agency), not to Congress. Moreover, although both cases cited Schwartz, neither decision

 approved of Schwartz's holding that the common law right of access applies to Congress. In

 Washington Legal Foundation v. U.S. Sentencing ommission, 17 F.3d 1446, 1451 (D.C. Cir.

 1994), the Court only cited Schwartz in connection with the unremarkable proposition that "the

 common law right extends only to 'public records,' not to every document contained in

 government files." In Washington Legal Foundation v. U.S. Sentencing C mrn ission, 89 F.3d

 897, 903 (D.C. Cir. 1996), the Court only mentioned Schwartz for the purpose of contrasting it

 with other cases that had recognized a common law right of access to judicial records. In short,

 the correctness of Schwartz's holding that a common law right of access applies to Congress was

 simply not an issue in the Washington Lega l Foundation cases, and those decisions cannot be

 read as an endorsement of that holding. 5

        Finally, plaintiffs deny that the House rules that deal with the disclosure ofrecords and

 information to the public render the common law right of access inapplicable to Congress

 because they are not like FOIA or the Presidential Records Act. Opposition at 11-12. While we

 acknowledge that the House rules are not identical to FOIA or the Presidential Records Act, they

 do constitute a scheme for disclosing records and information to the public that renders the

 common law right of access inapplicable to Congress under Ni on v. Warner Communications.




        5
                 Plaintiffs point out correctly that both WashingtonLegaJ Foundation cases "noted
 that Schwartz had been affirmed." Opposition at 9. However, both decisions were obviously
 unaware that the Court of Appeals had not in fact affirmed the District Court's published opinion in
 Schwartz and, in all likelihood, they were simply reiterating erroneous information obtained from
 West Publishing or Lexis/Nexis.

                                                  7




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 Inc., 435 U.S. 589, 603 (1978). While plaintiffs may not like that conclusion, their quarrel in this

 regard is with the Supreme Court's holding, not with the Committee or its chairman.

 IV.     The taff Report Ar Not Publ ic Records.

         We argued finally that even if plaintiffs were correct that the common law doctrine

 applies to House records, and even if the Court were to reject our constitutional defenses,

 plaintiffs would still not be entitled to the investigative staff reports because they are not "public

 records." Motion to Dismiss at 17-19. Plaintiffs dispute this conclusion on no less than six

 meritless grounds. Opposition at 13-17.

         First, attempting to quote Wasbjn1non Legal Foundation, 89 F.3d at 905, plaintiffs say

 that investigative staff reports are "government document[s] created and kept for the purpose of

 memorializing [and recording] an official action, decision[,] statement[,] or other matter of legal

 significance, broadly conceived." Opposition at 13-14. Plaintiffs base this conclusion largely on

 the fact that the Surveys and Investigations Staff is a creature of statute and House rule.

 However, plaintiffs miss the point. The Surveys and Investigations Staff does not produce

 reports of its own volition. It only conducts studies and examinations, and then reports to the

 Committee, when so requested by the Committee. Motion to Dismiss at 3-4. Furthermore, the

 sole purpose of investigative staff reports is to assist the Committee in making appropriate

 decisions about funding levels for government programs and operations, and those reports have

 no independent legal significance. As such, they clearly are not public records because they are

 "preliminary materials" that are "incidental to" official decisions reached by the Committee and

 the House itself. Id. at 17-18.



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         Second, plaintiffs argue that the investigative staff reports are "public records" because

 they are prepared by persons of "competence and objectivity." Opposition at 14-15. This is

 irrelevant. While we agree that the members of the Surveys and Investigations Staff are both

 competent and objective, this has no bearing on whether the staffs written reports to the

 Committee are "public records."

         Third, plaintiffs say that the reports they seek are "'final' reports, not merely 'working

 papers."' Id. at 15. This is a semantic conclusion, unsupported by any legal analysis. Regardless

 of whether an investigative staff report is "final" in the sense that it is the end product of the

 staffs efforts, the point is that such a report lacks independent legal significance because it does

 not reflect the "final decision" of a governmental body - in this case the Committee and the

 House - with the authority to take official action.

         Fourth, plaintiffs say the reports are public records because "there is no other mechanism

 for the release of the material sought." Id. This is, charitably, a lapse in logic. Obviously,

 plaintiffs have no preordained right to the investigative staff reports, and their lack of an

 alternative "mechanism" for obtaining access has no bearing on whether the reports are "public

 records" in the first instance.

         Fifth, plaintiffs say defendants must be wrong because our "argument would result in any

 and all Congressional material being held to be non 'public record' ... " Id. at 16 (emphasis

 omitted). This is incorrect. Under our analysis, many committee reports, House resolutions, and

 the like would constitute "public records" (assuming that the common law right of access




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 otherwise applied). 6

         Plaintiffs argue lastly that the Committee "has effectively acknowledged that the reports

 are 'public records' because it has already released some of the information contained in the

 Reports in question." Id. This is factually and legally inaccurate. The Committee, while

 referring to certain facts contained in the investigative staff reports, has never released the reports

 themselves. Moreover, the Committee's reference to those facts does not in any way constitute

 an "acknowledgment" that the reports are "public records." Indeed, the Committee has

 consistently taken the opposite position, both in this litigation and with plaintiffs informally prior

 to the initiation of this case. Finally, the Committee has the discretion under its own rules to

 release investigative staff reports in whole or in part. Motion to Dismiss at 4. Therefore, even if

 the Committee had released some information from an investigative staff report, that would not

 foreclose the Committee's right to decline to produce the remainder of the report. 7




         6
                Needless to say, these kinds of documents are already available to the public.
         7
                Plaintiffs spend the last five pages of their brief arguing that if the reports they seek
 were public records, their interest in disclosure would outweigh the Committee's interest in non-
 disclosure. Opposition at 17-21. This discussion is purely academic inasmuch as the reports are not
 public records, and plaintiffs are not otherwise entitled to review them. Moreover, the discussion
 greatly exaggerates plaintiffs' interest in obtaining the records, and ignores the Committee's interest
 in maintaining the confidentiality of the reports it receives from its investigative staff. See Motion
 to Dismiss at 4, 19.

                                                   10




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                                          Conclusion

        For all the reasons given above and in our Motion to Dismiss, the Motion to Dismiss

 should be granted.


                                            Respectfully submitted,

                                            GERALDINE R. GENNET
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                                            202/225-9700

                                            Counsel for Defendants Committee on
                                            Appropriations and the Honorable Bob Livingston

 April 6, 1998




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        I certify that on April 6, 1998, I served one copy of the foregoing Defendants' Reply to

 Plaintiffs' Opposition to Defendants' Motion to Dismiss by first-class mail, postage prepaid, on:


                Joel Z. Robinson, Esq.
                Law Offices of Joel Z. Robinson & Co.
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                New York, NY 10005-3101




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                                            INSTA-CITE
CITATION: 435 F.Supp. 1203
=>            1 Schwartz v. U.S. Dept. of Justice, 435 F.Supp. 1203, 3 Media L. Rep. 1335
                        (D.D.C., Aug 30, 1977) (NO. CIV. 76-2039)


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                 76 C.J.S. Records Sec.62 Note 61
                 76 C.J.S. Records Sec.62 Note 62                                           APR - 6 1998
                                                                                       CLERK, U.S. DISTRICT COURT
                                                                                         DISTRICT OF COLUMBIA




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                                             INSTA-CITE
CITATION: 595 F.2d 888
                                             Direct History

              1 Schwartz v. Department of Justice, 3 Media L. Rep. 1990 (D.D.C., Feb 09, 1978)
                        (NO. 76-2039) (TEXT NOT AVAILABLE ON WESTLAW)
                   Affirmed by
=>            2 Schwartz v. U.S. Department of Justice, 595 F.2d 888, 194 U.S.App.D.C. 81
                        (D.C.Cir., Apr 05, 1979) (TABLE, NO. 78-1334)
                                                                                                 FILED
                                                                                                 APR - 6 1998
                                                                                           CLERK, U.S . DISTRICT COURT
                                                                                             DISTRICT OF COLUMBIA




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                [ORAL ARGUMENT NOT YET SCHEDULED]

                               No. 15-5183

                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                     _________________________

                AMERICAN CIVIL LIBERTIES UNION and
            AMERICAN CIVIL LIBERTIES UNION FOUNDATION,

                                 Appellants,

                                      v.

                 CENTRAL INTELLIGENCE AGENCY, et al.,

                                  Appellees.


        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA


  BRIEF OF AMICUS CURIAE SENATOR JOHN D. ROCKEFELLER IV IN
                   SUPPORT OF APPELLANTS

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              STATEMENT REGARDING CONSENT TO FILE
       Pursuant to D.C. Circuit Rule 29(b), undersigned counsel for amicus curiae

 John D. Rockefeller IV represents that all parties have consented to the filing of

 this brief. In addition, pursuant to Fed. R. App. 29(c), counsel for amicus curiae

 states that no counsel for a party authored this brief in whole or in part, and no

 person other than amicus curiae or his counsel made a monetary contribution to its

 preparation or submission.




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        CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
                             CASES

       Pursuant to D.C. Circuit Rule 28(a)(1), amicus curiae certifies that:

       A. Parties and Amicus
       Except for Senator John D. Rockefeller IV and any other amici who have

 not yet entered an appearance in this proceeding, all parties appearing in the court

 below and before this Court are listed in the Brief for the Appellants.

       B. Rulings Under Review

       References to the rulings at issue appear in the opening Brief for the

 Appellants.

       C. Related Cases

       References to the related cases appear in the Brief for the Appellants.

       D. Statutes and Regulations

       All applicable statutes and regulations are contained in the Brief for the

 Appellants.




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              STATEMENT OF INTEREST OF AMICUS CURIAE
       Amicus curiae Senator John D. Rockefeller IV is a former United States

 Senator who served on the Senate Select Committee on Intelligence (“Committee”

 or “SSCI”) for fourteen years, including as the Committee’s chairman from 2007 -

 2009.1 In the final five years of his service, Senator Rockefeller was intimately

 involved in the investigation and production of the SSCI’s Report on the Central

 Intelligence Agency’s (“CIA”) Detention and Interrogation Program (“the

 Report”). The Senator helped broker agreements with agencies concerning access

 to materials at the outset of the SSCI’s investigation. He worked directly with staff

 members who researched and drafted the Report. He participated in the extensive

 negotiations with the Executive Branch over redactions to the Report’s Executive

 Summary.     And he supported the decision to transmit the full Report to the

 President and multiple federal agencies. Based on his tenure on the SSCI, as well

 his three decades in the Senate, the Senator is uniquely positioned to explain

 Congress’s intent when it released the full Report to the defendants in this case.



 1
    The Supreme Court has accepted similar amicus briefs from members of
 Congress in the past. See Br. of Members of Congress and State Legislatures as
 Amici Curiae in Support of Respondents, (Jan. 28, 2015), filed in King v. Burwell,
 No. 14-114, 135 S. Ct. 2480 (2015) available at: http://tinyurl.com/p6n247m, Br.
 of Reps. F. James Sensenbrenner, Jr., John Conyers, Jr., Steve Chabot, Jerrold
 Nadler, Melvin L. Watt, and Robert C. Scott as Amici Curiae in Support of
 Respondents, (Feb. 1, 2013), filed in Shelby County v. Holder, No. 12-96, 133
 S.Ct. 2612 (2013), available at: http://tinyurl.com/p2vnpgv.


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       Amicus Senator Rockefeller has a profound interest in ensuring that courts

 understand why the Senator and his colleagues did not seek to make the full Report

 public in December of 2014, and why the Senator and his colleagues chose to

 release the full 6,800-page Report to the Executive Branch. In that regard, the

 Senator submits this brief to address the district court’s error in holding that

 Congress did not relinquish control of the full Report when it transmitted it to the

 President in December of 2014. As the Senator knows from his almost fifteen

 years as a member of the SSCI, such an interpretation is inconsistent with the

 agreement between the SSCI and the CIA at the outset of the SSCI’s investigation,

 the negotiations over redactions in the Report’s Executive Summary, and the

 SSCI’s ultimate decision to transmit the full Report to federal agencies.


          INTRODUCTION AND SUMMARY OF THE ARGUMENT
       As Amicus stated on the Senate floor, “the arc of this story comprises more

 than a decade of [his] thirty years of work in the Senate, and one of the hardest

 fights of [his] career.” 60 Cong. Rec. S 6405, 6406 (Statement of Senator John D.

 Rockefeller IV, Dec. 9, 2014). Senator Rockefeller first learned of the CIA’s

 Detention and Interrogation Program in 2003, as the Committee’s then-Vice

 Chairman, and, for the next ten years, fought tirelessly to learn about the extent and

 nature of the program. Id. His efforts, and those of his colleagues, culminated in a

 Report that was “both shocking and deeply troubling.” Id. The SSCI never


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 intended for that Report to remain only in the Senate’s hands. Instead, “it [was]

 [the Senator’s] hope and expectation that . . . the entire 6800 page Study will

 eventually be made public with the appropriate redactions.” Id.

       Thus, the district court erred when it misread the record in this case and

 concluded that the Senator and his colleagues intended to retain control over the

 Report. See ACLU v. CIA, 2015 U.S. Dist. LEXIS 65724, at *30 (D.D.C. May 20,

 2015). To the contrary, the Senator and his colleagues released the full Report to

 the Executive Branch with the intent that agencies have the power to utilize it as

 they saw fit, in particular, so that they might “develop forward looking lessons that

 must be central to all future intelligence activities.” 60 Cong. Rec. S 6405, 6406

 (Statement of Senator John D. Rockefeller IV).          The district court reached a

 different conclusion because it misunderstood the dynamics underlying the

 investigation and the SSCI’s release of the full Report. Amicus submits this brief

 in order to assist this Court in deciding this case, so that it does not labor under the

 same misunderstanding.

       The district court’s opinion errs in three relevant respects. First, the lower

 court misconstrued the SSCI’s June 2009 agreement with the CIA as indicating an

 intent by the SSCI to maintain control of the future and final Report. See ACLU,

 2015 U.S. Dist. LEXIS 65724 at *20. Second, the court mistook the Senator’s and

 his colleagues’ urgency to release the Report’s Executive Summary as a desire to



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 shield the full Report from the public eye. Id. at *28. And finally, the court

 misinterpreted the letter from Senator Dianne Feinstein, then-Chairman of the

 SSCI, transmitting the full Report to the President, failing to understand that she

 and her colleagues intended to allow agencies to thereafter assume control over the

 full Report. Id. at *27.

       Those who oversaw the investigation well understood that the secrecy

 necessary at the outset of the investigation would, and should, fall away at the

 conclusion of it. When the investigation began, Amicus Senator Rockefeller and

 his colleagues had struggled for years to obtain information about the CIA’s

 Detention and Interrogation Program; they agreed to limits on their work product

 in order to secure access to information long withheld from Congress. Once their

 investigation concluded, mindful of the time it would take to negotiate the

 declassification of the full Report, the Senator and his colleagues focused on the

 declassification of the Executive Summary, engaging in exhaustive and lengthy

 negotiations with the Executive Branch. And when Senator Dianne Feinstein,

 then-Chairman, transmitted the full Report to the Executive Branch, she, with her

 colleagues, did so with the expectation that agencies would have the power to

 freely use the full Report to “fully learn[] the necessary lessons from this dark

 episode in our nation’s history, and . . . ensur[e] that this never happens again.” 60

 Cong. Rec. S 6405, 6406 (Statement of Senator John D. Rockefeller IV).



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       For these reasons, as more fully set forth below, this Court should reverse

 the district court’s decision.


                                   ARGUMENT
       Courts weigh two factors when determining if a congressional document has

 become an “agency record” subject to the Freedom of Information Act. The

 inquiry turns on whether Congress has “relinquish[ed] control over the record[]” to

 an agency, and allowed “the agency to use and dispose of the record as it sees fit.”

 Judicial Watch, Inc. v. United States Secret Service, 726 F.3d 208, 218 (D.C. Cir.

 2013) (citations omitted). As Appellants correctly note in this case, “this two-

 factor test boils down to a question of congressional intent.” Appellants’ Br. at 20.

 The burden remains on the government to prove a “clear congressional intent to

 maintain control.” Paisley v. CIA, 712 F.2d 686, 693–95 (D.C. Cir. 1983), vacated

 in part on other grounds, 724 F.2d 201 (D.C. Cir. 1984). Here, the Senator and his

 colleagues never intended to maintain exclusive control over the full Report, and

 transmitted the full Report to the Executive Branch so that agencies would have the

 power to use the Report as they saw fit. To hold otherwise, as the district court

 did, misunderstands the history of the investigation in three ways.

       First, the SSCI insisted that its notes and drafts remain congressional records

 as part of a broader agreement that related only to its preliminary investigation and

 was limited to materials that were located in a CIA-controlled building where the


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                                      JA 123
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 initial iterations of the Report were first drafted. The Senator and his colleagues

 never intended to limit the CIA’s or other agencies’ power to disseminate and

 utilize the final, full Report sent to the Executive Branch by then-Chairman Dianne

 Feinstein. See Letter from Sen. Dianne Feinstein & Sen. Christopher Bond to the

 Hon. Leon Panetta (June 2, 2009), JA 92 - 96 (memorializing terms of SSCI’s

 access to CIA documents at a CIA facility). Thus, the District Court erred when it

 held that the SSCI’s June 2009 agreement with the CIA bore on its decision to cede

 control over the Report to federal agencies five years later. See ACLU, 2015 U.S.

 Dist. LEXIS 65724 at *20.

       Specifically, in June 2009, the SSCI reached an agreement with the CIA in

 which the Committee agreed to conduct its review of records inside a CIA facility,

 but the SSCI was assured that it would maintain control over its work product

 located at that facility during the pendency of its investigation. See JA 92-94. This

 deal must be understood in the context of the SSCI’s long fight to get information

 about the CIA’s Detention and Interrogation Program. Amicus “first learned about

 some aspects of the CIA’s Detention and Interrogation Program in 2003,” but “at

 that point, and for years after, the CIA refused to provide [him] with additional

 information [he] requested about the program.” 60 Cong. Rec. S 6405, 6406

 (Statement of Senator John D. Rockefeller IV). “In the years that followed, [he]

 fought — and lost — many battles to obtain credible information.” Id. In 2005,



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 for example, on behalf of the SSCI, he sought access to over 100 specific

 documents cited in an internal CIA report, but the CIA refused to cooperate. Id.

 This “challenge of getting accurate information from the CIA persisted,” even after

 the Senator rose to the chairmanship of the SSCI in 2007 and held hearings on the

 program. Id.

       For years, then, the CIA resisted the SSCI’s efforts to investigate its

 detention and interrogation practices.     When, finally, the SSCI launched its

 investigation in 2009, it did so with the purpose of securing access to information

 long withheld. Thus, when the CIA insisted that review of any documents take

 place in a CIA facility, see Higgins Decl. ¶ 10, JA 58, the SSCI — though troubled

 — consented, even though the CIA would have the potential ability to view

 materials related to the ongoing SSCI investigation of the CIA, including

 investigators’ work product and investigators’ communications.2 To ensure that

 the SSCI remained in control of its drafts and internal communications about the

 investigation that were located in a CIA building, the SSCI inserted a clause in the

 2009 agreement that made clear that its internal work product — its “notes,


 2
     This concern was not unfounded. During the investigation, “the CIA
 inexplicably conducted an unauthorized search of the Committee’s computer files
 and emails” at the CIA offsite facility with “the intent . . . to suppress the
 Committee’s awareness of an internal CIA review that corroborated parts of the
 Committee’s Study.” Cong. Rec. S 6405, 6406 (Statement of Senator John D.
 Rockefeller IV).


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 documents, draft and final recommendations, reports or other materials” — would

 remain under the SSCI’s exclusive control notwithstanding that these documents

 were drafted on a CIA-provided network drive and located within a “Reading

 Room” provided to the SSCI in a CIA building. See Letter from Sen. Feinstein &

 Sen. Bond to Hon. Panetta, JA 93-94. That provision only covered materials that

 were kept at the SSCI’s reading room, a CIA-controlled space, during the ongoing

 investigation. The agreement was never intended to limit the SSCI’s power to

 relinquish control over any final report going forward, or any other SSCI materials

 physically located outside of CIA-controlled spaces.3         Instead, it provided

 protections for preliminary SSCI investigative information that was located in a

 CIA building during the course of the SSCI’s inquiry. Importantly, the initial draft

 versions of the Report were eventually re-located to SSCI-controlled physical

 space in the Hart Senate Office Building, where the final Report was completed.

       Second, the Senator and his colleagues chose not to seek declassification of

 the final full Report in order to speed release of information about the CIA’s

 Detention and Interrogation Program. Certainly, Amicus and his colleagues never

 wished to shield the full Report — with appropriate redactions — from the public

 eye. Thus, the district court erred when it assumed that publication of the Report’s


 3
    For this reason, as Appellants points out, the 2009 agreement refers exclusively
 to “these documents” and “these letters” rather than to any document or all future
 documents related to the investigation. Appellants’ Br. at 25.

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 Executive Summary, rather than the full Report, implied that the Senator and his

 colleagues intended for the more complete document to forever remain secret.

 ACLU, 2015 U.S. Dist. LEXIS at *28.

       The Senator and his colleagues did not have that intent. Amicus and his

 colleagues forewent immediate declassification of the full Report in order avoid a

 prolonged battle over redactions to it. Indeed, it took nine months to reach an

 agreement about redactions in the Executive Summary alone. See Higgins Decl. at

 ¶¶ 17 – 20, JA 62 – 64. To the Senator’s “deep disappointment,” the White House

 “strong[ly] defer[red] to the CIA throughout the process,” which “at times, worked

 at cross purposes with [the] White House’s stated interest in transparency.” Cong.

 Rec. S 6405, 6406 (Statement of Senator John D. Rockefeller IV). Thus, the White

 House and the CIA insisted “on the unprecedented redaction of fake names in the

 report,” and “also pushed for the redaction of information in the Committee’s

 Study that should not be classified.” Id. Given the nine months it took to redact

 and release the 500-page Executive Summary, it would have taken years to

 negotiate the release of a redacted full Report to the public. Explaining this

 decision, then-Chairman Feinstein wrote in the Report’s foreword, “[s]eeking

 declassification of the more than six thousand page report would have significantly

 delayed the release of the Executive Summary.” Senate Select Committee on

 Intelligence, Committee Study of the CIA’s Detention and Interrogation Program:



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 Executive Summary, Chairman’s Foreword at 3 (Dec. 3, 2014), available at

 http://tinyurl.com/nm6vdsu. As such, the Senator and his colleagues opted for the

 most expedient path and sought to make the Executive Summary public in order to

 shed at least a modicum of light on the CIA’s “mistakes,” so that Americans could

 take “a tremendous and consequential step toward” the “self-reflection and

 scrutiny” necessary to prevent future abuse. Cong. Rec. S 6405, 6406 (Statement

 of Senator John D. Rockefeller IV). But that strategic choice did not imply that the

 Senator and his colleagues wanted the full Report to remain secret.              To the

 contrary, as the Senator publicly explained, “it [was] [his] hope and expectation

 that . . . the entire 6800 page Study will eventually be made public with the

 appropriate redactions.” Id.

       Third, Senator’s Feinstein’s letter to the President transmitting the Report

 indicated that the SSCI did not intend to maintain control over the document.

 Accord Paisley, 712 F.2d at 693–95 (holding that document was an agency record

 absent evidence of a “clear congressional intent to maintain control”). At the time,

 the Report was a formal, final Senate Report; it had been submitted by the SSCI to

 the full Senate, was no longer subject to modifications by the SSCI, and was ready

 for release. Thus, the district court erred when it held that Feinstein’s letter, sent in

 her capacity as Chairman of the SSCI, did not evince the intent to turn over the full

 Report to the Executive Branch. See Letter from Sen. Dianne Feinstein to The



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 Hon. Barack Obama (Dec. 10, 2014), JA 133. To the contrary, the letter indicates

 that the full Report should be disseminated widely “to the CIA and other

 components of the Executive Branch.” Id. It makes clear that the Report should

 be “use[d] as broadly as appropriate to help make sure that this experience is never

 repeated.” Id. Indeed, Senator Feinstein went so far as to “encourage use of the

 full report in the future development of CIA training programs, as well as future

 guidelines and procedures for all Executive Branch employees,” reminding the

 President that he could use the full Report “as [he] [saw] fit.” Id. (emphasis

 added). Thus, the Committee placed no limits on the full Report’s use, and,

 instead, made clear that the Executive Branch could disseminate the full Report,

 and that agencies could use the full Report in whatever manner the President and

 his delegates deemed appropriate.     See Judicial Watch, Inc, 726 F.3d at 218

 (explaining that congressional intent depends in part on whether an agency may

 “use and dispose of the record as it sees fit”). Amicus and his colleagues never

 believed that more was required in order to indicate their intent to relinquish

 control.

       In sum, amicus respectfully submits this short brief in order to advise this

 Court that the lower court fundamentally misunderstood the intention of Congress,

 which is at the core of this Court’s analysis. See ACLU, 2015 U.S. Dist. LEXIS

 65724 at *18. Throughout the time that it investigated the CIA’s Detention and



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 Interrogation Program, the SSCI sought to shed as much light as possible on the

 CIA’s Detention and Interrogation Program. Because the CIA withheld access to

 records for so many years, the SSCI took steps in its 2009 agreement that it would

 not otherwise have taken in order to ensure that it would get access to documents

 in the CIA’s control, specifically agreeing to review the documents at a CIA

 facility in a reading room provided to the SSCI.         The SSCI’s insistence on

 protecting its work product during the researching of the Report in CIA-controlled

 spaces in a CIA building must be understood against that background: It was both

 responsive to the CIA’s concerns at the time and meant to shield that work product

 from scrutiny from the agency that was the subject of the investigation. But once it

 relocated materials to SSCI-controlled spaces at the Hart Senate Office building

 and completed a final version of the Report in those spaces, the record is clear that

 the SSCI sought to release as much information as possible, as quickly as possible.

 For that reason, it made only the Executive Summary public and chose not to

 embark simultaneously on the arduous process of negotiating redactions of the full

 Report with the Executive Branch. And Senator Feinstein’s letter transmitting the

 full Report to the President was, in amicus’s experience, typical of letters

 relinquishing control over a document to the Executive Branch: Its intent was to

 release a congressional record to the Executive Branch for “use as broadly as

 appropriate to help make sure that this experience is never repeated” and



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 encouraged the President to use the full Report even more widely, “as [he] [saw]

 fit.” See Letter from Sen. Feinstein to The Hon. Barack Obama, JA 133. Thus,

 Congress intended to relinquish control over the SSCI’s full Report, and that

 document is now an agency record subject to the FOIA.


                                  CONCLUSION
       For these reasons, the decision of the district court misunderstood the intent

 of the SSCI and should accordingly be reversed.


                                                 Respectfully Submitted,


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                                       Dated: November 23, 2015




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                      CERTIFICATE OF COMPLIANCE
 1.    This brief complies with the type-volume limitation of Fed. R. App. P. 29

       and 32(a)(7)(B) because it contains 2,937 words, excluding the parts of the

       brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

 2.    This brief complies with the typeface requirements of Fed. R. App. P.

       32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because

       it has been prepared in a proportionally spaced typeface using Microsoft

       Word in 14-point Times New Roman.

                                       /s/ Susanne Peticolas

                                       Susan Peticolas
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 Date: November 23, 2015




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                           CERTIFICATE OF SERVICE

       On November 23, 2015, I served upon the counsel for Plaintiffs–Appellants

 and Defendants–Appellees one copy of Amicus Curiae’s BRIEF IN SUPPORT

 OF APPELLANTS via this Court’s electronic-filing system. I further certify that I

 filed a true and correct copy of the foregoing brief with the Clerk of the United

 States Court of Appeals for the District of Columbia Circuit. I further certify that I

 will cause eight (8) paper copies of this brief to be filed with the Court.


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 Date: November 23, 2015




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 SHAWN MUSGRAVE,                                *
                                                *
        Plaintiff,                              *
                                                *
        v.                                      *      Civil Action No. 1:21-cv-02198 (BAH)
                                                *
 MARK WARNER, et al.,                           *
                                                *
        Defendants.                             *
                                                *
 *      *       *       *       *       *       *      *       *       *       *       *      *

                     PLAINTIFF’S STATEMENT OF MATERIAL FACTS
                     AS TO WHICH THERE IS NO GENUINE DISPUTE

        Pursuant to Local Rule 7(h), Plaintiff Shawn Musgrave submits this Statement of

 Material Facts as to Which There Is No Genuine Dispute.

        1.      Congress has not passed a statute which addresses the common law right of

 access to legislative records or establishes a process for requesting legislative records.

        2.      Republishing information included in a Committee report is not protected by the

 Speech or Debate Clause.

        3.      Some final Committee reports are written with no intentions of continuing

 Congressional deliberations on the matter.




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 Date: March 20, 2022

                                      Respectfully submitted,

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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------x
   DOUGLAS COX,

                             Plaintiff,                           MEMORANDUM AND ORDER

                     v.                                           17-CV-3329 (RPK) (RLM)

   DEPARTMENT OF JUSTICE, FEDERAL
   BUREAU OF INVESTIGATION,
   DEPARTMENT OF DEFENSE, OFFICE OF
   THE DIRECTOR OF NATIONAL
   INTELLIGENCE, and DEPARTMENT OF
   STATE,

                              Defendants.
   ---------------------------------------------------------x
   RACHEL P. KOVNER, United States District Judge:

             Plaintiff Douglas Cox brings this suit under the Freedom of Information Act, 5 U.S.C.

   § 552 et seq., to compel five federal agencies to disclose a Senate report concerning the Central

  Intelligence Agency’s post-9/11 detention and interrogation program, as well as associated

   documents. The parties have now filed cross-motions for summary judgment, and Mr. Cox seeks

   discovery. For the reasons that follow, defendants’ motion is granted, and Mr. Cox’s motions are

   denied.

                                                  BACKGROUND

 I.          Factual Background

             The following facts are drawn from the parties’ declarations, exhibits, and official

      government records amenable to judicial notice. See Paskar v. City of New York, 3 F. Supp. 3d

      129, 134 (S.D.N.Y. 2014).

             In the days and weeks following the attacks of September 11, 2001, the Central Intelligence

      Agency (“CIA”) embarked on a covert detention and interrogation program to collect intelligence.

      Press Release, Office of Senator Diane Feinstein (Apr. 3, 2014), Decl. of Vanna Blaine Ex. F (Dkt.
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  #60-2). Over the next eight years, the CIA detained over one hundred individuals at clandestine

  facilities, employing “enhanced interrogation techniques” to obtain information. Ibid. In January

  2009, the government terminated the initiative. Ibid.

         In March 2009, the Senate Select Committee on Intelligence (“SSCI” or the “Committee”)

  launched an investigation of this program. Decl. of Neal Higgins ¶ 10, in Decl. of Vanna Blaine

  (Dkt. #60-2) (“Higgins Decl.”). To facilitate the review, which would involve surveying millions

  of pages of CIA documents, the CIA and the SSCI negotiated terms of access for the SSCI’s

  staffers. Higgins Decl. ¶ 11; Letter from Sen. Dianne Feinstein to President Barack Obama (Dec.

  14, 2012), Decl. of Douglas Cox Ex. F (Dkt. #60-12) (“Dec. 14, 2012 Letter”). In a letter to the

  CIA’s director, the SSCI “agree[d] that the Committee . . . w[ould] conduct the study of the CIA’s

  detention and interrogation program” under certain “procedures and understandings.” Letter from

  Sen. Dianne Feinstein to Director Leon Panetta (June 2, 2009), Blaine Decl. Ex. D (“June 2, 2009

  Letter”). This letter established access protocols. The SSCI agreed to conduct its review at a CIA

  location on a CIA-provided computer network. Ibid.; see Higgins Decl. ¶ 11. The SSCI also

  agreed to certain redaction rules. June 2, 2009 Letter ¶ 9.

         And especially relevant here, the June 2, 2009 letter stated that the SSCI’s report would be

  the SSCI’s property. In particular, the SSCI specified that “[a]ny documents generated on the

  network drive . . . as well as any other notes, documents, draft and final recommendations, reports

  or other materials generated by Committee staff or Members, are the property of the Committee.”

  June 2, 2009 Letter ¶ 6. These documents, the SSCI stated, would “remain congressional records

  in their entirety,” with “disposition and control over these records, even after the completion of

  the Committee’s review, l[ying] exclusively with the Committee.” Ibid. “As such,” the letter

  added, “these records are not CIA records under the Freedom of Information Act or any other law.”



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  Ibid. “If the CIA receives any request or demand for access to those records from outside the CIA

  under the Freedom of Information Act or any other authority,” the letter continued, “the CIA . . .

  will respond to the request or demand based upon the understanding that these are congressional,

  not CIA, records.” Ibid.

         Parameters established, the SSCI began its review. By December 2012, the Committee

  had completed a draft report, which the SSCI then circulated to members of the Executive Branch

  for comment. Dec. 14, 2012 Letter, at 1. After revisions, the SSCI approved the declassification

  and release of the report’s Executive Summary and Findings and Conclusions in April 2014. Letter

  from Sen. Dianne Feinstein to President Barack Obama (Apr. 7, 2014), Decl. of Vanessa R.

  Brinkmann Ex. L (Dkt. #60-3) (“Apr. 7, 2014 Letter”). At the same time, Senator Feinstein, who

  was then the SSCI’s Chair, transmitted the full report to the White House. The transmittal letter

  “encourag[ed] and approv[ed] the dissemination of the updated report to all relevant Executive

  Branch agencies.” Ibid.

         On December 9, 2014, the SSCI “formally filed the full version of its Study . . . with the

  Senate and publicly released the declassified Executive Summary and Findings and Conclusions.”

  Letter from Sen. Dianne Feinstein to President Barack Obama (Dec. 10, 2014), Decl. of Vanessa

  R. Brinkmann Ex. M (“Dec. 10, 2014 Letter”). The SSCI also transmitted the final 6,963-page

  report to the White House. See Letter from Sen. Dianne Feinstein to President Barack Obama

  (Jan. 16, 2015), Decl. of Douglas Cox Ex. Z (“Jan. 16, 2015 Letter”) (describing report length).

  The accompanying letter from Senator Feinstein stated that:

     the full report should be made available within the CIA and other components of the Executive Branch for

     use as broadly as appropriate to help make sure that this experience is never repeated. To help achieve that

     result, I hope you will encourage use of the full report in the future development of CIA training programs,

     as well as future guidelines and procedures for all Executive Branch employees, as you see fit.


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  Dec. 10, 2014 Letter, at 1.

         Senator Richard Burr then replaced Senator Feinstein as SSCI Chair. Letter from Sen.

  Richard Burr to President Barack Obama (Jan. 14, 2015), Decl. of Vanessa R. Brinkmann Ex. J

  (Dkt. #60-3) (“Jan. 14, 2015 Letter”); see Committee Members 114th Congress (2015-2016), U.S.

  Sen. Select Comm. on Intel., https://www.intelligence.senate.gov/about/committee-members-

  114th-congress-2015-2016. On January 14, Senator Burr wrote to President Obama requesting

  the return of all copies of the report in the Executive Branch’s possession. Jan. 14, 2015 Letter.

  In his letter, Senator Burr stated that he “consider[ed] the report to be a highly classified and

  committee sensitive document” that “should not be entered into any Executive Branch system of

  records.” Ibid. Senator Feinstein replied with a letter of her own two days later disagreeing with

  Senator Burr’s request. Jan. 16, 2015 Letter.

         Over the next two years, Senator Feinstein wrote to various Executive Branch officials

  asking them to retain and read copies of the report. See, e.g., Letter from Sen. Dianne Feinstein to

  Secretary of Defense Ashton B. Carter (Feb. 23, 2015), Decl. of Douglas Cox Ex. J (Dkt. #60-12);

  Letter from Sens. Dianne Feinstein & Patrick Leahy to Att’y Gen. Loretta Lynch (Jul. 14, 2015),

  Decl. of Douglas Cox Ex. K (Dkt. #60-12) (“Lynch Letter I”); Letter from Sens. Dianne Feinstein

  & Patrick Leahy to Att’y Gen. Loretta Lynch & Director James Comey (Nov. 5, 2015), Decl. of

  Douglas Cox Ex. L; Letter from Sens. Dianne Feinstein & Patrick Leahy to Archivist David S.

  Ferriero (Apr. 13, 2016), Decl. of Douglas Cox Ex. N (“Ferriero Letter”).

         On May 16, 2016, the D.C. Circuit determined that the SSCI report was a congressional

  record not subject to the Freedom of Information Act (“FOIA”). ACLU v. CIA, 823 F.3d 655, 667-

  68 (D.C. Cir. 2016).

         After the D.C. Circuit’s decision, Senator Feinstein continued to encourage Executive



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      Branch officials to designate the report as a federal record. Letter from Sen. Dianne Feinstein to

      Att’y Gen. Loretta Lynch (Nov. 21, 2016), Decl. of Douglas Cox Ex. O (“Lynch Letter II”). She

  also urged Attorney General Loretta Lynch and then Attorney General Jeff Sessions to “establish[]

  [the report] as . . . an agency record pursuant to the Freedom of Information Act.” Ibid.; Letter

  from Sens. Dianne Feinstein, Mark R. Warner, Ron Wyden & Martin Heinrich to Att’y Gen. Jeff

      Sessions, at 2 (Mar. 9, 2017), Decl. of Douglas Cox Ex. P (“Sessions Letter”). Meanwhile, Senator

   Burr reiterated his request that Executive Branch agencies return all copies of the SSCI report.

   Decl. of Eric F. Stein ¶ 12 (Dkt. #60-7) (“Stein Decl.”); Email from Amanda J. Wall to Christina

   Sanford (May 31, 2017, 8:57 AM), Stein Decl. Ex. I (“Wall Email”). Some agencies did so. Letter

   from Gen. Counsel Bradley A. Booker to Sen. Richard Burr (June 1, 2017), Decl. of Douglas Cox

   Ex. Q (describing disposition of several copies); Decl. of Vanessa R. Brinkmann ¶ 13 (Federal

   Bureau of Investigation (“FBI”) copy returned; Department of Justice (“DOJ”) copy with U.S.

  district court); Decl. of Mark H. Herrington ¶¶ 6-7 (Dkt. #60-6) (Department of Defense (“DOD”)

  copies retained); Stein Decl. ¶ 12 (Department of State (“State”) copy returned).

II.          Procedural Background

             On December 21, 2016, Mr. Cox submitted FOIA requests to five agencies: the DOJ, the

  FBI, DOD, the Office of the Director of National Intelligence (“ODNI”), and State. See Second

  Am. Compl. ¶¶ 45, 66, 81, 95, 107 (Dkt. #26). These requests sought the SSCI report, drafts the

  SSCI circulated with the agencies, text of the report excerpted or quoted in other agency records,

  and agency records detailing the report’s transmission and handling. Ibid. Arguing that the report

  was a congressional record exempt from FOIA, the agencies declined to search for the report,

  drafts of the report, or excerpts or quotations from the report. See Mem. & Order 11-22, Cox v.

  Dep’t of Just., No. 17-CV-3329 (RRM) (RLM) (E.D.N.Y. Nov. 30, 2020) (Dkt. #53) (“Mem. &

  Order”). The agencies did produce records concerning the report’s transmission and handling,
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  redacting these records pursuant to FOIA’s enumerated exemptions. Ibid.

         Seeking the withheld records, Mr. Cox filed this suit on June 2, 2017. Compl. ¶ 2 (Dkt.

  #1). Defendants moved to dismiss Mr. Cox’s FOIA claims pertaining to the report, drafts, and

  quotations and moved for summary judgment on Mr. Cox’s claims challenging the redactions to

  the produced documents. Notice of Mot. to Dismiss and for Summ. J. (Dkt. #52); Mem. & Order

  23. On November 30, 2020, then-presiding Judge Roslynn R. Mauskopf granted defendants’

  motion in part and denied it in part. Mem. & Order 1.

         Judge Mauskopf denied defendants’ motion to dismiss Mr. Cox’s requests for the SSCI

  report, drafts, and excerpts and quotations. Id. at 30. Adopting the D.C. Circuit’s framework for

  determining whether a document qualifies as an “agency record” under FOIA, id. at 39 (citing

  Judicial Watch, Inc. v. U.S. Secret Serv., 726 F.3d 208 (D.C. Cir. 2013)), Judge Mauskopf

  nevertheless determined that she could not take judicial notice of defendants’ evidentiary

  submissions on a motion to dismiss. Id. at 33. Therefore, she concluded that Mr. Cox’s allegations

  as to the report’s status precluded dismissal of his FOIA claims pertaining to the report, drafts, and

  quotations. Id. at 42.

         Judge Mauskopf also granted in part and denied in part defendants’ motion for summary

  judgment on Mr. Cox’s FOIA claims challenging the withholding of information from the records

  the agencies did produce. Id. at 58-59. She determined that defendants adequately explained their

  redactions to all documents save those of the FBI. Id. at 53, 58. Therefore, she denied summary

  judgment as to the FBI documents, granted it as to the others, and invited defendants to renew their

  motion as to the FBI records after supplementing their submissions. Id. at 58-59.

         Defendants now move for summary judgment on all of Mr. Cox’s surviving FOIA claims.

  Notice of Second Mot. for Summ. J. (Dkt. #60). The remaining claims seek to vindicate Mr. Cox’s



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  requests for copies and drafts of the final SSCI report held by the defendant agencies, as well as

  “portions [of these documents] that have been cut and pasted into, or quoted” elsewhere in

  defendants’ records. DOJ FOIA Request (3), Second Am. Compl. Ex. D (Dkt. #26-4) (“DOJ FOIA

  Request”); accord DOJ FOIA Request (1)-(4); FBI FOIA Request (1)-(4), Second Am. Compl.

  Ex. E (Dkt. #26-5) (“FBI FOIA Request”); DOD FOIA Request (1)-(4), Second Am. Compl. Ex.

  F (Dkt. #26-6) (“DOD FOIA Request”); ODNI FOIA Request (1)-(3), Second Am. Compl. Ex. G

  (Dkt. #26-7) (“ODNI FOIA Request”); State FOIA Request (1)-(3), Second Am. Compl. Ex. H

  (Dkt. #26-8) (“State FOIA Request”); Second Am. Compl. ¶¶ 12-112. Mr. Cox’s claim for FBI

  documents pertaining to the handling and transmission of the SSCI report also remains. FBI

  Request (5)-(6); Second Am. Compl. ¶¶ 60-72.

         Mr. Cox has filed a cross-motion for summary judgment. Pl’s Mem. in Opp’n & Cross-

  Mot. 1 (Dkt. #60-11) (“Pl.’s Mem. in Opp’n”). In the alternative, he seeks discovery under Federal

  Rule of Civil Procedure 56(d) and moves the Court to conduct an in camera review of one redacted

  FBI document, referred to as “Cox-30.” Id. at 1 & 44.

                                       STANDARD OF REVIEW

         Summary judgment is appropriate when “there is no genuine dispute as to any material fact

  and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine issue

  of fact exists if “the evidence is such that a reasonable jury could return a verdict for the nonmoving

  party,” and a factual dispute is material if it “might affect the outcome of the suit under the

  governing law.” Frost v. New York City Police Dep’t, 980 F.3d 231, 242 (2d Cir. 2020) (quotations

  omitted). In determining whether there is a genuine issue of material fact, a court evaluates the

  whole record, resolving all ambiguities and drawing all permissible factual inferences in favor of

  the non-movant. See ibid. A nonmoving party can survive summary judgment only if there is



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  sufficient evidence to permit a rational trier of fact to find in that party’s favor. Matsushita Elec.

  Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); see Anderson v. Liberty Lobby, Inc.,

  477 U.S. 242, 251 (1986).

         In assessing the record, I consider cited “depositions, documents, electronically stored

  information, affidavits or declarations, stipulations . . . , admissions, [and] interrogatory answers.”

  Fed. R. Civ. P. 56(c)(1)(A). I view “the evidence in the light most favorable to the nonmoving

  party and draw all reasonable inferences in that party’s favor.” Tracy v. Freshwater, 623 F.3d 90,

  95 (2d Cir. 2010). “It is a settled rule that credibility assessments, choices between conflicting

  versions of the events, and the weighing of evidence are matters for the jury, not for the court on

  a motion for summary judgment.” McClellan v. Smith, 439 F.3d 137, 144 (2d Cir. 2006)

  (quotations, alterations, and citation omitted).

         Finally, pro se litigants typically enjoy special solicitude. Erickson v. Pardus, 551 U.S.

  89, 94 (2007) (per curiam). Since Mr. Cox is a practicing lawyer, though, see Mem. & Order 30,

  he is not entitled to this consideration. Holtz v. Rockefeller & Co. Inc., 258 F.3d 62, 82 n.4 (2d

  Cir. 2001) (quoting Harbulak v. County of Suffolk, 654 F.2d 194, 198 (2d Cir. 1981)).

                                             DISCUSSION

         Defendants’ motion for summary judgment is granted. The SSCI report, as well as drafts

  of and excerpts and quotations from that report are congressional records, not “agency records.”

  Therefore, FOIA does not apply to these documents. Accordingly, defendants are entitled to

  summary judgment on Mr. Cox’s requests for those materials under FOIA. In addition, since

  defendants have now adequately explained the redactions to the FBI records, defendants are also

  entitled to summary judgment on Mr. Cox’s requests for materials that the FBI redacted. Mr.

  Cox’s motion for discovery is denied as unmerited by the record, and the Court declines to conduct



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   an in camera review of Cox-30.

 I.       The Freedom of Information Act and Its Limits

          Congress enacted FOIA in 1967 to “permit access to official information long shielded

   unnecessarily from public view.” EPA v. Mink, 410 U.S. 73, 80 (1973), superseded by statute on

  other grounds.    Under its mandate, “each agency, upon any request for records which (i)

  reasonably describes such records and (ii) is made in accordance with published rules . . . shall

  make the records promptly available to any person.” 5 U.S.C. § 552(a)(3)(A). District courts, in

  turn, possess the power to “enjoin” agencies “from withholding agency records and to order the

   production of any agency records improperly withheld from the complainant.” Id. § 552(a)(4)(B).

          But FOIA strikes a “careful[] balance[]” between transparency and confidentiality.

   Kissinger v. Reps. Comm. for Freedom of the Press, 445 U.S. 136, 150 (1980). First, Congress

  expressly limited FOIA’s application to “agency records.” 5 U.S.C. § 552(a)(4)(B) (emphasis

  added). The records of other components of the federal government—including Congress—are

  excluded from FOIA’s mandate. Id. § 551(1)(A). Such non-agency records need not be produced

  at all. Kissinger, 445 U.S. at 150; Main St. Legal Servs., Inc. v. Nat’l Sec. Council, 811 F.3d 542,

  565-66 (2d Cir. 2016).

          Second, Congress exempted nine specific categories of information within “agency

  records” from disclosure. 5 U.S.C. § 552(b). The subjects these exemptions cover range from

  classified materials to federal-employee medical records. 5 U.S.C. §§ 552(b)(1)-(9). When an

  exclusion applies, the agency typically must produce the document, but may redact exempted

  information. 5 U.S.C. § 552(b); FBI v. Abramson, 456 U.S. 615, 626 (1982). The agency must

  justify any redactions it makes. Florez v. CIA, 829 F.3d 178, 182 (2d Cir. 2016). Thus, while a

  litigant who seeks non-agency records will come away with nothing, a litigant who seeks “agency

  records” containing exempted information may still obtain a trove of documents, albeit in redacted
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   form.

 II.          Mr. Cox Is Not Entitled to the SSCI Report, Its Drafts, or Excerpts

              Mr. Cox’s first set of FOIA requests—for the SSCI report, its drafts, and excerpts—

    implicates FOIA’s distinction between “agency records” and non-agency records. Mr. Cox argues

    that he is entitled to redacted copies of those materials because they have become “agency records”

    within the meaning of Section 552. But as the D.C. Circuit previously concluded, the SSCI report

    is a congressional record exempt from FOIA. So are drafts of, and excerpts from, that report.

    Accordingly, defendants are entitled to summary judgment on these requests.

              A.      The Judicial Watch test properly implements the statutory distinction between
                      “agency records” and congressional records.

              I adhere to Judge Mauskopf’s ruling that the D.C. Circuit’s test in Judicial Watch, Inc. v.

       U.S. Secret Serv., 726 F.3d 208 (D.C. Cir. 2013), should be used to decide whether the records in

       this case are “agency records” covered by FOIA. See Mem. & Order 39. That test determines

       whether a congressionally created document in the hands of an agency qualifies as an “agency

   record” based on (i) “the intent of the document’s creator to retain or relinquish control over the

   records” and (ii) “the ability of the agency to use and dispose of the record as it sees fit.” Judicial

    Watch, Inc., 726 F.3d at 218; id. at 221. A document’s status ultimately “turns on whether

       Congress manifested a clear intent to control the document.” Id. at 221 (quotations omitted).

              Typically, “when a court decides upon a rule of law, that decision should continue to

       govern the same issues in subsequent stages in the same case.” Frommert v. Conkright, 913 F.3d

       101, 109 (2d Cir. 2019) (quoting DiLaura v. Power Auth., 982 F.2d 73, 76 (2d Cir. 1992)). I am

       not persuaded to depart from that practice here. The test developed by the D.C. Circuit and adopted

       by Judge Mauskopf properly accounts for separation-of-powers considerations. To be sure, as a

       general matter, “documents may qualify as ‘agency records’ if they (1) are created or obtained by


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   an agency, and (2) ‘have come into the agency’s possession in the legitimate conduct of its official

   duties.’” Doyle v. U.S. Dep’t of Homeland Sec., 959 F.3d 72, 76 (2d Cir. 2020) (quoting U.S.

   Dep’t of Just. v. Tax Analysts, 492 U.S. 136, 144-45 (1989)). But when a FOIA request implicates

   “constitutional prerogative[s],” the doctrine of constitutional avoidance favors giving the term

   “agency record” a construction that would avoid impinging on those prerogatives. Id. at 77.

          The Judicial Watch test appropriately applies that principle in interpreting the term “agency

   record” in the context of congressionally created documents. Mr. Cox seeks a sensitive report that

   Congress created to supervise Executive Branch activities. Attempts to discover this report

   implicate both Congress’s “constitutional prerogative of maintaining secrecy” and its oversight

   function. Goland v. CIA, 607 F.2d 339, 346 (D.C. Cir. 1978) (per curiam). As the D.C. Circuit

   explained, “Congress has undoubted authority to keep its records secret, authority rooted in the

   Constitution, longstanding practice, and current congressional rules.” Ibid. But Congress also

   “exercises oversight authority over the various federal agencies, and thus has an undoubted interest

   in exchanging documents with those agencies to facilitate their proper functioning in accordance

   with Congress’[s] originating intent.” Ibid. (citations omitted). If congressional documents were

   to become agency records whenever they came into an agency’s lawful possession, Congress

   would be forced “either to surrender its constitutional prerogative of maintaining secrecy, or to

   suffer an impairment of its oversight role.” Ibid.

          The D.C. Circuit’s approach in Judicial Watch gives effect to FOIA’s disclosure mandate

   while protecting Congress’s constitutional prerogatives. It allows for the possibility that materials

   originating with Congress may indeed become agency records subject to FOIA. See ACLU v. CIA,

   823 F.3d at 661-65 (discussing the development and application of the test). But it permits

   Congress to safeguard the secrecy of confidential oversight documents that have been shared with



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   an agency but remain subject to continuing congressional control. Because the Judicial Watch test

   implements FOIA while giving due respect to constitutional prerogatives, I apply that test here.

          B.      FOIA does not extend to the SSCI report or to drafts of the report.

          The draft and final versions of the SSCI report are not “agency records” subject to FOIA.

   To demonstrate that the documents in question are congressional documents—rather than agency

   documents—under the Judicial Watch test, defendants must show that (i) Congress intended “to

   retain . . . control over the records,” and (ii) the defendant agencies lacked the ability to “use and

   dispose of the record[s]” as they “s[aw] fit.” ACLU v. CIA, 105 F. Supp. 3d 35, 45 (D.D.C. 2015)

   (quoting Judicial Watch, Inc., 726 F.3d at 218), aff’d, 823 F.3d 655 (D.C. Cir. 2016). As Judge

   Boasberg has explained, these “two factors represent two sides of the same coin.” Ibid. “[An]

   agency—by definition—cannot lawfully ‘control’ . . . documents” once “Congress has manifested

   its own intent to retain control.” Ibid. (quoting Paisley v. CIA, 712 F.2d 686, 693 (1983)).

   Conversely, once Congress has relinquished control, an agency may use the documents as it sees

   fit. Ibid. Therefore, the Judicial Watch inquiry may be put more succinctly as simply inquiring

   whether “sufficient indicia of congressional intent to control” exist. Ibid. (quoting United We

   Stand Am., Inc. v. IRS, 359 F.3d 595, 600 (D.C. Cir. 2004)). If they do, the document remains a

   congressional record.

          An agency may show that Congress manifested its “intent to retain control over documents

   either when the documents [were] created or when the documents [were] transmitted to an

   agency.” ACLU v. CIA, 823 F.3d at 664 (emphasis in original). The agency bears the burden of

   demonstrating that the materials are not agency records. Doyle, 959 F.3d at 76. Once Congress’s

   intent to control the documents is established, though, that evidence can “only be overcome if the

   record reveals that Congress subsequently acted to vitiate the intent.” ACLU v. CIA, 823 F.3d at

   664.
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          Defendants have shown that the draft and final SSCI report are congressional documents,

   rather than agency records, under this test. When Congress began its investigation in 2009, it

   “manifested a clear intent” to control both draft and final versions of the SSCI report. ACLU v.

   CIA, 823 F.3d at 664 (quoting Judicial Watch, Inc., 726 F.3d at 221)). The June 2, 2009 letter to

   the CIA outlining Congress’s understanding of those documents unambiguously states that “[a]ny

   documents generated on the network drive” designated for use in creating the SSCI report, “as

   well as any other notes, documents, draft and final recommendations, reports or other materials

   generated by Committee staff or Members, are the property of the Committee.” June 2, 2009

   Letter ¶ 6. The letter further specifies that “even after the completion of the Committee’s review,”

   these documents are to “remain congressional records.” Ibid. And it specifies that requests for

   these documents are to be handled “based upon the understanding that these are congressional . . .

   records.” Ibid. As the D.C. Circuit has explained, that language demonstrates the SSCI’s intent

   to assert control over the SSCI report and its drafts. ACLU v. CIA, 823 F.3d at 664-65. The terms

   contain no expiration date. See June 2, 2009 Letter. And it permits limited disclosure within the

   Executive Branch only pursuant to “prior written authorization of the Committee.” Id. ¶ 6. Clearer

   evidence of an “intent to control” these records is hard to imagine. ACLU v. CIA, 823 F.3d at 663

   (quoting Judicial Watch, Inc., 726 F.3d at 221).

          Mr. Cox offers several arguments to explain away this letter, none of which are persuasive.

   First, Mr. Cox argues that the letter does not govern the SSCI’s final report, but only SSCI work-

   product located in the CIA Reading Room. Pl.’s Mem. in Opp’n 32-37. This claim runs aground

   on the letter’s plain language, which provides that it applies both to “[a]ny documents generated

   on the network drive” and to “any other notes, documents, draft and final recommendations,

   reports or other materials generated by Committee staff or Members.” June 2, 2009 Letter. This



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   text “encompass[es] the Final Full Report, which by its own title is a ‘final . . . report[] or other

   material[] generated by Committee staff or members.’” ACLU v. CIA, 105 F. Supp. 3d at 46

   (quoting the June 2, 2009 Letter) (brackets omitted).

          Mr. Cox also suggests that the letter ought to be read as part of an incomplete,

   unincorporated exchange and does not represent the final position of the SSCI. Pl.’s Mem. in

   Opp’n 37, 41. However, this claim lacks a basis in the record. While the CIA and SSCI exchanged

   other communications, none contradicted the intent Congress expressed in its June 2, 2009 letter.

   See Fax from the CIA to the SSCI (June 8, 2009), Decl. of Douglas Cox Ex. T ¶¶ 3, 5. In fact, the

   CIA’s June 8 fax confirms Congress’s control. In this fax, the CIA refers to the report as “your

   [i.e., the SSCI’s] . . . report,” and it asks whether “the SSCI plan[ed] to allow the CIA to review

   the SSCI final report before publication.” Id. ¶ 3. While the fax discussed a “few issues” that

   were still to be sorted out between the CIA and SSCI, its language indicates that the matter of who

   controlled the final SSCI report had already been settled. Id. ¶ 1. Absent other evidence

   contradicting the understanding expressed in the June 2, 2009 letter or the June 8, 2009 fax, this

   argument is speculative, and it is not enough to preclude summary judgment.

          Finally, Mr. Cox contends that the June 2, 2009 letter only applies to the CIA. But while

   the SSCI drafted the letter in the context of negotiations with the CIA, its language sweeps far

   more broadly. In the letter, the SSCI expressly states that the SSCI’s “documents remain

   congressional records in their entirety and disposition and control over these records, even after

   the completion of the Committee’s review, lies exclusively with the Committee.” June 2, 2009

   Letter ¶ 6. Such language cannot be read to limit the SSCI’s assertion of control as against the

   CIA alone. In short, Congress “manifested a clear intent to control” the SSCI report and its drafts

   through its June 2009 letter. ACLU v. CIA, 823 F.3d at 663 (quoting Judicial Watch, Inc., 726



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   F.3d at 221).

          Nor did Congress “subsequently act[] to vitiate” its control of the SSCI Report. ACLU v.

   CIA., 823 F.3d at 664. On December 14, 2012, the SSCI transmitted a rough draft of the report to

   President Barack Obama to solicit “suggested edits or comments” from the Executive Branch. See

   Dec. 14, 2012 Letter, at 1. By stipulating that the SSCI would choose which edits to “accept[]”

   and “consider how to handle any public release of the report,” the letter “undeniably reinforced

   what had already been made clear in the June 2009 Letter, i.e., that the Committee intended to

   retain control over the Full Report.” ACLU v. CIA, 823 F.3d at 667. On April 7, 2014, the SSCI

   transmitted a second version to the President, authorizing its dissemination to “relevant” agencies

   and explaining that the SSCI intended to release the report’s Executive Summary and Findings

   and Conclusions publicly. Apr. 7, 2014 Letter, at 2. While this letter granted the President

   discretion in selecting which agencies ought to receive the report, the SSCI’s decision to release

   portions of the report while limiting circulation of other portions underscored its continuing

   exercise of control.

          Finally, on December 10, 2014, the SSCI sent President Obama a final version of the report.

   Dec. 10, 2014 Letter. In the accompanying letter, Senator Feinstein stated that “the full report

   should be made available within the CIA and other components of the Executive Branch for use

   as broadly as appropriate to help make sure that this experience is never repeated.” Id. at 1. She

   encouraged the President to use “the full report in the future development of CIA training

   programs, as well as future guidelines and procedures for all Executive Branch employees, as you

   see fit.” Ibid. Here again, Congress expanded the President’s discretion over use of the report

   within the Executive Branch. Affording discretion, though, is not the same as surrendering control.

   Like the earlier letters, this letter gave congressional directions concerning the permissible uses of



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   the report, by specifying purposes for which the report was to be used and establishing or implying

   limits to the Executive Branch’s ability to dispose of the document as it wished. Without more,

   these letters do not “vitiate the command of the June 2009 Letter.” ACLU v. CIA, 823 F.3d at 667.

           Mr. Cox also argues that Senator Feinstein’s subsequent letters show that Congress

   abandoned control over the SSCI report. Pl.’s Mem. in Opp’n 25-29. However, the subsequent

   letters are not probative. After Senator Burr replaced Senator Feinstein as SSCI Chair in 2015, the

   two senators sent dueling missives to various agencies. Compare Jan. 14, 2015 Letter and Wall

   Email with Jan. 16, 2015 Letter, Lynch Letter I, Ferriero Letter, Lynch Letter II, and Sessions

   Letter. Describing the report “a highly classified and committee sensitive document,” Senator

   Burr directed that it “should not be entered into any Executive Branch system of records.” Jan.

   14, 2015 Letter. Senator Feinstein and several others, meanwhile, urged Attorney General Jeff

   Sessions to “establish the [report] as an agency record pursuant to FOIA.” Sessions Letter, at 2.

   Later, Senator Burr reiterated his request that Executive Branch agencies return all copies of the

   SSCI report, again indicating that he continued to view the report as a congressional document.

   Stein Decl. ¶ 12; Wall Email. These contradictory letters do not offer a clear indication of

   subsequent congressional intent either to assert control over the report or to relinquish it after 2014.

           By that same token, Mr. Cox’s arguments concerning whether the White House established

   the report as a “presidential record” or the National Archives established it as a “federal record”

   are beside the point. Pl.’s Mem. in Opp’n 13, 15-19, 33; Pl.’s Reply 2, 7-8. Whether a document

   is a presidential record or federal record does not determine whether it is also an “agency record”

   under FOIA. Compare 44 U.S.C. §§ 2201, 2203 (presidential records) and 44 U.S.C. § 3303 et

   seq. (federal records) with 5 U.S.C. §§ 551, 552 (FOIA).




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          In sum, as the D.C. Circuit concluded, Congress asserted control over the SSCI report and

   its drafts in 2009. ACLU v. CIA, 823 F.3d at 667-68. The subsequent letters on which plaintiffs

   relied did not “vitiate the command of the June 2009 Letter.” Id. at 663. As a result, neither the

   final SSCI report nor drafts of that report are agency records subject to FOIA.

          C.      Mr. Cox is not entitled to excerpts or quotations of the SSCI report contained
                  in agency records.

          Since the sections of the SSCI report and its drafts that are quoted in agency documents

   also fall outside of FOIA, Mr. Cox’s claims for “portions” of the report “that have been cut and

   pasted into, or quoted in,” other agency documents are also denied. DOJ FOIA Request (3); accord

   FBI FOIA Request (3); DOD FOIA Request (3); ODNI FOIA Request (2); State FOIA Request

   (2). Judicial Watch looks to “manifest[ations]” of congressional intent, not the actions of agencies,

   in determining what qualifies as an “agency record.” ACLU v. CIA, 823 F.3d at 663. Congress’s

   intent to control a document is not affected by an agency’s decision to quote or embed that

   congressional document within an agency report. Indeed, respect for congressional prerogatives

   dictates that even a portion of an agency-created document that merely reveals the content of a

   congressional document becomes a “congressional document[] not subject to FOIA.” United We

   Stand Am., Inc., 359 F.3d at 603. That conclusion comports with the principles of constitutional

   avoidance that underlie Judicial Watch. Permitting an agency to turn any congressional document

   into an agency record by copying it would hamper Congress’s ability to engage in oversight while

   still maintaining control over its documents. Congress would be “forced either to surrender its

   constitutional prerogative of maintaining secrecy, or to suffer an impairment of its oversight role.”

   Goland, 607 F.2d at 346. As the D.C. Circuit has explained, constitutional avoidance counsels

   against a construction of the term “agency record” that would put Congress to such a choice.




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   Doyle, 959 F.3d at 77. Accordingly, Mr. Cox is not entitled to portions of the draft or final SSCI

   report that are quoted in agency documents.

          The same is true of the SSCI report copy that Mr. Cox alleges the DOD uploaded onto its

   network. See Pl.’s Mem. in Opp’n 20. Just as an agency cannot convert a portion of a

   congressional record into an agency record by copying it, neither can it convert it by copying the

   whole record. The dispositive question remains Congress’s intent to control a document it created,

   and as explained previously, the record indicates that Congress intended to control the report. See

   pages 12-17, supra.

          Finally, insofar as Mr. Cox recasts his FOIA inquiry as a request for agency records quoting

   the SSCI report rather than for the actual quotations themselves, see Second Am. Compl. ¶¶ 45,

   66, 81, 95, 107; Pl.’s Mem. in Opp’n 38-40; Pl.’s Reply 3-4, Mr. Cox is not entitled to those

   materials in this lawsuit. Mr. Cox’s FOIA requests sought “portions of the SSCI Report on Torture

   that have been cut and pasted into, or quoted in,” agency records, DOJ FOIA Request (3); accord

   FBI FOIA Request (3); DOD FOIA Request (3); ODNI FOIA Request (2); State FOIA Request

   (2), but did not seek agency records themselves. Section 552 only authorizes district courts to

   order the production of agency records “improperly withheld.” 5 U.S.C. § 552(a)(4)(B). Since

   Mr. Cox never requested agency records containing these excerpts, the agencies cannot be said to

   have “improperly withheld” them. Ibid. Therefore, the Court lacks the power to compel their

   production. See Willis v. U.S. Dep’t of Just., 581 F. Supp. 2d 57, 68 (D.D.C. 2008).

          In sum, I grant defendants summary judgment on all of Mr. Cox’s requests for the final

   report, its drafts, and excerpts. These include Mr. Cox’s DOJ requests (1)-(4), FBI requests (1)-

   (4), DOD requests (1)-(4), ODNI requests (1)-(3), and State requests (1)-(3).




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III.          Defendants Sufficiently Explain the Withholding of Information in the FBI Records

              Defendants are also entitled to summary judgment on Mr. Cox’s challenge to the

   withholding of information in the requested FBI records. Mr. Cox initially sought FBI records

       discussing copies of the SSCI report “previously in Department of Justice possession that were . . .

       disposed of” and records “regarding how the Department of Justice or . . . other entities should

       handle or treat copies” of the report. FBI Requests (5)-(6). In response, the FBI has produced 154

       pages of documents.      The FBI and CIA redacted 144 pages pursuant to FOIA’s statutory

       exemptions. Seidel Decl. ¶ 17.

              Mr. Cox did not contest the adequacy of the FBI’s search. See Pl.’s Mem. in Opp’n to

       Defs.’ First Mot. for Summ. J. 24 (Dkt. #52-10) (“Pl.’s First Mem. in Opp’n”). And in response

       to defendants’ first motion for summary judgment, Mr. Cox relinquished his opposition to their

       assertions of Exemptions 6, 7(C), 1 and 7(E). Id. at 35; Pl.’s Sur-Reply 10 (Dkt. #52-37). He also

       dropped his opposition to defendants’ redactions pursuant to Exemption 3, except in Cox-30. Pl.’s

       First Mem. in Opp’n 27. However, Judge Mauskopf denied defendants summary judgment on Mr.

       Cox’s fifth and sixth FBI requests because defendants did not explain their redactions pursuant to

   Exemptions 1 and 5 with sufficient specificity. Mem. & Order 49 & 52. Defendants supplemented

   their filings and also produced one more document, Cox-181. They now move again for summary

   judgment. Mr. Cox focuses his opposition to the redactions to Cox-30, and he does not contest the

   redactions to Cox-181. See Pl.’s Mem. in Opp’n 42-43 & n.23.



     While Mr. Cox does not appear to have explicitly abandoned his challenge to the assertions of Exemption 7(C),
       1

   Judge Mauskopf determined that he had, see Mem. & Order 27 (“[I]n his opposition and sur-reply, [Mr.] Cox
   withdr[e]w any challenges to the Agencies’ withholdings pursuant to exemption[] . . . seven.”), and Mr. Cox has not
   challenged her conclusion or renewed his opposition to the exemption’s assertion. Therefore, the Court “adhere[s]
   to” Judge Mauskopf’s ruling and treats this challenge as abandoned. Vaughn v. Phoenix House N.Y. Inc., 957 F.3d
   141, 146-47 (2d Cir. 2020) (“[W]hen a court has ruled on an issue, that decision should generally be adhered to by
   that court in subsequent stages in the same case unless cogent and compelling reasons militate otherwise.” (quotations
   omitted)).

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          Since Mr. Cox does not oppose the redactions to Cox-181, the Court grants defendants

   summary judgment on Cox-181 as unopposed. With their supplement filings, defendants also

   carry their burden on the remaining contested documents. Therefore, the Court grants defendants

   summary judgment on Mr. Cox’s FBI requests (5) and (6) and declines to conduct an in camera

   review of Cox-30.

          A. The FBI and CIA now adequately explain the assertions of FOIA Exemptions 1,
             3, and 5.

          Mr. Cox’s only remaining challenge is to the FBI’s and CIA’s withholding of FBI materials

   pursuant to FOIA Exemptions 1 and 5 and the withholding of information in Cox-30 pursuant to

   Exemption 3.

          A court reviews an agency’s decision to withhold information de novo.            5 U.S.C.

   § 552(a)(4)(B); U.S. Dep’t of Just. v. Reporters Comm. for Freedom of the Press, 489 U.S. 749,

   755 (1989). The agency bears the burden of justifying its withholding, U.S. Dep’t of State v. Ray,

   502 U.S. 164, 174 (1991), and “[a]ll doubts are resolved in favor of disclosure,” Bloomberg, L.P.

   v. Bd. of Govs. of the Fed. Rsrv. Sys., 601 F.3d 143, 147 (2d Cir. 2010) (brackets and quotations

   omitted). To meet its burden, an agency may produce “[a]ffidavits or declarations . . . giving

   reasonably detailed explanations why any withheld documents fall within an exemption.” N.Y.

   Times v. CIA, 965 F.3d 109, 114 (2d Cir. 2020) (quotations omitted). Such affidavits and

   declarations “are accorded a presumption of good faith,” and if “reasonably detailed,” “suffic[e]

   to sustain the agency’s burden” at summary judgment. Ibid. (quotations omitted)

          “[W]hen the information requested concerns national security,” as it does here, “courts

   must accord substantial weight to an agency’s affidavit concerning the details of the classified

   status of the disputed record.” Ibid. (quotations omitted; emphasis in original). “Ultimately, an




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   agency’s justification for invoking a FOIA exemption is sufficient if it appears logical or

   plausible.” Ibid. (quoting Wilner v. NSA, 592 F.3d 60, 75 (2009)).

          B.      Defendants adequately explain their assertions of of Exemption 5.

          Applying these principles, the FBI and CIA have met their burden in explaining their

   application of Exemption 5 to the FBI materials. Section 552(b)(5) exempts from disclosure

   “inter-agency or intra-agency memorandums or letters that would not be available by law to a party

   other than an agency in litigation with the agency.” 5 U.S.C. § 552(b)(5). This exemption

   “withholds from a member of the public documents which a private party could not discover in

   litigation with the agency.” Dep’t of Interior v. Klamath Water Users Protective Ass’n, 532 U.S.

   1, 8 (2001) (quoting NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 148 (1975)). Included in this

   exemption is information that would be shielded by attorney-client privilege, Tigue v. U.S. Dep’t

   of Just., 312 F.3d 70, 76 (2d Cir. 2002), and the deliberative-process privilege, Klamath Water

   Users Protective Ass’n, 532 U.S. at 8.

          Attorney-client privilege “promote[s] open communication between attorneys and their

   clients so that fully informed legal advice may be given.” Nat’l Council of La Raza v. DOJ, 411

   F.3d 350, 360 (2d Cir. 2005) (quotations omitted). It protects “communications (1) between a

   client and his or her attorney (2) that are intended to be, and in fact were, kept confidential (3) for

   the purpose of obtaining or providing legal assistance.” Brennan Ctr. for Just. at N.Y. Univ. Sch.

   of L. v. DOJ, 697 F.3d 184, 207 (2d Cir. 2012) (quotations omitted). However, while the privilege

   “protects most confidential communications between government counsel and their clients that are

   made for the purpose of obtaining or providing legal assistance,” it “may not be invoked to protect

   a document adopted as, or incorporated by reference into, an agency’s policy.” Brennan Ctr. for

   Just. at N.Y. Univ. Sch. of L., 697 F.3d at 207 (quotations omitted).



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          The deliberative-process privilege protects those documents that “reflect[] advisory

   opinions, recommendations and deliberations comprising part of a process by which governmental

   decisions and policies are formulated.” Klamath Water Users Protective Ass’n, 532 U.S. at 8.

   Recognizing that “officials will not communicate candidly among themselves if each remark is a

   potential item of discovery and front page news,” this privilege “enhance[s] the quality of agency

   decisions by protecting open and frank discussion among those who make them within the

   [g]overnment.” Id. at 8-9 (internal quotations omitted). Documents qualify for this privilege if

   they are “both predecisional and deliberative.” Grand Cent. P’ship, Inc. v. Cuomo, 166 F.3d 473,

   482 (2d Cir. 1999) (quotations omitted). “Generally, ‘documents are predecisional if they were

   generated before the agency’s final decision on a matter, and they are deliberative if they were

   prepared to help the agency formulate its position.’” NRDC v. EPA, 19 F.4th 177, 184 (2d Cir.

   2021) (brackets omitted) (quoting U.S. Fish & Wildlife Serv. v. Sierra Club, Inc., 141 S. Ct. 777,

   786 (2021)). Predecisional documents are those created “to assist an agency decisionmaker in

   arriving at his decision.” ACLU v. NSA, 925 F.3d 576, 592 (2d Cir. 2019) (quotations omitted).

   To determine whether a document is deliberative, the court examines “whether the document was

   prepared to help the agency formulate its position, by analyzing if it reflects the give-and-take of

   the consultative process.” NRDC v. EPA, 19 F.4th at 184 (quotations omitted). The “key question”

   when evaluating assertions of the deliberative-process privilege is “whether disclosure would tend

   to diminish candor within an agency.” Id. at 185 (quotations omitted).

          The FBI and CIA have adequately explained the withholding of FBI records pursuant to

   Exemption 5. The FBI and CIA withheld information in twenty-four and twenty FBI documents

   respectively on the basis of this exemption. See Seidel Decl. ¶¶ 18, 19 & n.5; id. Ex. A (“FBI

   Vaughn Index”); Blaine Decl. Attachment A (“CIA Vaughn Index”). The FBI has categorized the



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   produced records into four categories: emails, letterhead memoranda, handwritten notes, and a

   white paper. Seidel Decl. ¶ 20. Its Vaughn index describes each document produced or withheld

   and the nature of the exempt information in each document. Ibid.; see generally FBI Vaughn

   Index. The Seidel Declaration also include a detailed explanation of the FBI’s redactions pursuant

   to Exemption 5. Seidel Decl. ¶¶ 37-62.

          The subject matter of the materials withheld under deliberative-process privilege ranges

   from “suggested language changes, redactions and classification recommendations” for the SSCI

   report, id. ¶ 47, to “how best to address important revisions to a sensitive program run by another

   intelligence agency,” id. ¶ 59. The FBI also withheld information pursuant to the attorney-client

   privilege on a variety of matters—for example, advice on the legality of “the application of an

   investigative technique.” Id. ¶ 44. These topics are related to each document in the Vaughn index.

   Through the Seidel Declaration and the FBI Vaughn index, the FBI has sufficiently explained its

   assertions of Exemption 5.

          The same is true of the CIA’s assertions of Exemption 5. The Blaine Declaration explains

   in detail the information withheld under this exemption. Under attorney-client privilege, the CIA

   withheld communications offering legal advice that the FBI had solicited. Blaine Decl. ¶ 33. The

   CIA also exempted, for example, information in “inter-agency communications related to the

   process by which the CIA and other Executive Branch agencies agreed to declassify certain

   national security information” in the SSCI report’s Executive Summary, id. ¶ 34, as well as

   “requests and proposals for the distribution of the final report,” id. ¶ 36. As the CIA explains,

   none of the withheld information reflects “final decisions.” Ibid. Furthermore, the CIA describes

   the withholdings for each document in detail in its Vaughn index. See generally CIA Vaughn

   Index. This index can be cross-referenced with the disclosed documents, which are available as



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   an attachment to the Seidel Declaration. See Seidel Decl. Ex. B. Based on the declarations and

   the CIA’s Vaughn index, the CIA has sufficiently explained its assertions of Exemption 5.

          Mr. Cox only specifically challenges defendants’ application of Exemption 5 to Cox-30,

   and these fall short. This document, an email chain with the subject line “RE: Hard Bound Copies

   of the SSCI Reports,” contains redactions by both the FBI and CIA. See Cox-30, Seidel Decl. Ex.

   B (“Cox-30”). The FBI explains that it asserted Exemption 5 in connection with Cox-30 because

   that document contains “deliberations between FBI employees concerning the SSCI report, and

   communications between FBI employees discussing requests and proposals for distribution of the

   final report.” FBI Vaughn Index. The FBI also explains that these deliberations “predate a final

   decision regarding the handling of the report” and do not reflect any “final decision[].” Ibid.

   Failure to protect these deliberations, the FBI warns, would “make FBI employees much more

   hesitant to provide their candid opinions when proposing actions or developing new FBI policies

   or procedures.” Ibid. The CIA, for its part, asserts Exemption 5 to “protect pre-decisional and

   deliberative information regarding the handling of and access to the final SSCI report,” squaring

   cleanly with the FBI’s statement. CIA Vaughn Index.

          These “reasonably detailed explanations” are “‘logical [and] plausible.’” N.Y. Times v.

   CIA, 965 F.3d at 114 (quoting Wilner, 592 F.3d at 75)). The release of predecisional deliberations

   concerning the appropriate handling of a sensitive, highly classified report might well chill internal

   agency deliberations. Here, “whether disclosure would tend to diminish candor within an agency”

   is the “key question,” and disclosing deliberations concerning how to handle a sensitive, highly

   classified report might well “diminish candor” in the future. NRDC v. EPA, 19 F.4th at 185

   (internal quotations omitted).




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          Mr. Cox argues that the FBI’s and CIA’s explanations of their Exemption 5 redactions to

   Cox-30 conflict, since the CIA describes Cox-30 as discussing “inter-agency deliberations”

   whereas the FBI states that Cox-30 consists of emails between “FBI employees.” Pl.’s Mem. in

   Opp’n 44-45 (emphasis omitted). He also suggests that the “brevity of this email exchange and

   the pedestrian nature of the subject line also raise questions about whether this could really

   constitute deliberative material.” Id. at 45. These arguments lack merit. First, the CIA’s and

   FBI’s descriptions are not contradictory. To begin, the CIA—like the FBI—describes Cox-30 as

   “[e]mail between FBI employees.” CIA Vaughn Index. Furthermore, it is entirely “plausible” and

   “logical,” N.Y. Times v. CIA, 965 F.3d at 114 (quotations omitted), that FBI employees might

   discuss “inter-agency deliberations” internally, and that the “distribution of the final report” might

   implicate “inter-agency deliberations,” FBI Vaughn Index. And Mr. Cox’s argument that the

   brevity of the exchange and its subject line raise doubts that it “could really constitute deliberative

   material” is entirely speculative. Pl.’s Mem. in Opp’n 45. Applying the presumption of good faith

   to which the agencies’ declarations are entitled, N.Y. Times v. CIA, 965 F.3d at 114, the

   declarations sufficiently explain the agencies’ assertions of Exemption 5.

          C.      The agencies also adequately explain their assertions of Exemption 1.

          Further, the agencies have adequately explained their assertions of Exemption 1.

          Exemption 1 permits agencies to withhold records “(A) specifically authorized under

   criteria established by an Executive order to be kept secret in the interest of national defense or

   foreign policy and (B) are in fact properly classified pursuant to such Executive order.” 5 U.S.C.

   § 552(b)(1). Executive Order No. 13,526 permits the classification of information pertaining to

   “intelligence sources or methods” or “foreign relations or foreign activities of the United States”

   when an “original classification authority determines that the unauthorized disclosure of the

   information reasonably could be expected to result in damage to the national security.” Exec.
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   Order No. 13,526 §§ 1.1(a)(3)-(4), 1.4(c)-(d), 75 Fed. Reg. 707, 707, 709 (Dec. 29, 2009). Since

   information classified pursuant to Exemption 1 “concerns national security,” the Court “must

   accord substantial weight to an agency’s affidavit concerning the details of the classified status of

   the disputed record.” N.Y. Times v. CIA, 965 F.3d at 114 (quotations omitted; emphasis in

   original).

           The FBI and CIA withheld information in nineteen documents pursuant to Exemption 1.

   See Seidel Decl. ¶¶ 26, 33; FBI Vaughn Index; CIA Vaughn Index. The agencies’ declarants, FBI

   Section Chief Michael G. Seidel and CIA Officer Vanna Blaine, are original classification

   authorities under Executive Order 13,526. Seidel Decl. ¶ 2; Blaine Decl. ¶ 3. Both officers

   reviewed the exempted information and determined that it was appropriately classified pursuant

   to the executive order. Seidel Decl. ¶¶ 24-25; Blaine Decl. ¶ 13. The subject matter of the FBI

   redactions includes topics ranging from the FBI’s “intelligence methods” to information that could

   identify the “target of foreign counterintelligence/espionage investigation.” Seidel ¶¶ 26, 30. The

   FBI’s Vaughn index identifies the information withheld in each document. FBI Vaughn Index.

   The FBI has met its burden with respect to its assertions of Exemption 1, because it has offered

   “reasonably detailed explanations” of why the withheld information “fall[s] within an exemption.”

   N.Y. Times v. CIA, 965 F.3d at 114.

           So has the CIA. As the Blaine Declaration explains, “[a]ll classified information for which

   the CIA has asserted Exemption (b)(1) constitutes intelligence sources and methods information.”

   Blaine Decl. ¶ 14. FBI documents that the CIA redacted “contain the names of CIA personnel

   associated with the CIA’s former detention and interrogation program,” the location of field

   installations, codewords, and information about intelligence sources, methods, and activities. Id.

   ¶ 18; see id. ¶ 18-31. The CIA’s Vaughn index, in turn, identifies the information withheld in each



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   document with reasonable specificity. CIA Vaughn Index. In sum, the CIA’s submissions offer

   “plausible” and “logical” explanations of its assertions of the exemption. N.Y. Times v. CIA, 965

   F.3d at 114.

           Mr. Cox again focuses his opposition on Cox-30 alone. Pl.’s Mem. in Opp’n 42-43. The

   FBI makes no Exemption 1 redactions to this document. The CIA redacts one paragraph,

   explaining that it did so:

       to protect classified intelligence activities, sources and methods, and classified foreign activities of the CIA—

       includ[ing] category (i) information regarding personnel associated with the review of the former detention

       and interrogation program; and category (iii) information pertaining to specific intelligence activities,

       methods, and operations, including counterterrorism techniques.

   CIA Vaughn Index. This explanation is both “plausible” and “logical,” as emails concerning the

   report might include information about the CIA’s foreign intelligence activities. N.Y. Times v.

   CIA, 965 F.3d at 114. Furthermore, these claims are entitled to a presumption of good faith,

   Grand Cent. P’ship, Inc., 166 F.3d at 489, and given the subject matter, must be accorded

   “substantial weight,” N.Y. Times v. CIA, 965 F.3d at 114 (quotations and emphasis omitted).

   Accordingly, this description adequately justifies the CIA’s redaction of the single paragraph in

   Cox-30.

           Mr. Cox presents no persuasive arguments to the contrary. Mr. Cox first argues that the

   “inculpatory nature” of the SSCI report “creates an incentive for [d]efendants to conceal its

   contents,” and so the agencies’ assertions that materials are classified should be “approach[ed] . . .

   with caution.” Id. at 42. But an agency’s declarations are entitled to a presumption of good faith,

   rebuttable only when contradicted by evidence on the record or by a showing of bad faith. See

   N.Y. Times v. CIA, 965 F.3d at 114; accord Wilner, 592 F.3d at 69; Grand Cent. P’ship, Inc., 166

   F.3d at 489. The subject matter of the disclosures is not grounds for abandoning the presumption,


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   and Mr. Cox has not identified evidence contradicting the agencies’ assertions or showing bad

   faith in this litigation.

           Mr. Cox also asserts that it is “implausible” that an “exceedingly brief email exchange”

   could contain “information pertaining to specific intelligence activities, methods, and operations,

   including counterterrorism techniques” of the CIA. Pl.’s Mem. in Opp’n 43. But based on its

   subject line, this email thread discusses copies of the SSCI report, which itself details the CIA’s

   intelligence activities. Given the topic of this email thread, it seems entirely plausible that the FBI

   employees might have referred to the contents of the report, and that the report’s contents included

   “information pertaining to specific intelligence activities . . . including counterterrorism

   techniques.” CIA Vaughn Index.

           Finally, based on the subject line and timing of the email, Mr. Cox suggests that the CIA

   invoked the exemption to conceal misstatements to the D.C. Circuit. “[I]f,” Mr. Cox states, Cox-

   30 “were, for example, discussing FBI’s use of CIA copies” of the SSCI report, it “could” mean

   that a declaration filed by the DOJ in litigation was “technically true, but grossly misleading.”

   Pl.’s Mem. in Opp’n 44. These claims are entirely speculative, and the Court “cannot base [its]

   judgment on mere speculation.” Wilner, 592 F.3d at 75. Absent evidence of bad faith, the CIA is

   entitled to a presumption of good faith in its representations. Id. at 69 (citation omitted).

           Accordingly, I conclude that defendants have also met their burden as to Exemption 1.

           D.       The Court does not reach the CIA’s assertion of Exemption 3 for Cox-30.

           Because Exemption 1 and Exemption 5 adequately support all of the CIA’s redactions to

   Cox-30, the Court need not address Mr. Cox’s objections to the CIA’s assertion of Exemption 3

   as an additional ground for certain redactions. “[E]xemptions 1 and 3 are separate and independent

   grounds” to justify withholding information, Wilner, 592 F.3d at 72, and “courts may uphold

   agency action under one exemption without considering the applicability of the other,” ibid.
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      (quoting Larson v. Dep’t of State, 565 F.3d 857, 862-63(D.C. Cir. 2009)). Since the CIA has

      adequately justified its redactions to Cox-30 based on Exemption 1, the Court need not address the

      agency’s assertion of Exemption 3.

             E.      Mr. Cox’s request for in camera review is denied.

             Mr. Cox’s request for an in camera review of Cox-30 is denied. The Second Circuit has

      adopted a “restrained approach” to such review, Halpern v. FBI, 181 F.3d 279, 292 (2d Cir. 1999),

      directing that “[a] court should only consider information ex parte and in camera that the agency

      is unable to make public if questions remain after the relevant issues have been identified by the

      agency’s public affidavits and have been tested by plaintiffs,” Wilner, 592 F.3d at 75-76. “When

      the agency meets its burden by means of affidavits, in camera review is neither necessary nor

      appropriate.” Rutigliano v. U.S. Dep’t of Just., 847 F. App’x 86, 87 (2d Cir. 2021) (quoting

      Larson, 565 F.3d at 870) (summary order). Since the defendant agencies have adequately

      explained their redactions to Cox-30, see pages 20-29, supra, an in camera review of that

   document would not be “appropriate,” Rutigliano, 847 F. App’x at 87.

IV.          Mr. Cox’s Motion for Discovery Is Denied

             Finally, Mr. Cox’s motion for discovery is denied. In the context of FOIA, discovery is

      rarely warranted. See, e.g., Immerso v. U.S. Dep’t of Lab., No. 19-CV-3777 (NGG) (VMS), 2020

   WL 8996744, at *3 (E.D.N.Y. Mar. 2, 2020); Est. of Ghais Abduljaami v. U.S. Dep’t of State, No.

   14-CV-7902 (RLE), 2016 WL 94140, at *3 (S.D.N.Y. Jan. 7, 2016); N.Y. Times Co. v. U.S. Dep’t

   of the Treasury, No. 15-CV-5740 (ER), 2016 WL 4147223, at *5 (S.D.N.Y. Aug. 2, 2016) (citing

   Beltranena v. Clinton, 770 F. Supp. 2d 175, 187 (D.D.C. 2011)). To obtain discovery where, as

   here, the defendant agencies’ submissions “are adequate on their face,” Mr. Cox “must make a

   showing of bad faith on the part of the agency sufficient to impugn the agenc[ies’] affidavits or

   declarations, or provide some tangible evidence that an exemption claimed by the agenc[ies]

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   should not apply or summary judgment is otherwise inappropriate.” Carney v. U.S. Dep’t of Just.,

   19 F.3d 807, 812 (2d Cir. 1994) (citations omitted).

          Mr. Cox makes no such showing.           He identifies neither “contrary evidence,” nor

   representations or actions or statements “suggestive of bad faith.” Halpern, 181 F.3d at 292.

   Instead, his argument turns entirely on the idea that “[d]efendants’ heavily-lawyered declarations

   and cherry-picked documents” are insufficient to support summary judgment. Pl.’s Mem. in

   Opp’n 41. Rhetoric aside, Mr. Cox has the law backward. FOIA cases are “most appropriately

   resolved on motions for summary judgment” using precisely these sorts of documents, not through

   discovery. Robbins Geller Rudman & Dowd LLP v. U.S. Sec. & Exch. Comm’n, 419 F. Supp. 3d

   523, 530 (E.D.N.Y. 2019) (quoting Platsky v. Food & Drug Admin., No. 13-CV-6250 (SLT)

   (RLM), 2014 WL 7391611, at *3 (E.D.N.Y. Dec. 24, 2014), aff’d 642 Fed. Appx. 63 (2d Cir.

   2016), as amended (Jun. 21, 2016)). Without more than “purely speculative claims,” Mr. Cox is

   not entitled to discovery. Grand Cent. P’ship, Inc., 166 F.3d at 489 (quotations omitted).

                                            CONCLUSION

          Defendants’ motion for summary judgment is granted.           Plaintiff’s cross-motion for

   summary judgment is denied. Mr. Cox’s request for in camera review and his motion for discovery

   under Rule 56(d) are also denied. The Clerk of Court is respectfully directed to enter judgment

   and close the case.

          SO ORDERED.

                                                /s/ Rachel Kovner
                                                RACHEL P. KOVNER
                                                United States District Judge

   Dated: March 30, 2022
          Brooklyn, New York




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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

  SHAWN MUSGRAVE,

                         Plaintiff,
                                                            Civil Action No. 21-cv-2198 (BAH)
                         v.
                                                            Chief Judge Beryl A. Howell
  MARK WARNER, et al.,

                         Defendants.

                                              ORDER

         Upon consideration of defendants’ Motion to Dismiss, ECF No. 5, the memoranda

 submitted in support and opposition, the exhibits thereto, and the entire record herein, for the

 reasons stated in the accompanying Memorandum Opinion issued contemporaneously with this

 Order, it is hereby

        ORDERED that defendants’ Motion to Dismiss, ECF No. 5, is GRANTED and this case

 is DISMISSED WITHOUT PREJUDICE; it is further

        ORDERED that plaintiff’s Cross Motion for Partial Summary Judgment, ECF No. 15, is

 DENIED; and it is further

        ORDERED that the Clerk of Court shall close this case.

        SO ORDERED.

        Date: September 15, 2022

        This is a final and appealable Order.


                                                       __________________________
                                                       BERYL A. HOWELL
                                                       Chief Judge




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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


     SHAWN MUSGRAVE,

                             Plaintiff,                               Civil Action No. 21-cv-2198 (BAH)

                             v.                                       Chief Judge Beryl A. Howell

     MARK WARNER, et al.,

                             Defendants.

                                          MEMORANDUM OPINION

          Plaintiff Shawn Musgrave asserts that the common-law right to public access requires

 defendants, the Senate Select Committee on Intelligence (“SSCI” or “Committee”) and Mark

 Warner, in his capacity as the Chair of SSCI, to disclose, in full, the classified 2014 Senate

 Report 113-288, Report of the Senate Select Committee on Intelligence Committee Study of the

 Central Intelligence Agency’s Detention and Interrogation Program (“the Report”). See

 generally Compl., ECF No. 1. 1 According to plaintiff, defendants’ failure to produce, upon

 requested, the classified Report violates the common-law right of public access “to inspect and

 copy public records and documents.” Id. ¶ 7. Defendants move to dismiss the Complaint,

 pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defs.’ Mot. Dismiss (“Defs.’

 Mot.”), ECF No. 5, arguing that the Speech or Debate Clause and sovereign immunity bars the

 exercise of jurisdiction here and that no valid claim is presented, Defs.’ Mem. Supp. Mot.

 Dismiss (“Defs.’ Mem.”) at 1–2, ECF No. 5-1. Plaintiff moves for partial summary judgment



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         All references to the parties’ briefs and associated exhibits reflect the enumeration generated automatically
 by the Court’s Case Management/Electronic Case Filing (“CM/ECF”) system.


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 seeking “a declaratory judgment that the common law right of access applies to reports written

 by Committees of the U.S. Congress in appropriate circumstances.” Pl.’s Opp’n Defs.’ Mot.

 Dismiss (“Pl.’s Opp’n”) at 1, ECF No. 14; accord Pl.’s Mot. Partial Summ. J., ECF No. 15. For

 the reasons explained below, defendants’ motion is granted for lack of jurisdiction, requiring

 dismissal of the Complaint without prejudice.

     I.       BACKGROUND

          In December 2007, after a briefing from then-CIA Director Michael Hayden, the

 Committee ordered a review of the destruction of videotapes related to CIA interrogations of

 specific individuals. Report, Executive Summary at 8 (background on the Report); 2 Defs.’ Mem.

 at 4. That review proved extensive and led SSCI to deepen its evaluation into the destruction of

 videotapes related to CIA interrogations, which revealed that a broader study of the CIA’s

 detention and interrogation program at large was needed. Id. Consequently, on March 5, 2009,

 “against [the] backdrop [of September 11, 2001]—the largest attack against the American

 homeland in our history,” Compl. ¶ 17—SSCI approved a study into the CIA’s former program

 of detention and interrogation techniques with instructions that this examination be used “as

 broadly as appropriate to help make sure that this experience is never repeated,” id. ¶ 26; see

 Report at 8. SSCI’s study resulted in a report more than 6,700 pages long with approximately

 38,000 footnotes, that is “highly critical” of the CIA’s response to 9/11 and the agency’s actions

 taken “in the name of national security.” Compl. ¶¶ 16–18. The classified report, Senate Report

 113-288, was approved by SSCI on December 13, 2012. See Report at i. Senator Dianne




 2
           Citations to the Report throughout this Opinion reference the publicly released, redacted version of the
 classified Report, available at Press Release, U.S. Senate Select Comm. on Intel., Comm. Releases Study of the
 CIA’s Det. and Interrogation Program (Dec. 9, 2014), http://www.intelligence.senate.gov/press/committee-releases-
 study-cias-detention-and-interrogation-program.


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 Feinstein, then-Chair of SSCI, described the Report as “the most significant and comprehensive

 oversight report in [SSCI’s] history.” Compl. ¶ 23; accord Report, Foreword at 5.

        On December 9, 2014, the full Report was ordered to be printed and the 700-page

 declassified Executive Summary, Findings and Conclusions, and Additional and Minority Views

 were released to the public. Id. ¶ 16; see also Press Release, U.S. Senate Select Committee on

 Intelligence, Committee Releases Study of the CIA’s Detention and Interrogation Program (Dec.

 9, 2014), http://www.intelligence.senate.gov/press/committee-releases-study-cias-detention-and-

 interrogation-program. According to plaintiff, Senator Feinstein did not seek immediate

 declassification of the full Report because doing so for the “more than six thousand page report

 would have significantly delayed the release of the Executive Summary.” Compl. ¶ 21; accord

 Report, Foreword at 3. Plaintiff contends that “[a]lthough the Executive Summary provides

 sufficient detail to demonstrate the inaccuracies of each of the CIA’s claims,” the Report

 provided to the President and executive agencies “is far more extensive.” Compl. ¶ 20 (internal

 citations omitted).

        On January 14, 2015, Senator Richard Burr, Senator Feinstein’s successor as Chair of

 SSCI, requested that “all copies of the full and final report in the possession of the Executive

 Branch be returned immediately to the Committee.” ACLU v. CIA, 823 F.3d 655, 661 (D.C. Cir.

 2016); see also Compl. ¶ 27. Many executive-branch departments complied with Senator Burr’s

 request, see id. ¶ 29, and the Trump administration later provided the White House’s copies of

 the Report, see id. ¶ 30, but two copies were not returned to SSCI. Copies of the Report are

 maintained by the National Archives and Records Administration, as part of President Obama’s

 official presidential archive, and by a federal district court and the Department of Defense

 pursuant to Judge Lamberth’s order of preservation in connection with pending Guantanamo Bay




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 litigation. Id. ¶ 28; see also Al-Nashiri v. Obama, No. 08-cv-1207, Preservation Order, ECF No.

 268 (D.D.C. Dec. 28, 2016). According to plaintiff, the return of the Report by executive

 agencies “increase[d] the risk that future government officials, unable to read the report, will

 never learn its lessons.” Compl. ¶ 30.

          On June 4, 2021, plaintiff requested from SSCI a copy of the full Report because of the

 significant “public interest in disclosure,” id. ¶ 15, of a “critical piece of American history,” id.

 ¶ 34. SSCI denied his request. Id. ¶ 37. Plaintiff then filed this lawsuit on August 18, 2021,

 against SSCI and its current Chair, Senator Mark Warner, asserting a claim under the common-

 law right of access to public records, the Declaratory Judgment Act, 28 U.S.C. § 2201, and the

 All Writs Act, 28 U.S.C. § 1651. Compl. at 1.

          Defendants’ pending motion to dismiss and plaintiff’s cross-motion for partial summary

 judgment are now ripe for review.

    II.      LEGAL STANDARD

          “Article III of the Constitution prescribes that ‘[f]ederal courts are courts of limited

 subject-matter jurisdiction’ and ‘ha[ve] the power to decide only those cases over which

 Congress grants jurisdiction.’” Bronner v. Duggan, 962 F.3d 596, 602 (D.C. Cir. 2020)

 (alterations in original) (quoting Al-Zahrani v. Rodriguez, 669 F.3d 315, 317 (D.C. Cir. 2012));

 see Gunn v. Minton, 568 U.S. 251, 256 (2013) (“‘Federal courts are courts of limited

 jurisdiction,’ possessing ‘only that power authorized by [the] Constitution and statute.’” (quoting

 Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994))). Federal courts therefore

 have a corresponding “independent obligation to ensure that they do not exceed the scope of

 their jurisdiction” and “must raise and decide jurisdictional questions that the parties either

 overlook or elect not to press.” Henderson v. Shinseki, 562 U.S. 428, 434 (2011). Absent




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 subject-matter jurisdiction over a case, the court must dismiss it. See Arbaugh v. Y&H Corp.,

 546 U.S. 500, 506–07 (2006) (citing Kontrick v. Ryan, 540 U.S. 443, 455 (2004)); FED. R. CIV.

 P. 12(h)(3).

           To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(1), the

 plaintiff bears the burden of demonstrating the court’s subject-matter jurisdiction over the claim

 at issue. Arpaio v. Obama, 797 F.3d 11, 19 (D.C. Cir. 2015). When considering a motion to

 dismiss under Rule 12(b)(1), the court must determine jurisdictional questions by accepting as

 true all uncontroverted material factual allegations contained in the complaint and “‘constru[ing]

 the complaint liberally, granting plaintiff the benefit of all inferences that can be derived from

 the facts alleged.’” Hemp Indus. Ass’n v. DEA, 36 F.4th 278, 281 (D.C. Cir. 2022) (quoting Am.

 Nat’l Ins. Co. v. FDIC, 642 F.3d 1137, 1139 (D.C. Cir. 2011) (citations omitted)). The court

 need not accept inferences drawn by the plaintiff, however, if those inferences are unsupported

 by facts alleged in the complaint or amount merely to legal conclusions. Id. at 288 (making clear

 that liberally construing complaint in plaintiff’s favor “does not entail accept[ing] inferences

 unsupported by facts or legal conclusions cast in the form of factual allegations” (internal

 quotations and citations omitted)); see also Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir.

 2002).

    III.      DISCUSSION

           Defendants argue that the Court lacks jurisdiction over this case for two reasons: first,

 “the SSCI Report constitutes a Senate committee’s communication to the Senate on a matter

 within the legislative sphere, and, therefore, the Committee and its Chairman are absolutely

 protected from compelled disclosure of the Report by the Speech or Debate Clause,” Defs.’

 Mem. at 8; and, second, “[b]oth SSCI, as a congressional committee, and Senator Warner, as a




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 Senator and as the Chairman of SSCI sued in his official capacity, are covered by sovereign

 immunity,” id. at 13. Plaintiff counters that neither form of immunity applies, see Pl.’s Opp’n at

 2–7, 15–18, and instead that the common-law right of access permits disclosure of the full

 Report in this instance, id. at 7–15, 18–20. Each argument is addressed in turn. 3

          A.       Speech or Debate Clause

          Plaintiff’s demand for disclosure of the Report is barred by the Speech or Debate Clause,

 which provides that “Senators and Representatives . . . for any Speech or Debate in either

 House . . . shall not be questioned in any other Place.” U.S. CONST., art. I, § 6, cl. 1. This Clause

 creates “absolute immunity from civil suit.” Rangel v. Boehner, 785 F.3d 19, 23 (D.C. Cir.

 2015) (citing Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 502–03 (1975)). The purpose

 of such immunity “is to protect the individual legislator, not simply for his own sake, but to

 preserve the independence and thereby the integrity of the legislative process.” United States v.

 Brewster, 408 U.S. 501, 524 (1972); see also Eastland, 421 U.S. at 502 (“The purpose of the

 Clause is to insure that the legislative function the Constitution allocates to Congress may be

 performed independently.”); Rangel, 785 F.3d at 23 (“The Clause reflects the Founders’ belief in

 legislative independence.”). As it safeguards legislative independence, the Clause also “‘serves

 the additional function of reinforcing the separation of powers so deliberately established by the




 3
           Defendants also argue that plaintiff fails to state a claim, warranting dismissal under Federal Rule of Civil
 Procedure 12(b)(6), “for two reasons: (1) the common law right does not apply to documents of a House of
 Congress; and, even if it did, (2) the classified SSCI Report is not subject to compelled disclosure under the
 standards of [the common-law right of access] doctrine.” Defs.’ Mem. at 20. Except to the extent these arguments
 are intertwined with the jurisdictional analysis, see infra Part III.B.2(b)–(c), they need not be addressed since the
 complaint is dismissed for lack of subject-matter jurisdiction. See Al-Tamimi v. Adelson, 916 F.3d 1, 7 (D.C. Cir.
 2019) (finding that district court properly considered jurisdictional issue “before considering whether dismissal for
 failure to state a claim was appropriate under Fed. R. Civ. P. 12(b)(6)”); see also Steel Co. v. Citizens for a Better
 Env’t, 523 U.S. 83, 94 (1998) (quoting Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514 (1868)) (“‘Jurisdiction is
 power to declare the law, and when it ceases to exist, the only function remaining to the court is that of announcing
 the fact and dismissing the cause.’”).


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 Founders.’” Eastland, 421 U.S. at 502 (quoting United States v. Johnson, 383 U.S. 169, 178

 (1966)).

        “Without exception,” the Supreme Court “ha[s] read the Speech or Debate Clause

 broadly to effectuate its purposes.” Eastland, 421 U.S. at 501; see also Judicial Watch, Inc. v.

 Schiff, 998 F.3d 989, 991 (D.C. Cir. 2021). Therefore, “although [the Clause] speaks of ‘Speech

 or Debate,’ it extends to protect all ‘legislative acts.’” Id. (quoting Doe v. McMillan, 412 U.S.

 306, 312 (1973)). When “it is determined that Members are acting within the ‘legitimate

 legislative sphere[,]’ the Speech or Debate Clause is an absolute bar to interference.” Eastland,

 421 U.S. at 503 (quoting McMillan, 412 U.S. at 314)).

        To be considered within the “legislative sphere” for purposes of the Clause, a given

 activity “must be an integral part of the deliberative and communicative processes by which

 Members participate in committee and House proceedings with respect to the consideration and

 passage or rejection of proposed legislation or with respect to other matters which the

 Constitution places within the jurisdiction of either House.” Gravel v. United States, 408 U.S.

 606, 625 (1972). Under this standard, “authorizing an investigation pursuant to which the

 subject materials were gathered” qualifies for protection, McMillan, 412 U.S. at 313, and as the

 Supreme Court has explained, that function is an “integral part of the legislative process,”

 Eastland, 421 U.S. at 505. The Clause also applies to a legislative act even when “a plaintiff

 alleges that [the act] violated the House Rules . . . or even the Constitution.” Rangel, 785 F.3d at

 24 (citing Kilbourn v. Thompson, 103 U.S. 168, 203 (1880), and McMillan, 412 U.S. at 312–13).

 “Such is the nature of absolute immunity, which is—in a word—absolute.” Id. (citing Bogan v.

 Scott-Harris, 523 U.S. 44, 54–55 (1998).




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        As applied to the Report, the Speech or Debate Clause completely bars plaintiff’s suit.

 “[T]he power to investigate is inherent in the power to make laws because ‘a legislative body

 cannot legislate wisely or effectively in the absence of information respecting the conditions

 which the legislation is intended to affect or change.’” Eastland, 421 U.S. at 504 (citing

 McGrain v. Daugherty, 273 U.S. 135, 175 (1927)). The Report, a product of a comprehensive

 Senate investigation, “is related to and in furtherance of a legitimate task of Congress”—to

 propose legislation based on accurate, well-researched, and complete information in an area of

 public interest. Id. at 505; see, e.g., McMillan, 412 U.S. at 313 (“The acts of authorizing an

 investigation pursuant to which the subject materials were gathered, . . . preparing a report where

 [investigative materials] were reproduced, and authorizing the publication and distribution of that

 report were all integral parts of the deliberative and communicative processes” that define a

 legislative act). The Report not only summarizes the results of the investigation, but it also

 includes the recommendations and minority opinions of various Committee members, Report at

 500–683, thereby representing the “collective expressions of opinion within the legislative

 process” that is “protected by the Speech or Debate Clause.” Hutchinson v. Proxmire, 443 U.S.

 111, 133 (1979). Although “there need be no predictable end result” of a congressional

 investigation or committee report for Speech or Debate immunity to apply, see Eastland, 421

 U.S. at 509, defendants confirm that “the Senate enacted legislation containing limitations on

 interrogation techniques used upon detainees” within a year of the full Report’s release to the

 Senate. Defs.’ Reply Mem at 9 n.4, ECF No. 17 (citing National Defense Authorization Act for

 FY 2016, Pub. L. No. 114-92, § 1045, 129 Stat. 726, 977 (2015)). The Report is thus an act of

 Congress “done in a session . . . in relation to the business before it,” and nothing about the

 Report removes the absolute bar to suit that the Speech or Debate Clause confers. Gravel, 408




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 U.S. at 624. See also McMillan, 412 U.S. at 312–13 (suit concerning House report on

 investigation into D.C. school system barred by Speech or Debate Clause).

          Plaintiff’s opposition to application of Speech or Debate immunity stems from the

 concurring opinion in Judicial Watch, 998 F.3d 989 (D.C. Cir. 2021). Relying on that

 concurrence, plaintiff argues that Speech or Debate Clause immunity does not apply in all

 circumstances and that the Court must perform a “fact-dependent inquiry” into whether the

 Clause applies here. Pl.’s Opp’n at 15–17; Pl.’s Reply Mem. at 2–3, ECF No. 20. 4 Plaintiff

 urges that the factual context of the Report places this suit outside of the Clause’s immunity

 because, “[w]hile information about how the Committee wrote the report would arguably still be

 protected by the Speech or Debate Clause, the report itself would not” because it is a public

 record. Pl.’s Opp’n at 17 (emphasis in original). To the extent that the disaggregation plaintiff

 envisions is possible, plaintiff’s argument is nonetheless unconvincing. The Court is bound by

 the law of the D.C. Circuit’s majority opinion in Judicial Watch, which held that the Speech or

 Debate Clause provided absolute immunity against a suit seeking disclosure of subpoenas and

 responsive materials to those subpoenas brought pursuant to the common-law right of access. Id.

 at 992. That same reasoning and result applies here. 5


 4
            Plaintiff further uses Gravel v. United States to support his argument that application of the Speech or
 Debate Clause turns on specific facts that must first go through the “Gravel filter.” See Pl.’s Opp’n at 17. That
 comparison is misguided. The Supreme Court in Gravel held that the Clause did not protect U.S. Senator Gravel
 from liability because the act in question was not deliberative and thus “not part and parcel of the legislative
 process.” Gravel, 408 U.S. at 626. That conclusion aligns with the absolute immunity the Speech or Debate Clause
 confers over acts conducted in the “legislative sphere.” Eastland, 421 U.S. at 503; see also Gravel, 408 U.S. at 625.
 Thus, the “Gravel filter” to which plaintiff cites, is a fiction.
 5
            Plaintiff draws attention to an amicus filing in ACLU v. CIA—a FOIA case seeking disclosure of the Report
 from the CIA—that he argues shows SSCI’s lack of “inten[t] to maintain control over” the Report as support for
 removing any Speech or Debate immunity here. Pl.’s Opp’n at 19. That argument is unfounded. The D.C. Circuit
 expressly rejected amicus’s argument in ACLU v. CIA and specifically held that SSCI “intended to control any and
 all of its work product, including the Full Report, emanating from its oversight investigation of the CIA.” 823 F.3d
 at 665. The Circuit cited to then-SSCI Chair Feinstein’s statements regarding the Report’s release, explaining that,
 at the time of the Report’s drafting, the Committee was yet to determine “if and when to publicly disseminate the
 Full Report.” Id. at 667. Moreover, the Supreme Court in Eastland rejected a similar argument as “view[ing] the
 scope of the privilege too narrowly.” 421 U.S. at 508. Specifically, the Court reasoned that “in determining the


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          Consequently, the Speech or Debate Clause bars this lawsuit because the Report at issue

 was an “integral part” of examining the CIA’s detention and interrogation program, a “matter[]

 which the Constitution places within the jurisdiction of either House.” Gravel, 408 U.S at 625. 6

 This case must therefore be dismissed. See, e.g., Judicial Watch, 998 F.3d at 993 (majority

 resolving case on Speech or Debate Clause grounds without addressing sovereign immunity or

 the Larson-Dugan exception). 7

          B.       Sovereign Immunity

          Defendants next argue that sovereign immunity bars plaintiff from bringing the instant

 suit against them. Defs.’ Mem. at 13–19. The Supreme Court has stated that “[t]he general rule

 is that a suit is against the sovereign if the judgment sought would expend itself on the public

 treasury or domain, or interfere with the public administration, or if the effect of the judgment

 would be to restrain the Government from acting, or to compel it to act.” Dugan v. Rank, 372

 U.S. 609, 620 (1963) (internal quotations and citations omitted). For such suits, “[t]he basic rule

 of federal sovereign immunity is that the United States cannot be sued at all without the consent

 of Congress.” Block v. North Dakota ex rel. Bd. of Univ. & Sch. Lands, 461 U.S. 273, 287

 (1983); see also FDIC v. Meyer, 510 U.S. 471, 475 (1994) (“Absent a waiver, sovereign

 immunity shields the Federal Government and its agencies from suit.”) (citations omitted);

 United States v. Mitchell, 463 U.S. 206, 212 (1983) (“It is axiomatic that the United States may

 not be sued without its consent and that the existence of consent is a prerequisite for


 legitimacy of a congressional act we do not look to the motives alleged to have prompted it.” Id. At bottom, what
 matters for analyzing Speech or Debate immunity is whether the Report is “an integral part of the deliberative and
 communicative processes by which Members participate in committee and House proceedings.” Gravel, 408 U.S. at
 625. Intent to release those deliberative and communicative acts of the legislature to outside agencies or the public
 has no bearing on whether the Speech or Debate Clause bars suit.
 6
          Plaintiff separately requests disclosure of the full Report with redactions of classified information, Pl.’s
 Opp’n at 20, but because jurisdiction over this suit is lacking, plaintiff’s separate argument is moot.
 7
          The parties strongly dispute whether the Speech or Debate Clause is dispositive, yet as Section III.B shows,
 consideration of plaintiff’s alternative ground for relief under the Larson-Dugan theory does not salvage his claim.


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 jurisdiction.”); Shuler v. United States, 531 F.3d 930, 932 (D.C. Cir. 2008) (quoting Gray v. Bell,

 712 F.2d 490, 506 (D.C. Cir. 1983)) (“The United States is protected from unconsented suit

 under the ancient common law doctrine of sovereign immunity.”). Any “waiver of the Federal

 Government’s sovereign immunity must be unequivocally expressed in statutory text and will

 not be implied.” Lane v. Pena, 518 U.S. 187, 192 (1996) (citations omitted).

        Sovereign immunity extends to Congress when “sued as a branch of the government,”

 McLean v. United States, 566 F.3d 391, 401 (4th Cir. 2009), abrogated on other grounds by

 Lomax v. Ortiz-Marquez, 140 S. Ct. 1721 (2020), and makes members of Congress “immune

 from liability for their actions within the legislative sphere,” id. As such, the doctrine of

 sovereign immunity generally bars suits brought against the Congress and its houses because of

 their “purely legislative activities.” Shade v. Congress, No. 13-5185, 2013 WL 5975978, at *1

 (D.C. Cir. Oct. 15, 2013) (quoting Brewster, 408 U.S. at 512). See also Rockefeller v.

 Bingaman, 234 F. App’x 852, 855 (10th Cir. 2007) (holding that sovereign immunity

 “forecloses . . . claims against the House of Representatives and Senate as institutions,” and

 against members of both congressional houses “acting in their official capacities,” since “an

 ‘official capacity’ suit is treated as a suit against a government entity” (quoting Rockefeller v.

 Bingaman, No. CIV-06-0198, 2006 WL 4061183, at *3 (D.N.M. Sept. 20, 2006) (citing Keener

 v. Cong. of the U.S., 467 F.2d 952, 953 (5th Cir. 1972))); Cofield v. United States, 64 F. Supp. 3d

 206, 213–14 (D.D.C. 2014) (“[S]overeign immunity bars any claim for money damages against

 the United States (including the U.S. Senate) and its agencies.”).

        In the face of defendants’ claim of sovereign immunity, plaintiff acknowledges that this

 suit against a Senate Committee and a Senator is for a report ordered by Senator Dianne

 Feinstein, then-Chair of SSCI. Compl. ¶ 16. Notwithstanding the official capacity in which the




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 requested Report was ordered, plaintiff contends that the so-called Larson-Dugan exception to

 sovereign immunity applies to permit this suit to go forward. Pl.’s Opp’n at 2–7 (first citing

 Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682 (1949), then Dugan, and then Wash.

 Legal Found. v. U.S. Sent’g Comm’n (“WLF II”), 89 F.3d 897 (D.C. Cir. 1996)). As the analysis

 that follows shows, even upon application of the Larson-Dugan exception to sovereign

 immunity, the disclosure of the requested records is not legally required.

                1.      Application of the Larson-Dugan Exception

        In Larson v. Domestic & Foreign Commerce Corp., the plaintiff sued the head of the War

 Assets Administration, not for money damages, but for specific performance of the delivery of

 surplus coal in accordance with plaintiff’s contract with the government, 337 U.S. at 684–85.

 Finding that the Administrator’s action in refusing the coal shipment to the plaintiff was not

 unconstitutional or ultra vires conduct outside the scope of the Administrator’s authority, nor

 contrary to statute or order, id. at 703, the Supreme Court concluded that the Administrator’s

 action “was, therefore, inescapably the action of the United States and the effort to enjoin it must

 fail as an effort to enjoin the United States,” id.; see also id. at 688 (noting suit would be barred

 “not because it is a suit against an officer of the Government, but because it is, in substance, a

 suit against the Government over which the court, in the absence of consent, has no

 jurisdiction”). The Court thereby clarified, and made explicit in Dugan, an exception to

 sovereign immunity in actions seeking specific relief for “(1) action by [government] officers

 beyond their statutory powers [or] (2) even though within the scope of their authority, the powers

 themselves or the manner in which they are exercised are constitutionally void.” 372 U.S. at

 621–22. “In either of such cases the officer’s action ‘can be made the basis of a suit for specific

 relief against the officer as an individual.’” Id. at 622 (quoting Malone v. Bowdoin, 369 U.S.

 643, 647 (1962)); see also Dalton v. Specter, 511 U.S. 462, 472 (1994)) (quoting Larson, 337


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 U.S. at 691 n.11) (summarizing Larson as holding “that sovereign immunity would not shield an

 executive officer from suit if the officer acted either ‘unconstitutionally or beyond his statutory

 powers’” (emphasis in original)); Pollack v. Hogan, 703 F.3d 117, 119–21 (D.C. Cir. 2012); id.

 at 120 (quoting Larson, 337 U.S. at 689, 693) (“Under [the Larson-Dugan] exception, ‘suits for

 specific relief against officers of the sovereign’ allegedly acting ‘beyond statutory authority or

 unconstitutionally’ are not barred by sovereign immunity.”).

        Defendants first consider each statute or legal doctrine on which plaintiff grounds his

 complaint—the general federal question provision, 28 U.S.C. § 1331, the mandamus statute, 28

 U.S.C. § 1361, the Declaratory Judgment Act, 28 U.S.C. § 2201, the All Writs Act, 28 U.S.C.

 § 1651, and the common-law right of access—and proffer that none of these provisions waive

 sovereign immunity. Defs.’ Mem. at 14–16. This argument is insufficient. As Judicial Watch,

 Inc. v. Schiff, 474 F. Supp. 3d 305 (D.D.C. 2020), states regarding mandamus relief, defendants’

 argument “merely begs the question,” id. at 312, because, if the Larson-Dugan exception does

 apply, “[n]o separate waiver of sovereign immunity is required to seek a writ of mandamus to

 compel an official to perform a duty required in his official capacity,” Fornaro v. James, 416

 F.3d 63, 69 (D.C. Cir. 2005); see also WLF II, 89 F.3d at 901 (citing Chamber of Cong. of U.S.

 v. Reich, 74 F.3d 1322, 1329 (D.C. Cir. 1996)) (“If a plaintiff seeks a writ of mandamus to force

 a public official to perform a duty imposed upon him in his official capacity, however, no

 separate waiver of sovereign immunity is needed.”). Plus, the existence of the common-law

 right of access inherently waives sovereign immunity where it applies. See Swan v. Clinton, 100

 F.3d 973, 981 (D.C. Cir. 1996) (holding that “sovereign immunity does not act as a bar to our

 exercising jurisdiction” since Larson-Dugan exception applies “and hence no waiver of

 sovereign immunity is required here”).




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        Aside from the waiver argument, defendants contend that the Larson-Dugan exception is

 inapplicable because plaintiff presents no claim that the challenged action of either of the Senate

 defendants was unconstitutional, ultra vires, or beyond statutory authority. Defs.’ Mem. at 16–

 19. As was the case in Judicial Watch, no allegation is made—and no evidence suggests—that

 SSCI or its chairman acted ultra vires or in a manner contrary to the Constitution or a statute in

 commissioning the Report, investigating the CIA’s program, or disseminating the Report to

 select entities. To the contrary, as defendants note, the Senate established SSCI “to oversee and

 make continuing studies of the intelligence activities and programs of the United States

 Government, and to submit to the Senate appropriate proposals for legislation and report to the

 Senate concerning such intelligence activities and programs.” Id. at 3 (citing S. Res. 400 at 125,

 94th Cong., 2d Sess. (1976)). Additionally, Senate Resolution 400 expressly authorizes the

 Committee’s classification of the Report and “specifies the mechanism for SSCI to disclose

 information publicly, including intricate procedures for SSCI to seek to disclose classified

 information.” Id. at 4 (citing S. Res. 400 § 8).

        Defendants’ added argument that the Larson-Dugan exception is inapplicable because

 “plaintiff does not allege that the defendants have acted ‘beyond statutory authority,’” Defs.’

 Mem. at 17, topples in the face of binding D.C. Circuit precedent. In WLF II, plaintiffs sought,

 pursuant to the common-law right of public access to government records, disclosure of

 documents “compiled or created by an advisory committee established by the United States

 Sentencing Commission,” 89 F.3d at 898–99. In the Circuit’s analysis, the relevant “duty” owed

 by the defendants in the case stemmed from the common-law right itself, not a separate statute or

 regulation. Id. at 901. Whether the Larson-Dugan exception to sovereign immunity applies




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 “depends upon whether the Government has a duty to the plaintiff, viz. to allow it access to

 certain government records.” Id. 8

         As a result, applicability of the exception turns first on the existence of the duty, and the

 application of sovereign immunity merges with the claimed duty to disclose asserted in the

 Complaint. The D.C. Circuit explained: “the question of jurisdiction merges with the question

 on the merits,” triggering an assessment of the validity of plaintiff’s claim under the common-

 law right of access. Id. at 902. See also Swan, 100 F.3d at 981 (determining whether “the

 Larson-Dugan exception would be triggered and hence no waiver of sovereign immunity is

 required” rested on “discussion of the central merits question in the case, namely whether”

 challenged government action violated statute); Mashiri v. Dep’t of Educ., 724 F.3d 1028, 1031–

 32 (9th Cir. 2013); id. at 1032 (quoting WLF II, 89 F.3d at 901–02) (following D.C. Circuit’s

 practice when finding that “the question of ‘[w]hether the Larson-Dugan exception’ applied

 ‘merge[d] with the question on the merits,’” and therefore turning “to address the substantive

 merits of the mandamus claim before it’” (alterations in original)); accord Int’l Fed’n. of Prof’l

 & Tech. Eng’rs v. United States, 934 F. Supp. 2d 816, 821–22 (D. Md. 2013) (applying Larson-

 Dugan exception to avoid sovereign immunity bar and reach merits of suit by union and

 employees of legislative branch entities against Secretary of the United States Senate and




 8
           The D.C. Circuit’s expansion of the Larson-Dugan doctrine to allow claims akin to those brought against
 federal agencies, under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, seeking disclosure of records
 from other federal government components, pursuant to the common-law right of public access, significantly
 broadens this exception to sovereign immunity beyond the parameters articulated by the Supreme Court and, at first
 blush, is not easily reconciled with Supreme Court jurisprudence that waivers of sovereign immunity must be
 expressly set out by statute. See, e.g., PennEast Pipeline Co., LLC v. New Jersey, 141 S. Ct. 2244, 2253–54 (2021)
 (referring to “this Court’s precedents holding that Congress cannot abrogate state sovereign immunity in the absence
 of an ‘unmistakably clear’ statement” (quoting Blatchford v. Native Vill. of Noatak, 501 U.S. 775, 786 (1991));
 United States v. Bormes, 568 U.S. 6, 9 (2012) (“Sovereign immunity shields the United States from suit absent a
 consent to be sued that is ‘unequivocally expressed.’” (quoting United States v. Nordic Village, Inc., 503 U.S. 30,
 33–34 (1992) (citing Irwin v. Dep’t of Veterans Affs., 498 U.S. 89, 95 (1990))) (internal quotation marks omitted)).
 Nonetheless, the Court is bound by D.C. Circuit authority, which demands this analysis.


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 Sergeant at Arms of the Senate in their official capacities, claiming parts of the Stop Trading on

 Congressional Knowledge Act were unconstitutional); Ctr. for Arms Control & Non-

 Proliferation v. Lago, No. 05-682 (RMC), 2006 WL 3328257, at *4–*6 (D.D.C. Nov. 15, 2006)

 (in suit for disclosure of materials used by defunct presidential commission in developing a

 report to the President, finding that sovereign immunity defense was “auxiliary to the ultimate

 question on the merits” as to whether the commission owed duty of disclosure under sunshine

 provisions of Federal Advisory Committee Act and therefore addressing the merits).

          Accordingly, the merits of plaintiff’s request for disclosure of the classified Report under

 the common-law right of access must be considered to assess whether sovereign immunity bars

 this lawsuit against defendants. 9

                   2.       No Common-Law Right of Access to Requested Records

          The Supreme Court has made “clear that the courts of this country recognize a general

 right to inspect and copy public records and documents, including judicial records and

 documents.” Nixon v. Warner Commc’ns, 435 U.S. 589, 597 (1978) (footnote omitted). This

 right of access is “not absolute,” id. at 598, but “left to the sound discretion of the trial court, a

 discretion to be exercised in light of the relevant facts and circumstances of the particular case,”

 id. at 599; see SEC v. Am. Int’l Grp., 712 F.3d 1, 3 (D.C. Cir. 2013) (“Of course, even if a

 document is a record of the type subject to the common law right of access, the right is not

 absolute: it is defeated when the government’s interest in secrecy outweighs the public’s interest



 9
          Defendants invoke Maynard v. Architect of the Capitol, 544 F. Supp. 3d 64 (D.D.C. 2021), as further
 support that the Larson-Dugan exception to sovereign immunity does not apply for lack of a statutory duty. See
 Defs.’ Mem. at 18. Maynard is of no help to defendants. As plaintiff notes, see Pl.’s Opp’n at 5, the Maynard court
 concluded that the Larson-Dugan exception was inapplicable because the “duty” that plaintiff there identified arose
 from assurances made in the defendant’s human resources manual, which did not comply with the exception’s
 requirement that the duty to act arises from a statute. See Maynard, 544 F. Supp. 3d at 81; see also Larson, 337 U.S.
 at 689; Dugan, 372 U.S. at 621–22. In comparison, the duty here arises from the common-law right of public
 access, which was not at issue in Maynard, and so that case does not alter this holding.


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 in disclosure.”). Binding precedent in this Circuit ensures that “the common law right of access

 extends beyond judicial records to the ‘public records’ of all three branches of government.”

 Ctr. for Nat’l Sec. Studies v. U.S. Dep’t of Justice, 331 F.3d 918, 936 (D.C. Cir. 2003) (citing

 WLF II, 89 F.3d at 903–04); see also Schwartz v. U.S. Dep’t of Justice, 435 F. Supp. 1203, 1204

 (D.D.C. 1977) (holding “that Congress is subject to the common law rule which guarantees the

 public a right to inspect and copy public records” and explaining that even though “Congress has

 exempted itself from the requirements of the Freedom of Information Act, 5 U.S.C. § 552, by 5

 U.S.C. § 551(1)(A)[,] [t]hat Act, however, is not coextensive with the common law rule”).

                   (a) Two-Part Test for Application of Common-Law Right of Public Access

            The D.C. Circuit has outlined a two-step process for determining whether the common-

 law right of access applies. See Wash. Legal Found. v. U.S. Sent’g Comm’n (“WLF I”), 17 F.3d

 1446, 1451–52 (D.C. Cir. 1994). First, a court must decide “whether the document sought is a

 ‘public record,’” id. at 1451, and, if it is, then, second, “the court should proceed to balance the

 government’s interest in keeping the document secret against the public’s interest in disclosure,”

 id. at 1451–52; see also WLF II, 89 F.3d at 899 (summarizing prior holding). As to the first

 prong, under “federal common law,” a “public record” subject to the public right of access “is a

 government document created and kept for the purpose of memorializing or recording an official

 action, decision, statement, or other matter of legal significance, broadly conceived.” WLF II, 89

 F.3d at 905; see also Am. Int’l Grp., 712 F.3d at 3 (same). In applying the second prong of this

 test, courts “should focus on the specific nature of the governmental and public interests as they

 relate to the document itself,” rather than engaging in “an abstract inquiry.” WLF I, 17 F.3d at

 1452. 10


 10
       In WLF I, the D.C. Circuit found that the “district court erred” by concluding categorically that the
 common-law right did not apply “without knowing” precisely which documents were at issue, and thus instructed


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         The Report does not satisfy this two-part public access test.

                  (b)     The SSCI Report Is Not a Public Record

         The requested Report issued by SSCI is indisputably an official action of the Committee,

 but not every ministerial or preliminary step to gather information by a government entity

 amounts to creation of a “public record.” In fashioning the definition of “public records” subject

 to the common law right of public access, the D.C. Circuit articulated two guideposts:

 “adequately protect[ing] the public’s interest in keeping a watchful eye on the workings of public

 agencies—an interest we regard as fundamental to a democratic state,” WLF II, 89 F.3d at 905

 (internal quotations and citations omitted), and “yet narrow enough to avoid the necessity for

 judicial application of the second-step balancing test to documents that are preliminary, advisory,

 or, for one reason or another, do not eventuate in any official action or decision being taken,” id.

 As examples of the latter “not encompass[ed]” by the definition, the Circuit cited “the

 preliminary materials upon which an official relied in making a decision or other writings

 incidental to the decision itself—for example, the report of a blood test provided in support of an

 application for a marriage license, the job application of a would-be government employee, a

 government auditor’s preliminary notes used in the preparation of an official report, or a cover

 memorandum circulated with a copy of an official report or study.” Id. at 905–06.

         The Report was such a preliminary and advisory step to gather information pertinent to

 the Committee’s task of “oversee[ing] and mak[ing] continuing studies of the intelligence

 activities and programs of the United States Government” in an effort to submit “appropriate

 proposals for legislation” to the Senate. Defs.’ Mem. at 3. It thus does not qualify as a public




 that “the court should have analyzed each category of document requested.” WLF I, 17 F.3d at 1452. Here, by
 contrast, the requested classified SSCI Report is identified plainly. Compl. ¶ 16; Pl.’s Opp’n at 1.


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 record subject to the common-law right of public access. 11 In comparison, in the analogous case

 of Pentagen Technologies International, Ltd. v. Committee on Appropriations of the United

 States House of Representatives (“Pentagen Technologies”), 20 F. Supp. 2d 41 (D.D.C. 1998),

 aff’d, 194 F.3d 174 (D.C. Cir. 1999), a private company and individual sued, under the common-

 law right of public access, for disclosure of investigative reports prepared by staff of the

 defendant Committee on Appropriations of the U.S. House of Representatives, id. at 43. The

 Pentagen Technologies court declined to compel disclosure, finding that the investigative reports

 at issue were “‘preliminary materials’ that do not fall within the definition of ‘public records’

 employed by this Circuit,” because “the reports are ‘investigative’ in nature” and do not

 “memorialize or record any official action taken by the Committee.” Id. at 45. This finding led

 to the conclusion that “[t]here thus exists no common law right of access to the reports, and the

 Court need not apply the second-step balancing test of WLF I to the reports.” Id.

          SSCI commissioned the Report as part of its investigative effort to examine and advise

 the CIA’s detention and interrogation program in the aftermath of the terrorist attacks on

 September 11th. Though undeniably a form of Committee action, the Report was preliminary to

 any final recommendation or proposed legislation such that this action lacks the legal

 significance to constitute a “public record” to which the right of public access attaches. See WLF

 II, 89 F.3d at 906 (concluding that requested documents of the Advisory Group to U.S.

 Sentencing Commission were “made up entirely of materials that are, if not preliminary, then

 merely incidental to the only official action the Advisory Group was authorized to take, viz.,



 11
           Contrary to plaintiff’s view, McMillan, Gravel, and Hutchinson are all on point. As discussed, the Report
 is integral to the deliberative and communicative role of the Committee and its Members in legislating, and so, like
 the committee reports at issue in the aforementioned cases, the Report is within the legislative sphere and plaintiff
 cannot compel its disclosure because of the Speech or Debate Clause. Nowhere in McMillan, Gravel, or Hutchinson
 was a Speech or Debate distinction made for committee reports documenting objectionable statements, as plaintiff
 suggests. See Pl.’s Opp’n at 16.


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 recommending sentencing guidelines to the Commission,” and did not qualify as “public

 records”).

                   (c)      The Government’s Interest in Secrecy Outweighs the Public’s Interest in
                            Disclosure

          For good measure, the requested disclosure of the Report also fails the second part of the

 test for public access, which requires “balanc[ing] the government’s interest in keeping the

 document secret against the public’s interest in disclosure.” WLF II, 89 F.3d at 903. The D.C.

 Circuit has made clear that “the government has a compelling interest in protecting the secrecy

 of information important to our national security” and that the “need to guard against risks to

 national security interests overcomes a common-law claim for access.” Dhiab v. Trump, 852

 F.3d 1087, 1098 (D.C. Cir. 2017) (internal quotations and citations omitted); see also Am. Int’l

 Grp., 712 F.3d at 3 (“Of course, even if a document is a record of the type subject to the common

 law right of access, the right is not absolute: it is defeated when the government’s interest in

 secrecy outweighs the public’s interest in disclosure.”).

          As plaintiff acknowledges, see Pl.’s Mem. at 20, the Report contains highly classified

 information about the CIA’s detention and interrogation policies and procedures that would

 compromise national security if released, far outweighing the public’s interest in disclosure.

 Plaintiff also unpersuasively argues that the already-disclosed 500 pages of the Report are

 insufficient to bolster the public’s interest in reviewing more.

          Consequently, disclosure of this Report under the common-law right of access is not

 required. 12




 12
         The Court’s lack of subject-matter jurisdiction over this suit also bars plaintiff’s request for limited
 discovery in lieu of dismissal. See Pl.’s Opp’n at 21–22.


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    IV.      CONCLUSION

          For the reasons set forth above, plaintiff has no right to demand disclosure of the Report

 ordered by the SSCI for lack of subject-matter jurisdiction. This case is therefore dismissed.

          An Order consistent with this Memorandum Opinion will be entered contemporaneously.

          Date: September 15, 2022

                                                       __________________________
                                                       BERYL A. HOWELL
                                                       Chief Judge




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                         UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF COLUMBIA
                                        333 Constitution Avenue, NW
                                         Washington, DC 20001-2866
                                Phone: 202-216-7000 | Facsimile: 202-219-8530




 Plaintiff:              Shawn Musgrave


                         vs.                               Civil Action No. 21-2198 (BAH)


 Defendant:                Mark Warner


                                     CIVIL NOTICE OF APPEAL



Notice is hereby given this 20 day of September 20 22, that
Shawn Musgrave

hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from the

judgement of this court entered on the 15 day of September , 20 22 , in

favor of Defendants

against said Plaintiff


                                                                      Kelly B. McClanahan
                                                                    Attorney or Pro Se Litigant


 (Pursuant to Rule 4(a) of the Federal Rules of Appellate Procedure a notice of appeal in a civil
 action must be filed within 30 days after the date of entry of judgment or 60 days if the United
 States or officer or agency is a party)




USCA Form 13
August 2009 (REVISED)



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